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                        EXHIBIT A




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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC-(KESx)                               Date: April 20, 2021

   Title: LA ALLIANCE FOR HUMAN RIGHTS, et al. v. CITY OF LOS ANGELES, et
          al.


   PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

                 Kelly Davis                                  Not Present
               Courtroom Clerk                               Court Reporter

        ATTORNEYS PRESENT FOR                    ATTORNEYS PRESENT FOR
              PLAINTIFF:                              DEFENDANT:
             None Present                              None Present


         PROCEEDINGS: (IN CHAMBERS ORDER)



                      See attachment for complete details.




    MINUTES FORM 11                                               Initials of Deputy Clerk: kd




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       I.      INTRODUCTION

           In the ebb of afternoon sunlight, young Americans looked at their former
    compatriots as adversaries as they advanced towards them. Young teenagers
    carried battle flags to rally upon in the chaos that would soon ensue. There is
    nothing free about freedom. It is borne from immense pain, suffering, and
    sacrifice. Our country has struggled since the Emancipation Proclamation to right
    the evil of slavery. One hundred and fifty-eight years ago, at the site of the
    bloodiest battle of the Civil War, Abraham Lincoln made a short and profound
    speech, exemplifying an unshakable moral commitment to end the abomination of
    slavery despite the terrible sacrifice of life.

            Now we are engaged in a great civil war, testing whether that nation
            or any nation so conceived and so dedicated, can long endure. We are
            met on a great battlefield of that war. We have come to dedicate a
            portion of that field as a final resting place for those who here gave
            their lives that that nation might live. . . .

            It is for us the living, rather, to be dedicated here to the unfinished
            work which they who fought here have thus far so nobly advanced. It
            is rather for us to be dedicated to the great task remaining before us—
            that from these honored dead we take increased devotion to that cause
            for which they gave the last full measure of devotion—that we here
            highly resolve that these dead shall not have died in vain—that this
            nation, under God, shall have a new birth of freedom—and that
            government, of the people, by the people, for the people, shall not
            perish from the earth.

           The Civil War brought a formal end to the institution of slavery, but a
    century and a half after the Gettysburg Address, the “unfinished work” of which
    President Lincoln spoke remains woefully unfinished.
           Here in Los Angeles, how did racism become embedded in the policies and
    structures of our new city? What if there was a conscious effort, a deliberate intent,
    a cowardice of inaction? Through redlining, containment, eminent domain,
    exclusionary zoning, and gentrification—designed to segregate and disenfranchise
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    communities of color—the City and County of Los Angeles created a legacy of
    entrenched structural racism. As shown most clearly in the present crisis of
    homelessness, the effects of structural racism continue to threaten the lives of
    people of color in Los Angeles.
           Today, people of color, and Black people in particular, are vastly
    overrepresented in Los Angeles’s homeless population. While Black people
    comprise only eight percent of Los Angeles’s population, they make up 42% of its
    homeless population. 1 As of January 2020, the Los Angeles Homeless Services
    Authority reported that 21,509 Black people were without permanent housing in
    Los Angeles (LAHSA). 2 The current inaction on the part of the City and County of
    Los Angeles has allowed the harms of their racist legacy to continue unabated,
    leaving Black people—and especially Black women—effectively abandoned on
    the streets. Such governmental inertia has affected not only Black Angelenos, not
    only homeless Angelenos, but all Angelenos—of every race, gender identity, and
    social class. Virtually every citizen of Los Angeles has borne the impacts of the
    City and County’s continued failure to meaningfully confront the crisis of
    homelessness. The time has come to redress these wrongs and finish another
    measure of our nation’s unfinished work.

        A. RACE

           “I want to be very clear,” said Heidi Marston, Director of the Los Angeles
    Homeless Services Authority, “homelessness is a byproduct of racism. We
    continue to see that Black people are overrepresented in our homeless population,
    and that Black African Americans are four times more likely to become homeless
    than their white counterparts.” 3 A LAHSA report published in December of 2018
    confirmed the Director’s opinion, stating: “The impact of institutional and
    structural racism in education, criminal justice, housing, employment health care,


    1
      Jugal K. Patel et al., Black, Homeless and Burdened by L.A.’s Legacy of Racism, N.Y. TIMES (Dec. 22, 2019),
    https://www.nytimes.com/interactive/2019/12/22/us/los-angeles-homeless-black-residents.html.
    2
      Gale Holland, Racism is the Reason Black People are Disproportionately Homeless in L.A., Report Shows, L.A.
    TIMES (June 12, 2020), https://www.latimes.com/california/story/2020-06-12/racism-making-more-black-people-la-
    homeless.
    3
      Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST (June
    12, 2020), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-losangeles.


                                                            3

                                                                                                   Exhibit A, Page 8
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    and access to opportunities cannot be denied: homelessness is a by-product of
    racism in America.”4
           The numbers squarely support LAHSA’s findings. As mentioned previously,
    Black Angelenos are vastly overrepresented in the homeless population.5 From
    2016 to 2017, the city saw a 22% increase in the number of unhoused Black
    Angelenos.6 Yet, in the same period, the number of white Angelenos experiencing
    homelessness decreased by 7%.7 Further, racism in Los Angeles is far from simply
    black and white—Latinos make up at least 35% of the homeless population, a
    figure that likely undercounts the number of Latinos homeless.8 The effects of
    decades-long structural and institutional racism resulting in unhoused populations
    has reached an apex that must be addressed.

             i.       Historical Context

            According to the LAHSA, “Black people have been historically and
    systematically precluded from housing opportunities, including through redlining,
    exclusionary zoning, and other forms of discrimination codified by federal, state,
    and local law. While laws have changed, the effects of these previous policies are
    still pervasive.” 9

    Early Twentieth Century

         In the first half of the twentieth century, migrant workers were drawn to Los
    Angeles for seasonal industries and cheap lodging available in Los Angeles’

    4
      L.A. HOMELESS SERVS. AUTH., REPORT AND RECOMMENDATIONS OF THE AD HOC COMMITTEE ON BLACK PEOPLE
    EXPERIENCING HOMELESSNESS 5 (2018), https://www.lahsa.org/documents?id=2823-report-and-recommendations-
    of-the-ad-hoc-committee-on-black-people-experiencing-homelessness [hereinafter LAHSA REPORT]; The report
    was published by a committee comprised of homeless and civil rights advocates, mental health service providers,
    representatives of city and county housing agencies, and staff representatives of elected offices, including the offices
    of Los Angeles Mayor Eric Garcetti, Los Angeles City Councilmember Marqueece Harris-Dawson, and Los
    Angeles County Supervisors Mark Ridley-Thomas and Sheila Kuehl.
    5
      Patel et al, supra note 1.
    6
      LAHSA REPORT, supra note 4, at 9.
    7
      Id.
    8
      Latinos are more likely to live outside of traditional homeless spaces, rely heavily on social networks, and use
    public services less often relative to other racial or ethnic groups. Melissa Chinchilla & Sonya Gabrielian, Stemming
    the Rise of Latinx Homelessness: Lessons from Los Angeles County, J. SOC. DISTRESS & THE HOMELESS (2019).
    9
      LAHSA Report, supra note 4, at 7.


                                                               4

                                                                                                        Exhibit A, Page 9
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    downtown neighborhood known today as “Skid Row.” 10 Residents of Skid Row
    lived in inexpensive apartments, hotels, and lodging houses while homeless
    individuals unable to afford such housing sought areas outside of Skid Row where
    they could build permanent accommodations on undeveloped land. 11
           In 1910, the Housing Commission of the City of Los Angeles reported that
    nearly ten thousand individuals of over thirty nationalities resided in “house
    courts,” a collection of wooden structures occupying a single lot. 12 The
    Commission deemed these courts to be threats to public health and abolished,
    demolished, or vacated nearly 200 courts between 1910 and 1913—leaving a
    racially and ethnically diverse group of Angelenos no option but to live in tents
    and abandoned train cars.13
           The Great Depression exacerbated the lack of affordable housing among
    racially and ethnically diverse communities.14 Communities of color were
    disproportionately impacted by employment cuts as compared to their white
    counterparts.15 Unemployment for white Angelenos reached a high of 25% in
    1933, whereas unemployment among Black Angelenos during the same period
    peaked at twice that rate.16 This was a result of a racially segmented economy
    which largely restricted Black workers to service employment and unskilled
    manual labor—both industries that were curtailed by businesses and households to
    survive the Depression. 17
           Widespread unemployment during the depression overlapped with a steep
    increase in rents in segregated housing markets.18 By 1930, state-enforced racially-
    restrictive covenants throughout Los Angeles prevented Black Angelenos from
    residing in all but a select few areas, thereby reducing the housing available and
    resulting, not surprisingly, in a sharp increase in rents in those areas.19 The scarcity


    10
       KIRSTEN MOORE SHEELEY ET AL., UCLA LUSKIN CTR. FOR HIST. AND POL’Y, THE MAKING OF A CRISIS: A
    HISTORY OF HOMELESSNESS IN LOS ANGELES (2021), https://luskincenter.history.ucla.edu/wp-
    content/uploads/sites/66/2021/01/LCHP-The-Making-of-A-Crisis-Report.pdf [hereinafter LUSKIN REPORT].
    11
       Id.
    12
       Id. at 8.
    13
       Id.
    14
       Id. at 9.
    15
       Id.
    16
       Id.
    17
       Id.
    18
       Id. at 10.
    19
       Id.


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                                                                                           Exhibit A, Page 10
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    of housing available to communities of color left many without alternatives,
    driving up the number of unhoused.
           In 1928, Los Angeles city created the Municipal Service Bureau for
    Homeless Men in Skid Row (“the Service Bureau”) to assist homeless men in Los
    Angeles by connecting them with philanthropic organizations that provided food
    and lodging. 20 But aid from such organizations was distributed selectively along
    racial lines.21 Black Angelenos were limited to relief from Black community-
    operated and community-funded institutions.22 The Service Bureau relied on
    organizations such as the Colored YMCA and YWCA, the Eastside Mothers’
    Home, and the Sojourner Truth Home, while organizations such as the “white”
    YWCA openly denied any assistance to homeless Black girls. 23 While other cities
    across the nation had established their own publicly operated shelters, Los Angeles
    instead relied on this segregated system to provide services. 24

    Redlining

           In 1933, Congress formed the Home Owners’ Loan Corporation (“HOLC”)
    to curtail the foreclosure crisis driven by the Great Depression. 25 Congress hoped
    to help homeowners facing default on their mortgages, or those who otherwise
    would not be able to afford houses.26 The HOLC was developed as a solution: a
    state-sponsored lending program that could issue mortgages.27
           However, this access to homeownership was not extended equally. The
    HOLC reinforced racial segregation and diverted investment from minority
    neighborhoods by creating color-coded “residential safety maps” that indicated risk

    20
       Id. at 11.
    21
       Id. at 12.
    22
       Id.
    23
       Id.
    24
       Id. at 14. The city’s intentional division of aid by racial lines is further evidenced by Los Angeles Commissioners’
    recommendations in 1931 in which they advised the Council to allocate separate pools of funding for (1) the
    homeless care of males and (2) “colored” homeless boys.
    25
       Bruce Mitchell PhD. And Juan Franco, HOLC “Redlining” Maps: The Persistent Structure of Segregation and
    Economic Inequality, NATIONAL COMMUNITY REINVESTMENT COALITION, https://ncrc.org/wp-
    content/uploads/dlm_uploads/2018/02/NCRC-Research-HOLC-10.pdf
    26
       Alejandra Borunda, Racist Housing Policies Have Created Some Oppressively Hot Neighborhoods, NATIONAL
    GEOGRAPHIC (Sept. 2, 2020), https://www.nationalgeographic.com/science/article/racist-housing-policies-created-
    some-oppressively-hot-neighborhoods
    27
       Id.


                                                              6

                                                                                                     Exhibit A, Page 11
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    levels for long-term real estate investment. Known today as “redlining,” the safety
    maps categorized neighborhoods as “best,” “still desirable,” “declining,” or
    “hazardous.” Neighborhoods were categorized based on “favorable” and
    “detrimental” factors, such as the “threat of infiltration of foreign-born, negro, or
    lower grade population.” Black and immigrant neighborhoods were repeatedly
    rated “hazardous” and outlined in red—creating a “state-sponsored system of
    segregation.”28 The rating system was widely used by HOLC, as well as private
    lending institutions, who denied residents in “redlined” neighborhoods access to
    loans or capital investment. The Federal Housing Administration (“FHA”),
    established in 1934, accelerated segregation by refusing to insure mortgages in and
    near Black neighborhoods. 29 The FHA even subsidized builders to construct entire
    subdivisions for white communities, so long as the homes were not sold to Black
    people. 30
           People living in redlined neighborhoods were restricted from these federally
    backed avenues of credit for decades.31 This cycle of disinvestment blocked
    communities of color from the accumulation of intergenerational wealth that
    flowed in white neighborhoods due to government supported financial security in
    home ownership in areas with steady growth in property value. 32
           Federal housing policies by the HOLC and the FHA have created a lasting
    wealth gap. By the time the Fair Housing Act outlawed racial discrimination in
    housing in 1968, suburban homes had grown substantially in value. 33 Whereas
    white families enjoyed this growth in equity as financial security, Black families
    were blocked from this growth from the beginning.34
           While a Black person today earns on average 60% of what their white
    counterpart earns, Black American wealth is only about five percent of white
    American wealth. 35 Decades of depressed property values stemming from
    28
       RICHARD ROTHSTEIN, THE COLOR OF LAW: A FORGOTTEN HISTORY OF HOW OUR GOVERNMENT SEGREGATED
    AMERICA 64 (2017); Terry Gross, A ‘Forgotten History’ of How the U.S. Government Segregated America, NPR,
    (May 3, 2017), https://www.npr.org/2017/05/03/526655831/a-forgotten-history-of-how-the-u-s-government-
    segregated-america.
    29
       ROTHSTEIN, supra note 28, at 64.
    30
       Id. at 64–65.
    31
       Terry Gross, A ‘Forgotten History’ of How the U.S. Government Segregated America, NPR, (May 3, 2017),
    https://www.npr.org/2017/05/03/526655831/a-forgotten-history-of-how-the-u-s-government-segregated-america.
    32
       Id.
    33
       Id.
    34
       Id.
    35
       Id.


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                                                                                            Exhibit A, Page 12
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     HOLC’s “hazardous” labeling paved the way for present-day gentrification: it
     allowed white homeowners with growing equity to purchase devalued property in
     formerly redlined neighborhoods.36
            The effects of these housing policies have consequences beyond a wealth
     gap. White Americans developed financial stability, and thus safety nets, that
     Black Americans were excluded from. Areas previously deemed “hazardous”
     remain segregated with larger Black and Latino populations, higher rates of
     poverty, lower life expectancy and substandard health outcomes stemming from
     structural disinvestment.37 All of these factors shape Los Angeles housing
     insecurity in the Black community today.

     Post-World War II

             After World War II, policies relating to redlining, racial covenants, and
     public bank lending continued to exacerbate the growing racial wealth gap.38 Los
     Angeles’s “urban renewal” plans further entrenched systemic barriers to Black
     population’s access to housing.39 Data from the Los Angeles County Department
     of Charities in the 1950s show that despite Black men comprising only 5.2% of the
     county’s adult male population, they comprised 17.45% of applicants seeking
     relief, and of the Black applicants, nearly 60% lacked shelter. 40 The very plans
     aimed to “renew” communities destroyed existing neighborhoods where
     communities of color resided. 41
             Single-room-occupancy hotels (SROs) provided a home to tenants who
     could only afford to pay rent by the month or by the week. 42 The low-cost
     temporary lodging was especially helpful for individuals on pensions, Social
     Security, or welfare programs who could not afford costs associated with long-
     term rental units, which normally required a security deposit and rent for the first


     36
        MITCHELL & FRANCO, supra note 25.
     37
        Id.
     38
        Id. at 20.
     39
        LUSKIN REPORT, supra note 10, at 21.
     40
        Id. at 22.
     41
        Id. at 21.
     42
        Frederick M. Muir, Bradley Proposes Skid Row Hotel Demolition, L.A. TIMES (Mar. 10, 1989),
     https://www.latimes.com/archives/la-xpm-1989-03-10-me-1106-story.html.


                                                           8

                                                                                               Exhibit A, Page 13
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     and last month.43 But as pressure rose to develop commercial viability of
     Downtown Los Angeles in the 1950s and 1960s, Los Angeles City began
     condemning SRO hotel buildings for falling below building code standards and
     ordered upgrades or demolition. 44 Consequently, the number of SRO hotel rooms
     in Skid Row was halved—dropping from 15,000 to 7,500 in under a decade.45 The
     widespread demolition of SROs further decreased availability of extremely low-
     cost housing and displaced tenants to the street.46
           Racial barriers to quality housing created disparate outcomes among Black
     and white people of the same economic class.47 In 1970, Black Angelenos
     receiving welfare were twice as likely to identify housing as their “primary
     problem” as compared to their white and Latino/a counterparts. 48

     Highways

            Los Angeles’ highway infrastructure was built as and remains a driver of
     racial inequality.49 Deborah Archer, national board president of the American Civil
     Liberties Union, writes: “The benefits and burdens of our transportation system—
     highways, roads, bridges, sidewalks, and public transit—have been planned,
     developed, and sustained to pull resources from Black communities that are
     subsequently deployed and invested to the benefit of predominantly white
     communities and their residents.”50
            Highways have long been utilized to segregate communities of color.
     Historian Richard Rothstein points as an example to the “Underwriting Manual” of
     the Federal Housing Administration, which recommended highways as a
     mechanism to separate Black neighborhoods from white neighborhoods. 51

     43
        Id.
     44
        Benjamin Schneider, CityLab University: Understanding Homelessness in America, BLOOMBERG CITYLAB (July
     6, 2020), https://www.bloomberg.com/news/features/2020-07-06/why-is-homelessness-such-a-problem-in-u-s-cities.
     45
        JENNIFER WOLCH ET AL., ENDING HOMELESSNESS IN LOS ANGELES (2007),
     http://www.ced.berkeley.edu/downloads/pubs/faculty/wolch_2007_ending-homelessness-los-angeles.pdf.
     46
        Benjamin Schneider, CityLab University: Understanding Homelessness in America, BLOOMBERG CITYLAB (July
     6, 2020), https://www.bloomberg.com/news/features/2020-07-06/why-is-homelessness-such-a-problem-in-u-s-cities.
     47
        LUSKIN REPORT, supra note 10.
     48
        Id.
     49
        Deborah N. Archer, Transportation Policy and the Underdevelopment of Black Communities, 106 IOWA L. REV.
     (forthcoming 2021).
     50
        Id. at *3.
     51
        ROTHSTEIN, supra note 28, at 65–66.


                                                           9

                                                                                              Exhibit A, Page 14
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            In 1910, 36% of Black people in Los Angeles were homeowners, a notable
     percentage compared against 2.4% in New York City. 52 Racially diverse
     neighborhoods, such as Watts and Boyle Heights, flourished alongside the Red Car
     transit system, which connected Los Angeles through unsegregated means. 53 But
     Los Angeles swiftly undertook segregation efforts as its population grew from
     320,000 in 1910 to 1.2 million in 1930. 54 As its Black population increased by tens
     of thousands, Los Angeles utilized racially restrictive covenants, redlining, and
     eminent domain to racially segregate neighborhoods. 55 An uptick in Ku Klux Klan
     violence further targeted Black families who resided in majority white
     neighborhoods—including widespread cross burnings, bombings, and drive-by
     shootings. 56 In Manhattan Beach, Los Angeles County employed eminent domain
     to take property from Black families and turn the land into a whites-only park. 57
            Yet, construction of the Los Angeles freeway was most effective in
     displacing Black families on a large scale. 58 Communities of color lacked political
     representation to defend against their neighborhoods being razed to make space for
     the freeway. In 1972, a plaintiff’s attorney for a lawsuit opposing construction of
     the I-105 Freeway voiced how politicians faced less opposition from communities
     of color: “You’ll recall, prior to this time, there was a proposed . . . east/west
     freeway north of the [I-105 Freeway], the Beverly Hills Freeway. That was
     defeated and eliminated from the map . . . the difference between the political clout
     of Beverly Hills and Watts, Willowbrook, Lynwood, Downey and Hawthorne is
     considerable . . . this was kind of a course of least resistance from Caltrans’
     perspective.”59 As stated, white communities such as Beverly Hills had the
     political willpower to derail highway construction through their neighborhoods. 60
     Only 61% of Los Angeles’ planned freeway network was constructed as a


     52
        Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze L.A.
     Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-freeways-
     racism-monument.
     53
        Id.
     54
        Id.
     55
        Id.
     56
        Id.
     57
        Id.
     58
        Id.
     59
        Joseph Di Mento et al, Court Intervention, The Consent Decree, and The Century Freeway II–37 (U.C. Transp.
     Ctr., Working Paper No. 381, 1991).
     60
        Id.


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                                                                                             Exhibit A, Page 15
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  consequence.61 One of the most striking visualizations of the political willpower
  white communities had in successfully thwarting highway construction is in South
  Pasadena, where a glaring gap lies between Interstate 710 and State Route 710. 62


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  Fig. 1: The gap in Route 710

         Los Angeles employed eminent domain, the process by which governments
  seize private property for public use with payment of compensation, to seize more
  than 6,000 dwellings located in the freeway’s path.63 Devalued neighborhoods
  comprised mostly of communities of color were more cost-effective tracts of land
  for Los Angeles to acquire through eminent domain compared to majority white
  neighborhoods. Restricted to a limited number of neighborhoods allowing
  communities of color, non-white freeway evictees were forced to find housing in


  61
     Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze L.A.
  Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-freeways-
  racism-monument.
  62
     Id.
  63
     Ray Hebert, Century Freeway—When It’s Born, An Era Will Die, L.A. TIMES (June 22, 1986),
  https://www.latimes.com/archives/la-xpm-1986-06-22-me-20619-story.html.


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     already condensed, segregated areas of South and East Los Angeles, away from
     job centers and beset with freeway pollution. 64
             “Race frequently explains which communities receive the benefits of our
     transportation system and infrastructure and which communities were forced to
     host the burdens,” writes Archer. 65 Today, the legacy of racially motivated
     freeway construction burdens Los Angeles communities of color not only
     economically, but physically. Hazardous vehicle-related pollutants (e.g., diesel
     exhaust) are highly concentrated near major roadways, inducing respiratory
     ailments and mortality in high-traffic neighborhoods.66 Because of the direct
     exposure to vehicle pollution, children in these communities face higher rates of
     asthma and cognitive decline.67
            The fracturing of communities of color in Los Angeles and the subsequent
     overcrowding of neighborhoods open to Black families meant that city renewal
     plans impeded Black families from sharing in post-war white intergenerational
     wealth accumulation flowing from home ownership in neighborhoods with fixed
     growths in property values.68 Overpopulation created a housing shortage that
     necessitated families to rent rather than purchase homes.69 This cycle increased
     rental value, pushing out low-income families and resulting in housing insecurity
     for those who could not afford the higher rents. 70 Between 1970 and 1980, census
     data shows that the number of nonrelatives per household doubled in Compton,
     Florence-Graham, East Los Angeles, and other Black and Latino/a communities. 71
     That number would double once more over the next decade.72
            Despite Black Angelenos representing a disproportionate share of those
     experiencing unemployment and poverty in the city, a disproportionate share of

     64
        Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze L.A.
     Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-freeways-
     racism-monument.
     65
        Noel King, A Brief History of How Racism Shaped Interstate Highways, NPR (Apr. 7, 2021),
     https://www.npr.org/2021/04/07/984784455/a-brief-history-of-how-racism-shaped-interstate-highways.
     66
        Douglas Houston et al., Structural Disparities of Urban Traffic in Southern California: Implications for Vehicle-
     Related Air Pollution Exposure in Minority and High-Poverty Neighborhoods, 26 J. Urb. Affs. 565, 565 (2004).
     67
        Sarah Gibbens, Air Pollution Robs Us of Our Smarts and Our Lungs, NAT’L GEOGRAPHIC (Aug. 31, 2018),
     https://www.nationalgeographic.com/environment/article/news-air-quality-brain-cognitive-function.
     68
        LUSKIN REPORT, supra note 10, at 22.
     69
        Richard Rothstein, Op-Ed: Why Los Angeles Is Still a Segregated City After All These Years, L.A. TIMES (Aug.
     2017), https://www.latimes.com/opinion/op-ed/la-oe-rothstein-segregated-housing-20170820-story.html.
     70
        Id.
     71
        LUSKIN REPORT, supra note 10, at 29.
     72
        Id.


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                                                                                                   Exhibit A, Page 17
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     public and private services assisting the homeless continued to cater to older white
     individuals.73 Indeed, the white male population continued to receive far more that
     its proportional share of homeless aid through the 1970s. 74

     Containment Zone

            The city was content with misery as long as it was unseen. In 1976, the
     homeless population became spatially concentrated in the fifty-square-block
     “containment zone” of Skid Row.
            Developers and businesses urged the City to adopt a “silver book” plan in
     1972. The plan sought to raze Skid Row and wholly transform the existing
           75

     neighborhood by 1990. 76 Skid Row stakeholders raised concerns that razing Skid
     Row would disperse the homeless population and negatively affect downtown
     business. 77 The City, won over by this sentiment, instead adopted the alternative
     “Blue Book Plan,” which sought to “contain” homeless people to maintain the
     pristineness of the business district. 78 The plan adopted a fifty-block “physical
     containment” zone designed to contain and perpetuate poverty. Text of the 1976
     plan assuaged the city’s fears that Skid Row would halt downtown revitalization
     plans by expanding further and deterring booming investment in Los Angeles’
     downtown:

             When the Skid Row resident enters the buffer, the psychological comfort of
             the familiar Skid Row environment will be lost; he will feel foreign and will
             not be inclined to travel far from the area of containment.

           The containment zone became a place where the homeless, discharged
     patients with mental disabilities, and parolees came—or in some instances, were
     bussed and dropped—to find services. General Dogon, a Skid Row community
     organizer, describes the containment as a “warehouse zone”—“a warehouse is

     73
        Id. at 23.
     74
        Id.
     75
        LUSKIN REPORT, supra note 10, at 26.
     76
        Id.
     77
        Id. at 27.
     78
        Id.


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                                                                          Exhibit A, Page 18
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     where you store shit. So the idea was to push all of Los Angeles’s unfavorable
     citizens into one area.” 79 “Main Street is the dividing line between the haves and
     have-nots,” says General Dogon, “you’ve got homeless people sleeping on one
     side of the street, and the loft buildings on the other side of the street.” 80 Pete
     White, executive director and founder of the Los Angeles Community Action
     Network (LA CAN) described Skid Row as “a place borne out of the outgrowth of
     redlining, segregation, deindustrialization, the war on drugs, more aptly put, the
     war on black people, the war on the black community.” 81
            Police force kept the homeless isolated, enhancing and embedding poverty
     within the 50-block area. The Los Angeles Police Department (LAPD) set up
     physical buffers to reduce movement past the Skid Row border and enforce
     containment.82 Flood lights demarcated the border, disincentivizing homeless from
     straying outside the containment area. 83
            The City and advocates’ containment policy entrenched poverty and fostered
     the three most unsafe neighborhoods in the nation today. 84 According to Forbes,
     “[t]he most dangerous neighborhood in America is in Los Angeles,” two square
     blocks in the northern half of Skid Row.85 The second most dangerous
     neighborhood within American borders is intertwined with the southern edge of
     Skid Row.86 Finally, the nation’s third most dangerous neighborhood is the
     southern half of Skid Row. 87
             “Skid Row is on the bottom of the totem pole of life here in America and is
     commonly known as the homeless capital of America. Whether someone has been
     here three hours or three decades, the subconscious thought processes are one in




     79
        The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.
     80
        Id.
     81
        Dkt. 218 at 86.
     82
        LUSKIN REPORT, supra note 10, at 28.
     83
        The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.
     84
        Laura Begley Bloom, Crime in America: Study Reveals the 10 Most Unsafe Neighborhoods, FORBES (Jan. 28,
     2021), https://www.forbes.com/sites/laurabegleybloom/2021/01/28/the-10-most-dangerous-neighborhoods-in-
     america-its-not-where-you-think/?sh=6b61d13f341f.
     85
        Id.
     86
        Id.
     87
        Id.


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     the same—to survive,” says General Jeff Page, a prominent activist and
     community organizer of Skid Row. 88
             The containment policy—enacted to enable and contain poverty out of sight
     and out of mind—succeeded. “Los Angeles Police Department and the major non-
     profits both have a stranglehold on our community” says General Jeff.89 There is
     “[n]o funding for ‘positive programming,’ which means every day
     there’s nothing positive to do, so quite obviously negative things will happen and
     soon thereafter, handcuffs or a ride in the back of either an ambulance or a
     hearse.”90
             As the unhoused population exploded during the 1980s due to the crack
     epidemic, so too did the City’s vigorous criminalization policies. By demarcating
     Skid Row as a concentration for rehabilitation services, the City created a
     centralized place where police could make sweeping arrests for minor drug
     offenses or crimes based on poverty (e.g. resting or sleeping on the sidewalk). The
     ensuing cycle of incarceration and homelessness—disproportionately targeting
     Black communities—has continued for decades.
             In 2007, Los Angeles Police Department Chief William J. Bratton enacted
     the “broken windows” policing policy. 91 Under Chief Bratton’s “Safer Cities
     Initiative,” a task force of 50 officers entered Skid Row issuing citations and
     making arrests for infractions such as jaywalking, prostitution and littering. 92 The
     program ended shortly after a Los Angeles Police Department officer fatally shot a
     homeless person of color on Skid Row in 2015. “On skid row, the windows
     already were broken,” Los Angeles City Attorney Feuer said, “we have a much
     deeper and more profound situation to deal with.”93
             City officials contend that they denounce “criminalizing” homelessness.94
     But data tells a different story. In 2011, 1 in 10 arrests citywide were of homeless



     88
        Bianca Barragan, General Jeff’s Neighborhood Guide to LA’s Skid Row, CURBED LOS ANGELES (Apr. 12, 2016),
     https://la.curbed.com/2016/4/12/11405274/los-angeles-skid-row-neighborhood-guide.
     89
        Id.
     90
        Id.
     91
        Gale Holland, L.A. Leaders Are Crafting New Plan to Help Homeless on Skid Row, L.A. TIMES (July 15, 2014),
     https://www.latimes.com/local/la-me-skid-row-police-20140716-story.html.
     92
        Id.
     93
        Id.
     94
        Id. (“Our success will lie in taking a more progressive approach,” said LAPD Capt. John McMahon).


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                                                                                              Exhibit A, Page 20
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     people; in 2016, it was 1 in 6. 95 The Los Angeles Times reported that “Officers
     made 14,000 arrests of homeless people in the city in 2016, a 31% increase over
     2011.” 96 The rise occurred despite LAPD arrests decreasing by 15% that year. 97
     “Two-thirds of those arrested were black or Latino, and the top five charges were
     for nonviolent or minor offenses.”98 Cloaked as less punitive, such measures
     entrench longstanding and systemic criminalization affecting Los Angeles’ most
     vulnerable. Tickets fining $100 add up to as much as $300 once court fees are
     applied. 99 When tickets pile up, police arrest homeless people and put them in jail
     for failure to pay. 100 The result is a revolving door of debt and housing insecurity
     where a history of arrests bar individuals from housing and sustainable jobs. In a
     listening session conducted by LAHSA, a participant contributed “[i]f you are a
     Black Male, you are going to jail. If you are here on Skid Row and you are on this
     sidewalk, they are going to make obstacles for you.” 101
            Today, redevelopment interests continue to threaten the preservation of Skid
     Row. Abutting Skid Row are thriving neighborhoods—namely the Arts District
     and Little Tokyo District. As these districts edge closer to the boundaries of
     containment, police presence within Skid Row grows stronger. 102 The devalued
     downtown property incentivizes luxury housing developers and businesses to
     advocate the city to rezone and divest from affordable housing and services. “Our
     collective voice is drowned out by numerous ‘established voices’ who dominate
     each and every conversation about a community they don’t even live in,” recounts
     General Jeff. 103 Another Skid Row resident, Craig R., remarked “they’re planning
     on making billions of dollars on pushing us out, squeezing us out, or kicking us




     95
        Gale Holland & Christine Zhang, Huge Increase in Arrests of Homeless in L.A.—But Mostly for Minor Offenses,
     L.A. TIMES (Feb. 4, 2018), https://www.latimes.com/local/politics/la-me-homeless-arrests-20180204-story.html.
     96
        Id.
     97
        Id.
     98
        Id.
     99
        Id.
     100
         Id.
     101
         LAHSA REPORT, supra note 4, at 24.
     102
         The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.
     103
         Bianca Barragan, General Jeff’s Neighborhood Guide to LA’s Skid Row, CURBED LOS ANGELES (Apr. 12, 2016),
     https://la.curbed.com/2016/4/12/11405274/los-angeles-skid-row-neighborhood-guide.


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     out, meaning us the poor people, the disadvantaged people, the homeless, plus the
     residents of the neighborhood.”104
            For too long, Black individuals have not had an opportunity to share with the
     City and County the ways that structural racism in policy affects them. On April 7th
     2020, at a status conference for the present case, General Jeff said, “[W]hen I look
     at Skid Row, the majority of the Skid Row population are African-American. You
     know, when we look at the homelessness in terms of Council Districts 8, 9, 10, . . .
     we can see that . . . there’s . . . a strong African-American presence . . . and so
     there’s significant issues because there’s a racial undertone to this matter.” 105 “We,
     more importantly, want to thank you,” General Jeff continued, “for giving a voice
     to we, the people of Skid Row and of homelessness, because there’s always been []
     a long-standing issue of we, the people, not being able to have a seat at the
     decision-making table.” 106 In a listening session conducted by Los Angeles County
     and reported by LAHSA, a Black Woman in West Adams echoed General Jeff’s
     sentiment: “Sitting across the table of someone that looks like you, and at the very
     least can understand what it is like to experience the world the way you experience
     it, makes a huge difference. It opens you up to be more willing to support care.
     Until we get people that look like us in these positions, we are not going [to] be
     able [to] access it. It [is] not going to seem like something that is safe.”107
     As the unhoused population grows, it has spilled out of the containment zone.
     “This may be the key to understanding homeless policy in Los Angeles over the
     last forty years: nothing happened until homelessness spilled over the boundaries
     of the ‘containment’ area and became visible and present in neighborhoods region-
     wide.”108

     COVID-19

          The COVID-19 pandemic presented an unprecedented need for health
     measures and infectious disease control. 109 Governor Gavin Newsom directed an

     104
         The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.
     105
         Dkt. 165 at 174.
     106
         Dkt. 165 at 171.
     107
         LAHSA REPORT, supra note 4, at 34.
     108
         LUSKIN REPORT, supra note 10, at 56.
     109
         Id. at 59.


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     initiative titled “Project Roomkey” in April 2020 to house 15,000 homeless
     Californians in hotel and motel rooms to protect unhoused individuals during the
     pandemic.110 But a May report to the Board of Supervisors detailed that Project
     Roomkey rooms have been disproportionately made available to white homeless
     Angelenos—exacerbating the risks to a Black population that already
     disproportionately bears the harmful effects of the City and County’s failure to
     address homelessness. 111 Between 365,000 and 495,000 households in Los
     Angeles County face imminent risk of eviction, most of whom are lower-income
     people of color, in particular Black Angelenos. 112 In Los Angeles County,
     homeless individuals are 50% more likely to die if they contract COVID-19,
     escalating the need for equal—if not increased—access to services. 113

     Modern Implications

            The 2018 LAHSA report concluded that “racial bias [continues to] affect
     every aspect of a Black person’s life, and it is impossible to untangle the pervasive
     effects of institutional racism from other system failures that together cause a
     person to experience homelessness.”114
            “People in our community are houseless because of structural and
     institutional racism and gender inequality,” said Monique Nowell, spokesperson
     for the Downtown Women’s Action Coalition. 115 In a listening session conducted
     by LAHSA, a participant voiced the same: “[s]tructural racism is the issue here.
     Los Angeles doesn’t acknowledge this. How can we have the conversation if we
     don’t acknowledge we live in a racist Los Angeles?” 116
            Recent events have focused our attention on the existence of systemic racism
     in the City and County of Los Angeles. Nearly a century after seizing a Black
     family’s oceanfront resort, the County of Los Angeles is reckoning with its racist


     110
         Id.
     111
         Id. at 60.
     112
         Id. at ii.
     113
         Benjamin Oreskes & Doug Smith, L.A.’s Homeless Residents Are 50% More Likely to Die if They Get COVID.
     Now They’re A Vaccine Priority, L.A. TIMES (Mar. 12, 2021), https://www.latimes.com/homeless-
     housing/story/2021-03-12/la-homeless-50-percent-more-likely-die-covid.
     114
         LAHSA REPORT, supra note 4, at 9.
     115
         Dkt. 218 at 86.
     116
         LAHSA REPORT, supra note 4, at 20.


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     employment of eminent domain. In 1912, a Black Angeleno named Willa Bruce
     purchased the first of two ocean lots in what would soon become the city of
     Manhattan Beach. Willa and her husband developed an oceanfront resort, which
     provided Black families with a lodge, café, and dance hall.117 The resort was the
     first of its kind at a time when segregation often limited the access Black people
     had to the surf.118 As more Black families purchased nearby property by the water,
     a Black community formed.119 “They were pioneers. They came to California,
     bought property, enjoyed the beach, made money,” remarked historian and author
     Alison Rose Jefferson. 120 But white neighbors grew hostile to the expansion of
     Black land ownership in the neighborhood. Black families found their tires slashed
     and the Ku Klux Klan purportedly set fire to a Black-owned home by lighting a
     mattress under its main deck. 121 Nearby Los Angeles Neighborhoods experienced
     similar violent hostility—Santa Monica was referred to as the “Inkwell” and a
     Black-owned Pacific Beach Club was torched the day before it was scheduled to
     open.122
             By 1924, County officials had condemned and seized over two dozen
     Manhattan Beach properties through eminent domain, citing urgent need for a
     public park. 123 The Manhattan Beach “leaders used eminent domain to strip the
     couple of the land — as well as property belonging to several other Black
     families—in a move that, historical record shows, had racist motivations.” 124 The
     Bruce family and three other Black families sued County officials on the basis of



     117
         Rosanna Xia, Manhattan Beach Was Once Home to Black Beachgoers, But the City Ran Them out. Now It Faces
     A Reckoning, L.A. TIMES (Aug. 2, 2020), https://www.latimes.com/california/story/2020-08-02/bruces-beach-
     manhattan-beach.
     118
         Hayley Munguia, Property Transfer Could Be U.S. First, ORANGE COUNTY REG. (Apr. 10, 2021),
     https://ocregister-ca-app.newsmemory.com/?publink=1681edced_1345d0e.
     119
         Rosanna Xia, Manhattan Beach Was Once Home to Black Beachgoers, But the City Ran Them out. Now It Faces
     A Reckoning, L.A. TIMES (Aug. 2, 2020), https://www.latimes.com/california/story/2020-08-02/bruces-beach-
     manhattan-beach.
     120
         Id.
     121
         Id.
     122
         Id.
     123
         Nancy Dillon, Southern California City Wrongfully Seized Beach Resort from Black Family in 1924. Now County
     Wants to Return It, N.Y. DAILY NEWS (Apr. 9, 2021), https://www.nydailynews.com/news/national/ny-los-angeles-
     county-plans-to-return-beach-land-to-black-family-after-century-20210409-hsnpkp4hv5erlhgmj3ynswgbc4-
     story.html.
     124
         Hayley Munguia, Property Transfer Could Be U.S. First, ORANGE COUNTY REG. (Apr. 10, 2021),
     https://ocregister-ca-app.newsmemory.com/?publink=1681edced_1345d0e.


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     racial prejudice. 125 The County ultimately paid them an amount far less than the
     property value and the Bruces were unable to purchase oceanfront land
     elsewhere. 126 After leaving the property vacant for decades, the County then turned
     the land into a whites-only park.127
            Ninety-seven years later, Los Angeles County responded to its role in
     pushing out an entire Black community from Manhattan Beach, where Black
     residents today make up less than one percent of the population.128 “I’m going to
     do whatever I can to right this wrong,” said Los Angeles County Supervisor Janice
     Hahn, apologizing to the Bruce family and agreeing that the land should be
     returned.129 “There’s no doubt that this was such an injustice that was inflicted —
     not just on Charles and Willa Bruce, but generations of their descendants who
     almost certainly would be millionaires had they been allowed to keep that
     beachfront property.”130

             ii.     Organized Abandonment in Housing

            The term “affordable housing” encompasses the government’s total effort to
     provide housing through public-private partnerships specifically designed to serve
     those who cannot afford market rents. In 1990, a federal law named the “National
     Affordable Housing Act” formalized “affordable housing” to mean privately
     owned, publicly subsidized housing. 131 “Public housing,” alternatively, refers to
     housing wholly owned and administered by the government. The redevelopment of
     public housing to affordable housing has fixed reliance on private developers to
     prioritize the most vulnerable groups facing housing insecurity when building

     125
         Rosanna Xia, Manhattan Beach Was Once Home to Black Beachgoers, But the City Ran Them out. Now It Faces
     A Reckoning, L.A. TIMES (Aug. 2, 2020), https://www.latimes.com/california/story/2020-08-02/bruces-beach-
     manhattan-beach.
     126
         Id.
     127
         Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze
     L.A. Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-
     freeways-racism-monument.
     128
         Rosanna Xia, A Tale of Two Reckonings: How Should Manhattan Beach Atone for Its Racist Past?, L.A. TIMES
     (Mar. 28, 2021), https://www.latimes.com/california/story/2021-03-28/how-should-manhattan-beach-atone-racist-
     past.
     129
         Id.
     130
         Id.
     131
         Tracy Jeanne Rosenthal, The Enduring Fiction of Affordable Housing, NEW REPUBLIC (Apr. 2, 2021),
     https://newrepublic.com/article/161806/affordable-housing-public-housing-rent-los-angeles.


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     properties. Los Angeles is facing rising housing insecurity, demanding a critical
     evaluation of how affordable housing serves—or rather, fails to serve—our
     communities when compared to public housing.

     30 Years of “Affordability”

            The affordable housing public-private partnership model began in 1959,
     when the federal government offered below market interest rates to private
     developers to incentivize development of rental housing for individuals who could
     not afford housing at market rates but earned too much to qualify for public
     housing.132 The partnership was at first limited to nonprofit developers, but for-
     profit builders lobbied for inclusion and drafted new programs with one percent
     effective interest rates, profit structures riddled with loopholes, and exit strategies.
     133

            The exit strategies and profit structures are exemplified in one of the first
     apartments created under the affordable housing model—Concord Apartments in
     Pasadena, California. 134 Three years after purchasing the apartments, the owner of
     the building prepaid the subsidized mortgage, doubled tenants’ rents, and moved to
     auction the building at a substantial profit. 135 Over 150 elderly tenants of the
     Concord Apartments filed suit against the owner to contest the increased rent and
     halt the sale, and eventually, the city of Pasadena purchased the land, ultimately
     safeguarding housing security and long-term affordability for the residents and
     stymieing the efforts of the for-profit developer. 136
            A 1973 report sponsored by the Department of Housing and Urban
     Development cited sweeping critiques of incentive schemes: “Private enterprise
     was ‘getting rich’ at the expense of low- and moderate-income families… The
     subsidies offered were not sufficient and did not aid the families who most needed
     them.” 137 Despite these critiques, the Nixon administration issued a moratorium on
     public housing construction, entrenching the nation’s reliance on private

     132
         Id.
     133
         Id.
     134
         Id.
     135
         Id.
     136
         Id.
     137
         Id.


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     developers to provide affordable housing opportunities. 138 The following year, the
     Nixon administration distributed block grants for states to administer their own
     incentive programs—thereby reducing federal authority and increasing reliance on
     private developers. 139
            The Tax Reform Act of 1986 developed a tax credit system that is still in use
     today to incentivize private developers to build affordable housing. 140 The Low-
     Income Housing Tax Credit (“LIHTC”) provides tax credits to developers to
     subsidize the acquisition, construction, and rehabilitation of affordable rental
     housing for low- and moderate-income tenants, so long as the developer agrees to
     income-targeted rents on a percentage of the apartments for 30 years. 141 “This is
     one of the most urgent problems with Affordable Housing: It expires[.]” writes
     Tracy Jeanne Rosenthal of the New Republic. 142 Indeed, affordability
     requirements have begun to expire on units created at the program’s inception in
     1987—creating housing insecurity for hundreds of thousands of families across the
     United States who cannot afford to pay market-rate rents.
            Despite understanding the loopholes built into the affordable housing model
     from as early as 1988, national housing policy in 2021 remains reliant on the same
     private-public structure.
            Nearly 9,000 units in Los Angeles bound by affordable housing covenants
     house up to 20,000 Angelenos in L.A. County and will expire within the next eight
     years. 143 Los Angeles City Councilmember Gil Cedillo noted that number of soon-
     to-expire covenants “wipes out whatever gains we make” in housing efforts. 144
     Indeed, landlords across Los Angeles who hold property in areas with high or
     rising rents are not incentivized to maintain stabilized rents, meaning that upon
     expiration of the housing covenants, landlords will evict the tenants the program
     was meant to house.



     138
         Id.
     139
         Id.
     140
         Id.
     141
         Id.
     142
         Id.
     143
         Id.
     144
         Anna Scott, Thousands of Angelenos Will Have Fewer Affordable Housing Options As ‘Covenants’ Will Expire,
     KCRW (Apr. 12, 2021), https://www.kcrw.com/news/shows/greater-la/affordable-housing-manhattan-beach-
     restitution-oc/rent-covenants-expiring-la.


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     Accessible Housing

            Housing created under the affordable housing model is scarcely affordable
     for the average low-income renter. Thresholds of “affordable” rent are determined
     by a U.S. Department of Housing and Urban Development (“HUD”) calculation of
     Area Median Income (“AMI”)—meaning that rents are determined by the wealth
     of an entire county, rather than neighborhoods where housing is located. 145 In Los
     Angeles, a person making up to $63,100 a year, 80% of the AMI, will qualify as
     “low income.” 146 Landlords in affordable housing complexes are thus more
     amenable to renting to tenants who fall within the higher tiers of “low income”
     eligibility so that the rents sustain the mortgage payments and loans, leaving those
     earning far less with little opportunity to obtain affordable housing.
            Despite the fact that one quarter of the nation’s tenant households—nearly
     11 million tenants—qualify as “extremely low income,” the overwhelming
     majority of affordable housing programs target higher income thresholds. 147 This
     bias entrenches structural racism within affordable housing because it excludes
     “extremely low income” tenants, who are disproportionately people of color. 148
     The affordable housing model therefore perpetuates patterns of gentrification by
     pricing affordable housing in poorer neighborhoods at the higher threshold of
     eligibility standards, incentivizing an influx of higher-earning individuals and
     pushing out community residents who cannot meet the higher bracket affordable
     rent. Just as Angelenos of color were pushed out of their communities in the
     twentieth century due to redlining, exclusionary zoning, and eminent domain, the
     same structural eviction occurs today as the County and City prioritize affordable
     housing with 30-year covenants that target higher earning individuals over
     sustainable public housing initiatives for the most vulnerable in “extremely low
     income” brackets.
            A Los Angeles resident who lives in an affordable housing unit set to expire
     soon called attention to a newly constructed Affordable Housing building in her
     community: “Affordable for who? I don’t get how these politicians, how these


     145
         Id.
     146
         Id.
     147
         Id.
     148
         Id.


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                                                                         Exhibit A, Page 28
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     people in power could say what is affordable is if [they’re] not living in our
     situation, if [they’re] not walking in our shoes.” 149
            In addition to the building-based subsidies that landlords receive, many
     tenants also receive Section 8 vouchers.150 Section 8 housing vouchers were
     created under the Housing and Community Development Act of 1978 to assist
     eligible low- and moderate-income families to rent housing in the private market.
     HUD’s residency data reports that nearly 40% of LIHTC housing tenants receive
     Section 8 vouchers—though LIHTC itself costs $10.9 billion in tax revenue each
     year. 151
            Households receiving a Section 8 voucher pay 30% of their income as rent,
     the rest is subsidized by the Housing Authority and reimbursed by HUD. But
     access to Section 8 vouchers is scarce—the vouchers only serve one quarter of
     qualifying individuals. In fact, waitlists for Section 8 or the few remaining public
     housing units span more than ten years. 152 Tamara Meek, interviewed by the Los
     Angeles Times in 2017, first applied for a Section 8 housing voucher in 2004 when
     Los Angeles housing officials opened the waiting list to obtain the federal
     subsidy.153 In the 13 years she waited for a housing voucher, she made temporary
     arrangements, such as sleeping on blankets in the back of a friend’s kitchen. 154
     During that time, Meek did not receive any subsidy, only a place on the waiting list
     alongside 300,000 applicants. 155 Federal input has not kept pace with rising
     poverty levels, and as a result, Section 8 vouchers mostly became available when
     someone relinquished theirs, most often because of their death. 156 In 2017, Los
     Angeles reopened the Section 8 housing list for the first time in 13 years—with an
     expected 600,000 individuals to apply. 157 Securing a place on the waiting list is not
     just based on income, but luck. A lottery system will determine which 20,000 of


     149
         Id.
     150
         Id.
     151
         Id.
     152
         Tracy Jeanne Rosenthal, The Enduring Fiction of Affordable Housing, NEW REPUBLIC (Apr. 2, 2021),
     https://newrepublic.com/article/161806/affordable-housing-public-housing-rent-los-angeles.
     153
         Doug Smith, Up to 600,000 Expected to Apply When L.A. Reopens Section 8 Housing List This Month After 13
     Years, L.A. TIMES (Oct. 1, 2017), https://www.latimes.com/local/lanow/la-me-ln-section-8-waiting-list-20170922-
     htmlstory.html.
     154
         Id.
     155
         Id.
     156
         Id.
     157
         Id.


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     the hundreds of thousands to apply will be added to the Section 8 waiting list. 158
     And still, a coveted place on the waiting list entails an indeterminable wait. 159 In
     2017, Douglas Guthrie, President and CEO of the Housing Authority of the City of
     Los Angeles, called attention to how the lack of access to the waiting list
     “expose[s] the tremendous need there is in Los Angeles for affordable housing.” 160
     Yet four years later, access remains out of reach.
            The Housing Authority of Los Angeles County operates independently from
     the City and maintains a wait list for Section 8 housing that last opened in 2009,
     with 40,000 individuals as of 2017. 161 Leonardo Vilchis, cofounder of the L.A.
     Tenants Union, states that rather than turning to innovative solutions, reliance on
     the for-profit designed affordable housing model leaves us to “negotiate the terms
     of the community’s defeat.” 162 The homeless deaths resulting from housing
     insecurity is the “body count” of “relationships administered under the institution
     of private property,” notes University of California, Los Angeles Professor
     Marques Vestal. 163
            The National Low Income Housing Coalition (“NLIHC”) concluded in its
     2021 annual report that low-income renters in the U.S. face a shortage of nearly
     seven million affordable and available rental homes.164 For every 100 extremely
     low-income renter households in 2019, only 37 affordable homes are available. 165
     The rising number of unhoused citizens is quickly outpacing the amount of truly
     affordable housing. 166 In response, the report cites the need for substantial and
     sustained investment in public housing and an expansion of the Housing Choice
     Voucher program to eligible households, among other measures. 167
            The existing data demonstrates how bipartisan policy to divest from public
     housing and invest in affordable housing has structurally burdened communities of

     158
         Id.
     159
         Id.
     160
         Id.
     161
         Id.
     162
         Tracy Jeanne Rosenthal, The Enduring Fiction of Affordable Housing, NEW REPUBLIC (Apr. 2, 2021),
     https://newrepublic.com/article/161806/affordable-housing-public-housing-rent-los-angeles.
     163
         Id.
     164
         Nat’l Low Income Hous. Coal., NLIHC Releases 2021 Edition of The Gap, Finding Extremely Low-Income
     Renters Face Shortage of 7 Million Affordable and Available Homes (Mar. 22, 2021),
     https://nlihc.org/resource/nlihc-releases-2021-edition-gap-finding-extremely-low-income-renters-face-shortage-7.
     165
         Id.
     166
         Id.
     167
         Id.


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     color, while catering to households at the upper tier of the AMI category who are
     disproportionately white. Indeed, twenty five percent of all renter-households in
     the U.S., accounting for 10.8 million households, fall under the “extremely low
     income” threshold. 168 7.6 million of those households devote more than half of
     their incomes on rent and utilities. 169 By incentivizing developers to invest in
     affordable housing directed to individuals with higher incomes, there is a severe
     shortage of housing for the lowest-income renters. 170 People of color are
     disproportionately affected by the shortage. The American Community Survey
     (“ACS”) reported that nationally, 20% of Black households, 18% of American
     Indian or Alaska Native households, 14% of Latino households, and 10% of Asian
     households are extremely low-income renters. 171 By comparison, six percent of
     white non-Latino households are extremely low-income renters. 172
             The economic and public health crisis caused by COVID-19 has made a
     desperate situation worse for low-income renters. In 2019, 54% of Black renters
     contributed more than half of their income to housing and utilities. That number
     has grown as COVID-19 economic and employment recovery remains slowest for
     communities of color, in particular women of color. 173 According to the Bureau of
     Labor Statistics unemployment data, the unemployment rate for Black women
     aged 20 and over is one-fourth higher than the national average of all Americans in
     that same age group, and for Latinas, the rate is nearly 50% higher than the
     national average. 174 Yet the housing policies of Los Angeles County and City
     exacerbate these structural inequalities by investing in affordable housing designed
     for a limited period of 30 years and targeting the higher tiers of eligible residents—
     leaving those in the lowest tier of eligibility with scarce options. 175
             In some instances, housing discrimination in Los Angeles County is directed
     explicitly at Black people. In 2013, an investigation by the Civil Rights Division of
     the U.S. Department of Justice uncovered a pattern or practice of discriminatory

     168
         Id.
     169
         Id.
     170
         Id.
     171
         Id.
     172
         Id.
     173
         Caroline Modarressy-Tehrani, Women of Color Hardest Hit By Pandemic Joblessness, NBC NEWS (Aug. 1,
     2020), https://www.nbcnews.com/news/us-news/women-color-hardest-hit-pandemic-joblessness-n1235585.
     174
         Id.
     175
         Indeed, with apologies to Sir Winston Churchill, from the perspective of those living on the streets of Los
     Angeles, it may seem that never have so many spent so much for such little benefit for so few.


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                                                                                                    Exhibit A, Page 31
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     practices against Black Angelenos by a Los Angeles County Sheriff’s Department
     station. 176 In particular, the investigation found that Los Angeles County Sheriff
     deputies discriminated against Black Angelenos “by making housing unavailable,
     altering the terms and conditions of housing, and coercing, intimidating, and
     interfering with their housing rights, in violation of the Fair Housing Act
     (FHA).”177

     Housing Element

            The County and City have the means and infrastructure to create truly
     affordable housing. A state-mandated plan called the “Housing Element,” due by
     October, is one way that Los Angeles leaders can achieve immediate and
     sustainable change.178 In 1969, the California legislature mandated that all cities
     and counties assess the state of housing availability and adopt a housing plan every
     7–8 years to meet the housing needs of every economic sector of the
     community. 179 The plan, known as the “housing-element law,” serves as a
     blueprint for how the city or county will develop land use and housing. 180
     According to the California Department of Housing and Community Development,
     “California’s housing-element law acknowledges that, in order for the private
     market to adequately address the housing needs and demand of Californians, local
     governments must adopt plans and regulatory systems that provide opportunities
     for (and do not unduly constrain), housing development.”181 The goals of the
     housing element are to ensure each jurisdiction is adjusting its policies to meet the
     rising housing needs of the community—in particular, by ensuring housing
     construction, reducing homelessness, and protecting tenants from displacement.



     176
         Letter from Thomas E. Perez, Assistant Att’y Gen., U.S. Dep’t of Just., to Sheriff Leroy D. Baca, L.A. Cty.
     Sheriff’s Dep’t (June 28, 2013), https://knock-la.com/wp-content/uploads/2021/03/DOJ-Findings-Letter-LASD-in-
     Antelope-Valley-June-28-2013.pdf.
     177
         Id. at 5.
     178
         Times Editorial Board, Editorial: L.A. Can Begin to Solve its Affordable Housing Crisis in 2021, L.A. TIMES
     (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.
     179
         Regional Housing Needs Allocation and Housing Elements, CAL. DEP’T OF HOUS. & CMTY. DEV.,
     https://www.hcd.ca.gov/community-development/housing-element/index.shtml (last visited Apr. 19, 2021).
     180
         Id.
     181
         Id.


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                                                                                                Exhibit A, Page 32
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            The housing element law requires cities and counties to identify and assess
     adequate sites for housing in order to “affirmatively further fair housing.” 182 An
     affirmative approach to fair housing under the law mandates several areas of
     analysis. Each locality must include “[a]n analysis of available federal, state, and
     local data and knowledge to identify integration and segregation patterns and
     trends, racially or ethnically concentrated areas of poverty, disparities in access to
     opportunity, and disproportionate housing needs within the jurisdiction, including
     displacement risk.”183 The analysis must contemplate plans to foster and maintain
     compliance with civil rights and fair housing laws and envision ways to replace
     segregated residential patterns with integrated and balance patterns.184 Once issues
     are identified, an assessment of contributing factors is required, alongside the
     jurisdiction’s housing priorities and goals. 185 Cities and counties must identify
     metrics and milestones to determine what fair housing results will be achieved. 186
     Jurisdictions can implement plans by incentivizing new affordable housing and
     community revitalization, as well as initiatives to preserve existing affordable
     housing and protecting existing residents from displacement.187
            Cities and counties must also create an inventory of land “suitable and
     available for residential development” throughout the community, including
     “vacant sites and sites having realistic and demonstrated potential for
     redevelopment during the planning period to meet the locality’s housing need for a
     designated income level.” 188 Sites range from permanent housing units to interim
     shelters, such as rental units, factory-built housing, affordable accessory dwelling
     units (ADUs), mobile homes, and emergency shelters.189 In particular, the law
     requires an analysis of governmental and nongovernmental constraints on
     maintenance, improvement, or development of housing, and the local efforts to
     remove such constraints. 190 Currently, 75% of the city’s residential property is



     182
         CAL. GOV’T CODE § 65583.
     183
         Id.
     184
         Id.
     185
         Id.
     186
         Id.
     187
         Id.
     188
         Id.
     189
         Id.
     190
         Id.


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     zoned for single-family zones.191 Without major rezoning initiatives, Los Angeles
     will continue to lack the infrastructure to meet the homelessness crisis and stem
     growing housing insecurity. 192
             In the 2013 Housing Element, the City laid out four goals. First, the City
     planned to create “a City where housing production and preservation result in an
     adequate supply of ownership and rental housing that is safe, healthy and
     affordable to people of all income levels, races, ages, and suitable for their various
     needs.”193 Second, the City aimed to provide “a City in which housing helps to
     create safe, livable and sustainable neighborhoods.”194 Third, the City set out to
     build “a City where there are housing opportunities for all without discrimination”
     and fourth, “a City committed to ending and preventing homelessness.” 195 But in
     spite of these goals, Black Angelenos face barriers to homeownership and renting
     affordable housing units; disease runs rampant in garbage-ridden streets; and
     homelessness rates and homelessness deaths are at an all-time high. In short,
     nonfulfillment of the Housing Element goals has exacerbated the housing shortage
     crisis.
             In February 2021, the Los Angeles Times Editorial Board (“Times Editorial
     Board”) said that Los Angeles leaders are “clinging to development patterns born
     out of racist housing policies from the last century that perpetuate segregation and
     inequality today.”196 The Times Editorial Board noted that the longstanding
     resistance against density and development has impeded leaders’ ability to create
     sufficient housing to meet the needs of its citizens. 197 Indeed, cities across
     California, such as Sacramento and Berkeley, are revising zoning laws in response
     to the housing crisis to permit apartments on land previously zoned only for single
     family residences.198 Los Angeles City Council President Nury Martinez has



     191
         Times Editorial Board, Editorial: L.A. Can Begin to Solve Its Affordable Housing Crisis in 2021, L.A. TIMES
     (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.
     192
         Id.
     193
         L.A. DEP’T OF CITY PLANNING, HOUSING ELEMENT 2013–2021 (2013),
     https://planning.lacity.org/odocument/883be4c9-392f-46e5-996b-b734274da37d/Housing_Element_2013_-
     _2021_.pdf.
     194
         Id.
     195
         Id.
     196
         Times Editorial Board, Editorial: L.A. Can Begin to Solve Its Affordable Housing Crisis in 2021, L.A. TIMES
     (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.
     197
         Id.
     198
         Id.

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     proposed including a measure on the upcoming ballot that would similarly update
     zoning rules. The proposed ballot states:

             The outdated zoning code [also] prevents the city from meeting the pressing
             and urgent demands it is faced with. The city has a critical lack of housing
             for all income levels, however the zoning code prevents new housing from
             being built in much of the city particularly in job and transit rich
             communities. An updated code will better allow the city to house its
             homeless population, take advantage of transit investments, and meet our
             state mandated Regional Housing Needs Assessment (RHNA) target of over
             450,000 new homes by 2029. 199

            In October, Los Angeles must submit its updated Housing Element plan. It
     must identify land or properties that may be developed for 455,000 new units of
     housing, including 185,000 units for lower-income tenants. “Given the huge
     increase in units that L.A. needs to plan for,” noted the Times Editorial Board, “the
     decisions leaders make this year on where to put these new homes will shape how
     the city grows over the coming decade—and determine whether Los Angeles can
     become a less segregated, more affordable and sustainable city.” 200 The Housing
     Element plan presents a pivotal opportunity for the City and County to curtail
     structural racism by affirmatively promoting fair housing, as required under the
     law. But if new affordable housing is only concentrated in low-income
     communities where current zoning permits more dense structures, the City and
     County will not meet their responsibility to affirmatively promote fair housing.
     The Times Editorial Board challenged city officials to act to deconstruct structural
     racism in housing policy: “For the first time, Housing Element plans have to
     analyze housing inequality and try to reduce segregation and lack of opportunities
     in Black, Latino and lower-income communities. That means cities have to zone
     for more affordable housing in high-opportunity communities that have lots of
     jobs, good schools, transit stops, parks and other amenities. And if a city is going
     to put affordable housing developments in low-income communities, there has to
     199
         Motion, Land Use Reform – Zoning Ballot Measure (Aug. 19, 2020), http://clkrep.lacity.org/onlinedocs/2020/20-
     1042_mot_08-19-2020.pdf.
     200
         Times Editorial Board, Editorial: L.A. Can Begin to Solve Its Affordable Housing Crisis in 2021, L.A. TIMES
     (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.


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     be an accompanying investment in infrastructure, schools and services that help lift
     up those neighborhoods.” 201
            A report by a coalition of housing, social justice, and environmental groups
     found that nearly half of newly constructed units in Los Angeles between 2012 to
     2019 were in lower-income communities. 202 Yet 90% of the new construction
     during that period is unaffordable to working-class tenants in Los Angeles. 203 By
     concentrating new housing initiatives in lower-income communities, older
     buildings are razed and replaced by higher cost units, further decreasing the
     availability of affordable living for tenants in those communities and driving
     gentrification. 204 The Times Editorial Board advocated for city officials to change
     the course of housing scarcity in Los Angeles through its upcoming Housing
     Element plan:

               The Housing Element is the means by which L.A. leaders can enact more
               equitable development policies. The City Council and Garcetti could direct
               new development toward affluent, high-opportunity communities that have
               been traditionally closed to denser, more affordable housing. They could
               allow small apartment buildings, townhomes and bungalow courts in single-
               family neighborhoods. They could adopt tenant protections and discourage
               redevelopment of rent-stabilized apartments. They could incentivize
               developers to include more affordable units in their new buildings. They
               could streamline permitting so it’s easier and cheaper to build much-needed
               homes for all income levels. It shouldn’t take state intervention to force L.A.
               to do what’s desperately needed. 205

            With rising housing insecurity and an increasing death rate of unhoused
     persons on the streets of Los Angeles, never has there been so urgent of a need to
     utilize the Housing Element to restructure and reform the housing needs of our
     citizens.



     201
         Id.
     202
         Id.
     203
         Id.
     204
         Id.
     205
         Id.

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        B. PUBLIC STATEMENTS ON HOMELESSNESS

            California Governor Gavin Newsom has recognized the housing crisis that
     has left hundreds of thousands of Californians on the streets. In his State of the
     State address to the California Legislature on February 19, 2020, Governor
     Newsom acknowledged that homelessness was a problem that had been growing
     for decades and was neglected or consciously set aside by past administrations. His
     words were a call to emergency action and an effort to provide the necessary
     resources to stop the loss of life and correct the inhumane conditions existing in the
     deprivation of humanity in homeless communities in California, thereby ensuring
     an acceptable quality of life for all. In Governor Newsom’s words:

           Let’s call it what it is, a disgrace, that the richest state in the richest nation—
           succeeding across so many sectors—is failing to properly house, heal, and
           humanely treat so many of its own people. Every day, the California Dream
           is dimmed by the wrenching reality of families, children and seniors living
           unfed on a concrete bed. Military veterans who wore the uniform of our
           country in a foreign land, abandoned here at home. LGBTQ youth fleeing
           abuse and rejection from their families and communities. Faces of despair.
           Failed by our country’s leaders and our nation’s institutions. As
           Californians, we pride ourselves on our unwavering sense of compassion
           and justice for humankind—but there’s nothing compassionate about
           allowing fellow Californians to live on the streets, huddled in cars or
           makeshift encampments. And there’s nothing just about sidewalks and street
           corners that aren’t safe and clean for everybody. The problem has persisted
           for decades—caused by massive failures in our mental health system and
           disinvestment in our social safety net—exacerbated by widening income
           inequality and California’s housing shortage. The hard truth is we ignored
           the problem. We turned away when it wasn’t our sister, our brother, our
           neighbor, our friend. And when it was a loved one, help wasn’t there. Most
           of us experienced homelessness as a pang of guilt, not a call to action. . . . It
           became normalized. Concentrated in skid rows and tent cities in big urban
           centers. Now it’s no longer isolated. In fact, some of the most troubling
           increases have occurred in rural areas, in small towns, and remote parts of
           our state. No place is immune. No person untouched. And too often no one
                                               32

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             wants to take responsibility. I’ve even heard local officials proclaim in
             public: it’s not my problem. Servants of the public too busy pointing fingers
             to step up and help? That’s shameful. The State of California can no longer
             treat homelessness and housing insecurity as someone else’s problem, buried
             below other priorities which are easier to win or better suited for
             soundbites. 206

            Governor Newsom has turned his words into actions. In January 2019, the
     State of California sued the city of Huntington Beach for failing to comply with
     state housing laws in place to ensure the availability of affordable housing. 207 Later
     that year, $650 million in state funds were released directly to cities to address
     homelessness across the state. 208 Included in the state’s 2020–21 budget was a 28-
     page overview of the Governor’s homelessness plan.209 At the beginning of the
     pandemic, in March 2020, an additional $150 million was directed to cities to
     protect Californians experiencing homelessness from COVID-19210 and exempted
     the construction industry from his statewide stay-at-home order in recognition of
     the urgent need for housing projects to continue.211 As an interim emergency
     response to the homelessness crisis, Governor Newsom also ordered the
     deployment of travel trailers to provide temporary housing for families
     experiencing homelessness. 212


     206
         Gov. Gavin Newsom, State of the State Address (Feb. 19, 2020), https://www.gov.ca.gov/2020/02/19/governor-
     newsom-delivers-state-of-the-state-address-on-homelessness/.
     207
         Liam Dillon, After Huntington Beach Lawsuit, Newsom Warns Cities He’ll Continue Housing Law Crackdown,
     L.A. TIMES (Feb. 19, 2019), https://www.latimes.com/politics/la-pol-ca-gavin-newsom-housing-cities-summit-
     20190219-story.html.
     208
         Nicole Hayden, Tired of Waiting for Federal Go-Ahead, California Gov. Newsom Releases Homeless Funding to
     Counties, Cities, DESERT SUN (Dec. 4, 2019), https://www.desertsun.com/story/news/2019/12/04/california-gov-
     newsom-releases-homeless-funding-counties-and-cities/2610314001/.
     209
         GABRIEL PETEK, LEGIS. ANALYST’S OFF., THE 2020–21 BUDGET: THE GOVERNOR’S HOMELESSNESS PLAN
     (2020), https://lao.ca.gov/Publications/Report/4152.
     210
         Governor Newsom Takes Emergency Actions & Authorizes $150 Million in Funding to Protect Homeless
     Californians from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Mar. 18, 2020),
     https://www.gov.ca.gov/2020/03/18/governor-newsom-takes-emergency-actions-authorizes-150-million-in-funding-
     to-protect-homeless-californians-from-covid-19/.
     211
         Andrew Khouri, As California Shelters at Home from Coronavirus, Construction of Housing Goes On, L.A.
     TIMES (Mar. 21, 2020), https://www.latimes.com/homeless-housing/story/2020-03-21/coronavirus-construction-
     california-stay-at-home.
     212
         First Wave of Travel Trailers Delivered to South Los Angeles as Part of Emergency State Action on
     Homelessness, OFF. OF GOV. GAVIN NEWSOM (Feb. 13, 2020), https://www.gov.ca.gov/2020/02/13/first-wave-of-
     travel-trailers-delivered-to-south-los-angeles-as-part-of-emergency-state-action-on-homelessness/.


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            In April 2020, the Governor set an initial goal of securing 15,000 rooms
     statewide through Project Roomkey, a program that deploys vacant motel rooms to
     serve as safe shelters for homeless individuals during the COVID-19 pandemic.213
     In November 2020, an additional $62 million of state funds were committed to
     counties across the state to continue providing shelter to Project Roomkey
     participants. 214 And in July 2020, Governor Newsom announced the availability of
     $600 million in funding for Project Homekey, an initiative to convert hotels,
     motels, vacant apartment buildings, and other properties into permanent, long-term
     housing for people experiencing or at risk of homelessness.215 By the end of 2020,
     Project Homekey had consumed $846 million in state funds to purchase and
     subsidize 6,029 housing units statewide.216
            But despite these state-led efforts, at least 1,383 people experiencing
     homelessness died on the streets of Los Angeles County in 2020, a figure that
     likely underestimates the true death toll.217 As a direct result of local government
     inaction and inertia in the face of a rapidly escalating crisis, 165 homeless people
     died in January 2021 alone—a 75.5% increase compared to January 2020. 218 Each
     day, while the City and County of Los Angeles stand by, allowing bureaucracy to
     upstage the needs of their constituents, five more people experiencing
     homelessness die in Los Angeles County. 219 For years, “many efforts to build



     213
         At Newly Converted Motel, Governor Newsom Launches Project Roomkey: A First-in-the-Nation Initiative to
     Secure Hotel & Motel Rooms to Protect Homeless Individuals from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Apr.
     3, 2020), https://www.gov.ca.gov/2020/04/03/at-newly-converted-motel-governor-newsom-launches-project-
     roomkey-a-first-in-the-nation-initiative-to-secure-hotel-motel-rooms-to-protect-homeless-individuals-from-covid-
     19/; Marisa Kendall, How California Used COVID to Create Housing. A Top Newsom Adviser Weighs In,
     MERCURY NEWS (Mar. 21, 2021), https://www.mercurynews.com/2021/03/21/how-california-used-covid-to-create-
     housing-a-top-newsom-adviser-weighs-in/.
     214
         Governor Newsom Announces Emergency Allocation of $62 Million to Local Governments to Protect People
     Living in Project Roomkey Hotels, OFF. OF GOV. GAVIN NEWSOM (Nov. 16, 2020),
     https://www.gov.ca.gov/2020/11/16/governor-newsom-announces-emergency-allocation-of-62-million-to-local-
     governments-to-protect-people-living-in-project-roomkey-hotels/.
     215
         Governor Newsom Announces Release of $147 Million in Fourth Round of Homekey Awards, OFF. OF GOV.
     GAVIN NEWSOM (Oct. 9, 2020), https://www.gov.ca.gov/2020/10/09/governor-newsom-announces-release-of-147-
     million-in-fourth-round-of-homekey-awards/.
     216
         Governor Newsom Announces Major Homekey Milestone: All 94 Sites Closing Escrow Ahead of Deadline, OFF.
     OF GOV. GAVIN NEWSOM (Dec. 29, 2020), https://www.gov.ca.gov/2020/12/29/governor-newsom-announces-major-
     homekey-milestone-all-94-sites-closing-escrow-ahead-of-deadline/.
     217
         Dkt. 241-1 at 1.
     218
         Id.
     219
         Id.


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     housing have been stymied by resistance at the local level — mayors, supervisors
     and their constituents.” 220 This must stop now.
            L.A.’s homeless population has been steadily increasing, according to data
     produced by LAHSA. In 2020, LAHSA reported a 12.7% increase in the rate of
     people experiencing homelessness in Los Angeles County and a 16.1% increase in
     the homelessness rate in the City of Los Angeles compared to 2019.221 The
     COVID-19 pandemic has only exacerbated L.A.’s homelessness crisis. A recent
     report by the Economic Roundtable projects that the homelessness rate among
     working age adults in L.A. will increase by 86% by 2023 due to pandemic-related
     job losses.222
            Throughout his nearly eight years as Mayor of Los Angeles, Eric Garcetti
     has publicly acknowledged the crisis created by the rising rates of homelessness in
     his city.
            In his 2017 State of the City address, Mayor Garcetti said:

             In the last year, we campaigned for historic investments … and we won.
             Now, armed with the people of Los Angeles behind us, and new resources to
             propel us, it’s time to deliver historic change. . . . I remember a time when
             homelessness was mostly concentrated in Skid Row. Today, there are people
             without shelter in just about every neighborhood. I am outraged when there
             are Angelenos who can’t escape the cold rain. Horrified when someone who
             has worn our country’s uniform is begging for change on the corner. I
             recently talked with a friend who told me her children have grown up seeing
             the tents in our communities — they think it’s just a normal part of Los
             Angeles. . . . We can’t accept that. We won’t. . . . But the problem persists.
             That’s why we wrote Measure HHH. That’s why we fought hard to pass
             Measure H … so we could generate $355 million dollars a year to expand
             mental health, substance abuse, and employment services across the
             County—getting people off the streets, on track, and into homes of their
             very own. And thanks to the voters who passed it, we’re going to more than


     220
         Thomas Fuller, California Governor Declares Homeless Crisis ‘A Disgrace,’ N.Y. TIMES (Feb. 19, 2020),
     https://www.nytimes.com/2020/02/19/us/california-homeless.html.
     221
         Dkt. 241-1 at 1.
     222
         Dkt. 239 at 1 n.2.


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              triple our production of permanent supportive housing in the next two
              years. 223

              In his 2018 State of the City address, Mayor Garcetti said:

              And people don’t want to go to the other side of the city to sleep in it. Now
              that Measure H dollars are flowing, we can finally bring relief to people
              where they are. It’s time for tents to come down in our neighborhoods. . . .
              This week, thanks to this City Council, we will put in place an emergency
              shelter crisis declaration — so that we can build shelters across L.A. as
              quickly as possible.224

              And in 2019, Mayor Garcetti said:

              Fighting homelessness is not for the faint of heart. This is tough work. And
              like you, I’m frustrated with any encampment on any sidewalk in our city.
              Too many of us still see tents in our neighborhoods … or a man sleeping on
              our corner who still hasn’t gotten the help he needs. And I’m impatient …
              tired of how long it’s taking to make a real dent in this crisis. But I am not,
              and we are not, turning away from this — we’re pushing forward. And based
              on the evidence … the money that’s been invested ... the new hires that have
              just been made … the time we’ve dedicated — I know that things will turn
              around. . . . So, yes: Some days I’m frustrated. But I’m passionate about this.
              There’s no issue I work on more deeply than homelessness … and I can tell
              you this: we will get there. We will get there. . . . But I am here to tell you
              that in this coming year, we will start seeing a difference on our sidewalks
              and in our communities. We have nearly $5 billion dollars to spend on our
              work. . . . I see homelessness … public safety … equity … infrastructure …
              and so many other issues through the eyes of my 7-year-old daughter, Maya.
              What does Los Angeles look like to children in her generation now, as
              they’re growing up? And how will it look when they’re grown up, and
              starting their own families?225

     223
         Eric Garcetti, Mayor of L.A., State of the City (Apr. 19, 2017), https://www.lamayor.org/state-city-2017.
     224
         Eric Garcetti, Mayor of L.A., State of the City (Apr. 16, 2018), https://www.lamayor.org/SOTC2018.
     225
         Eric Garcetti, Mayor of L.A., State of the City (Apr. 17, 2019), https://www.lamayor.org/state-city-2019.

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            And finally, in 2020, Mayor Garcetti averred that he had “called for a
     FEMA-level response to our homelessness crisis almost two years ago, and it took
     this virus to finally get the federal funding to begin to make it happen.”226 Despite
     acknowledgements by City and County officials, promises to the citizens of Los
     Angeles regarding the homelessness crisis have been made and broken year after
     year. Los Angeles City and County have never taken the most powerful step:
     declaring this an emergency. 227

           C. EMERGENCY POWERS FOR AN EMERGENCY SITUATION

           Los Angeles City Charter Sec. 231 and Los Angeles Administrative Code
     Sec. 8.22

             empower the Mayor of the City of Los Angeles to proclaim the existence or
             threatened existence of a local emergency when an occurrence which by
             reason of its magnitude is or is likely to become beyond the control of the
             normal services, personnel, equipment, and facilities of the regularly
             constituted branches and departments of the City government. 228

            To this day, Mayor Garcetti has not employed the emergency powers given
     to him by the City Charter despite overwhelming evidence that the magnitude of
     the homelessness crisis is “beyond the control of the normal services” of the City
     government. An emergency declaration under the City Charter would give the
     Mayor the power to “promulgate, issue and enforce rules, regulations, orders and
     directives which the [Mayor] considers necessary for the protection of life and
     property.”229 These rules would be effective immediately upon their issuance,
     allowing Mayor Garcetti to bypass the bureaucracy and eliminate the inefficiencies



     226
         Eric Garcetti, Mayor of L.A., State of the City (Apr. 19, 2020), https://www.lamayor.org/SOTC2020.
     227
         A “FEMA-level response” is not an emergency declaration. An emergency declaration allows the city to bypass
     bureaucracy. See infra Section C. Emergency Powers for an Emergency Situation.
     228
         Dkt. 205 at 3.
     229
         L.A. Charter, Sec. 8.29.


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     that currently stifle progress on homelessness—still, the Mayor has not acted,
     while other localities have. 230
             The City also has a second avenue for leveraging its emergency powers, but
     there, too, there seems to be a crisis on inaction. California State Government Code
     8698–8698.2 gives counties and cities broad powers to declare a shelter crisis and
     provide emergency shelter and housing to the homeless during the duration of the
     state of emergency. 231 In 2015, Mayor Garcetti and Los Angeles City Council
     members introduced a motion to declare a state of emergency on homelessness “as
     it relates to a shelter crisis,” but the motion was never acted upon. 232 The motion
     called L.A.’s homelessness crisis “unprecedented and growing” and said that the
     City was “facing a state of emergency,” requiring “immediate action” and
     “immediate relief”—“extraordinary steps must be taken to make it build and locate
     a broad range of housing options; including temporary housing options, emergency
     shelters, and safe and legal parking areas for individuals who may live in their
     vehicles.” 233 It further declared that “the City of Los Angeles should take full
     advantage of its emergency authority to provide and incentivize shelter to those
     whose lives and health are at risk by living on the streets.” 234
             Commenting on the lack of movement eight weeks after the 2015 motion
     was first introduced, the Los Angeles Times Editorial Board wrote, “this whole
     process has been more of a turgid civics debate than an urgent response to a
     desperate situation.” 235 Despite the City’s acknowledgment that it had “willing
     partners at every level” and that the emergency “require[d] strong and immediate
     action by the city of Los Angeles,” 236 the Times continued, “the supposed state of
     emergency proclaimed almost two months ago is looking increasingly look like a

     230
         Other locales— including Portland, Oregon; Seattle and King County, Washington; and Hawaii—have declared
     states of emergency related to rising homelessness. Commenting on the decision to declare a state of emergency in
     his county, King County, Washington Executive Dow Constantine said, “[t]he persistent and growing phenomenon
     of homelessness—here and nationwide—is a human-made crisis, just as devastating to thousands as a flood or fire.”
     J.B. Wogan, Why Governments Declare a Homeless State of Emergency, GOVERNING (Nov. 10, 2015),
     https://www.governing.com/archive/gov-when-cities-declare-a-homeless-state-of-emergency.html.
     231
         Motion, State of Emergency – Homelessness and Poverty Housing (Sept. 22, 2015) [hereinafter 2015 Motion].
     232
         Times Editorial Board, Editorial: What Happened to L.A.'s State of Emergency on Homelessness?, L.A. TIMES
     (Nov. 17, 2015), https://www.latimes.com/opinion/editorials/la-ed-1117-homeless-emergency-20151117-story.html.
     233
         2015 Motion, supra note 231.
     234
         Id.
     235
         Times Editorial Board, Editorial: What Happened to L.A.'s State of Emergency on Homelessness?, L.A. TIMES
     (Nov. 17, 2015), https://www.latimes.com/opinion/editorials/la-ed-1117-homeless-emergency-20151117-story.html.
     236
         2015 Motion, supra note 231.


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     farce and a waste of time” and concluded, “enough with the hype and the mere
     pretense of urgency.”237
             In the intervening years, the City eventually went on to declare a shelter
     crisis under the state code, but the shelter crisis declaration has proven to be
     nothing more than empty words. 238 Homeless individuals continue to die in record
     numbers; the homeless population continues to grow; and government inertia
     continues to plague already insufficient relief efforts. Six years after the words
     were written, the Times Editorial Board’s proclamation that the shelter crisis
     declaration was a “farce and a waste of time” continue to ring true. It is clear that
     Mayor Garcetti can draw on his power to declare a local emergency under the Los
     Angeles City Charter in order to make progress towards solving the homelessness
     crisis.
             In a September 2019 editorial in the Los Angeles Daily News, Los Angeles
     City Councilmember Joe Buscaino called on the California governor to declare a
     state of emergency on homelessness, writing: “In our response to the homelessness
     crisis, the city, the county, and the state are obeying every speed limit and stopping
     at every red light…. We need to give our dedicated civil servants the ability to
     respond to this emergency Code 3, just like cops and firefighters, and bypass the
     normal rules that add precious days, weeks, and months to contracting and
     construction timelines.” 239 While the City has tried to shift responsibility onto the
     state for declaring an emergency, the real power remains with the Mayor and the
     City Council.
             The global community has recognized the shameful plight of the richest state
     in one of the richest countries in the world while it languishes in indecision. UN
     Special Rapporteur on Extreme Poverty and Human Rights Philip Alston has
     called out Los Angeles for lagging behind other American cities in tackling
     homelessness. 240 Specifically addressing his visit to Skid Row and the attitudes of
     public authorities in Los Angeles, the Special Rapporteur wrote that “[r]ather than
     responding to homeless persons as affronts to the senses and to their

     237
         Times Editorial Board, Editorial: What Happened to L.A.'s State of Emergency on Homelessness?, L.A. TIMES
     (Nov. 17, 2015), https://www.latimes.com/opinion/editorials/la-ed-1117-homeless-emergency-20151117-story.html.
     238
         L.A., CAL. ORDINANCE 185,490.
     239
         Joe Buscaino, It’s Time to Declare a State of Emergency on Homelessness, L.A. DAILY NEWS (Sept. 24, 2019),
     https://www.dailynews.com/2019/09/24/its-time-to-declare-a-state-of-emergency-on-homelessness-joe-buscaino/.
     240
         Gale Holland, U.N. Monitor Says L.A. Lags Behind Other Cities in Attacking Homelessness, L.A. TIMES (Dec. 5,
     2017), https://www.latimes.com/local/lanow/la-me-ln-un-monitor-skid-row-20171215-story.html.


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     neighborhoods, citizens and local authorities should see in their presence a tragic
     indictment of community and government policies.”241 The Special Rapporteur
     continued, commenting on the people he met in Skid Row who were “barely
     surviving” and concluding that “[h]omelessness on this scale is far from
     inevitable.”242 Leilani Farha, UN Special Rapporteur on Housing, also remarked
     that the homelessness crisis makes “you almost forget you’re in Los Angeles.” 243
     The New York Times has reported that “[n]early half of all unsheltered people in
     the United States live in California, though the state accounts for just 12% of the
     U.S. population.”
            Still, calls for action have been met only with a persistent failure to muster
     political will, resulting in an abdication of the government’s duty to protect its
     constituents.

         D. GOVERNMENT INACTION

            Elected officials at both the state and local level have long been aware of
     L.A.’s urgent homelessness crisis. In recent court filings, the County of Los
     Angeles called homelessness “an extraordinarily complex problem that demands a
     multi-faceted approach and active, sustained collaboration” among government
     officials. 244 The City of Los Angeles acknowledged that the “crisis of homeless is
     among the great challenges facing our region” 245 In a 2019 interview, Mayor
     Garcetti referred to homelessness as “the humanitarian crisis of our lives,” 246 a
     characterization echoed by Hilda Solis, chair of the County Board of Supervisors,
     in 2020. 247 Heidi Marston, Executive Director of the Los Angeles Homeless

     241
         Statement on Visit to the USA, by Professor Philip Alston, United Nations Special Rapporteur on Extreme
     Poverty and Human Rights, U.N. HUM. RTS. OFF. OF THE HIGH COMM’R (Dec. 15, 2017),
     https://www.ohchr.org/EN/NewsEvents/Pages/DisplayNews.aspx?NewsID=22533.
     242
         Id.
     243
         Charles David, UN Housing Official Shocked by L.A.’s Homelessness, CAPITAL & MAIN (Jan. 25, 2018),
     https://capitalandmain.com/united-nations-housing-official-shocked-los-angeles-homelessness-0125.
     244
         Dkt. 235 at 6.
     245
         Dkt. 242 at 1.
     246
         LA Mayor Eric Garcetti Calls Homelessness The 'Humanitarian Crisis Of Our Lives', NPR (Sept. 21, 2019),
     https://www.npr.org/2019/09/21/763073646/l-a-mayor-eric-garcetti-calls-homelessness-the-humanitarian-crisis-of-
     our-lives.
     247
         Innovative and Rapid Construction of Housing to Alleviate Homelessness to Launch at Former Jail Site, HILDA
     SOLIS (Sept. 29, 2020), https://hildalsolis.org/innovative-and-rapid-construction-of-housing-to-alleviate-
     homelessness-to-launch-at-former-jail-site/.


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     Services Authority, has called homelessness “an emergency on our streets . . .
     [requiring] an emergency response.”248 And yet, City and County officials are
     content to pay soundbite lip service instead of declaring an emergency and taking
     steps to correct the problems that plague their communities.
            California’s homeless population has steadily risen since 2007. 249 The
     sharpest increase took place over the last two years, marking a 24.3% increase
     from 2018 to 2020.250 A March 2021 federal report shows that California’s
     homeless population increased by nearly seven percent in early 2020 to an
     estimated 161,548—months before COVID-19 emerged and the subsequent
     economic crisis hit the state.251 Despite frequent acknowledgments of the
     emergency nature of homelessness in LA, City and County efforts to address the
     problem continue to be mired in corruption and plagued by a lack of transparency.

                      i.      No Functionality - Corruption, Bureaucracy, and
                              Inadequacy

            In February 2021, at the Los Angeles Business Council’s Mayoral Housing,
     Transportation and Jobs Summit, city officials spoke about the inadequacy of
     current efforts to combat homelessness. City Councilmember Mike Bonin
     declared, “let’s just be absolutely candid here—there’s almost nobody in the city of
     Los Angeles, housed or unhoused, who would give what’s happening in Los
     Angeles [anything] other than a failing grade.”252 Bonin further suggested that the
     structure of L.A.’s government was “not designed for a crisis of this proportion.”253
     Fellow Councilmember Kevin de León continued, “By any objective measurement,
     the current status quo is dysfunctional, it’s highly disjointed, the systems are
     completely misaligned.” 254

     248
         Rob Hayes, LA Homelessness Authority Calls for Government to Treat Homelessness Crisis with Same Urgency
     as Natural Disaster, ABC7 (Feb. 19, 2020), https://abc7.com/los-angeles-homeless-services-agency-lahsa-
     homelessness-in-california/5945026/.
     249
         Chris Nichols, California’s Homeless Population Rose 7% To 161,000 Ahead Of The Pandemic, New Report
     Finds, CAPRADIO (Mar. 19, 2021), https://www.capradio.org/articles/2021/03/19/californias-homeless-population-
     rose-7-to-161000-ahead-of-the-pandemic-new-report-finds/.
     250
         Id.
     251
         Id.
     252
         Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
     253
         Id.
     254
         Id.

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             The disconnect between politicians’ public statements about the severity of
     this crisis and the actual efforts made to fund effective solutions is growing. Recent
     investigations into City-funded housing projects for the homeless demonstrate that
     a lack of government oversight has allowed the proliferation of corruption. In at
     least two separate instances with two different developers, reports indicate that
     developers of taxpayer-funded affordable housing projects have purchased
     properties before turning around and reselling those properties to themselves at
     higher prices in order to artificially inflate their project budgets and, in turn, the
     amount of public money that they receive. In the case of a partly renovated motel
     in L.A.’s Westlake neighborhood, developers were able to increase the project’s
     budget by $8 million through this process of reselling. 255 According to reporting by
     KCRW, “most of the more than $30 million pumped into the renovation of this
     rundown motel has gone to its former owners, who, right before the sale, were sued
     by public interest attorneys for illegally evicting tenants.”256 In another case near
     Koreatown, a similar reselling process was used by a different developer to
     artificially inflate the budget by $6 million.257
             These cases, of which there are almost certainly more to be discovered,
     indicate that the city has turned a blind eye to corruption as money is being
     siphoned off from funds that taxpayers voted to allocate to the homeless
     population.
             The improper relationship between City Hall and real estate developers is
     neither isolated nor new. The FBI has been investigating possible corruption in
     City Hall since 2017, a probe that has led to the prosecution of real estate
     consultants, political fundraisers, and even, most notably, former Councilmember
     Jose Huizar, whose council district included Skid Row. 258 In June 2020, Huizar
     was arrested by federal agents for using his position to cover up illegal activities


     255
         Anna Scott, How a City-Funded Homeless Housing Project Became a Sink Hole for Public Money, KCRW (Dec.
     10, 2020), https://www.kcrw.com/news/shows/greater-la/hhh-motel-george-gascon/30-million-motel-homeless-
     shelter-prop-hhh-taxpayer-oversight-la.
     256
         Id.
     257
         Id.
     258
         David Zahniser, Emily Alpert Reyes, & Joel Rubin, L.A. City Councilman Jose Huizar charged in federal
     corruption probe, L.A. TIMES (June 23, 2020) https://www.latimes.com/california/story/2020-06-23/jose-huizar-
     arrest-corruption-city-hall-fbi-investigation; Donna Evans, $3.7 Million Plan Proposed to Clean Up Skid Row, DT
     NEWS (Apr. 8, 2014) http://www.ladowntownnews.com/news/3-7-million-plan-proposed-to-clean-up-skid-
     row/article_e25e730a-bf51-11e3-ac54-0019bb2963f4.html.


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     such as accepting bribes from real estate developers,259 and the Los Angeles Times
     has reported that “[i]nvestigators said Huizar reduced the amount of affordable
     housing required inside the development after receiving key financial
     benefits….”260 The FBI investigation and subsequent arrests, indictments, and
     prosecutions makes clear that corruption inside City Hall is directly linked to the
     lack of affordable housing in the City and, by extension, the homelessness crisis.
             At the February 2021 Mayoral Summit, Councilmember Mark Ridley-
     Thomas said, “We have to be smarter, we have to work harder, and we have to run
     a lot faster . . . If in fact we expect to make a difference over the next five years, it
     will require that which is conspicuously absent in this environment—and that is
     leadership . . . collective leadership.”261 Recognizing the purely symbolic nature of
     the collaboration between City Hall and the Board of Supervisors, Councilmember
     Ridley-Thomas continued, “we are overdue in terms of getting our act together.” 262
     Councilmember Ridley-Thomas’ words echo an article on homelessness in the Los
     Angeles Times more than 30 years ago. In 1985, the Times wrote: “It is time for
     leadership from both the mayor’s office and the county Board of Supervisors to
     pull all the players together in one room and lock the door until they have assigned
     tasks to start finding land and money for shelters, with deadlines for doing
     so. . .” 263

                      ii.     No Accountability - Missed Targets and Suspended
                              Deadlines




     259
         Libby Denkmann, Timeline: Follow The FBI's Sweeping LA City Hall Corruption Investigation Through The
     Years, LAIST (May 18, 2020), https://laist.com/2020/05/18/los-angeles-city-hall-fbi-corruption-investigation-
     timeline-englander-huizar.php.
     260
         David Zahniser, Downtown Developer Will Pay $1.2 Million in L.A. City Hall Corruption Case, L.A. TIMES (Jan.
     7, 2021), https://www.latimes.com/california/story/2021-01-07/downtown-developer-will-pay-1-2-million-in-l-a-
     city-hall-corruption-case.
     261
         Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
     262
         Id.
     263
         Help the Homeless, L.A. TIMES (Jan. 8, 1985), https://www.latimes.com/archives/la-xpm-1985-01-08-me-7426-
     story.html.


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            Four years ago, Los Angeles voters passed Proposition HHH, a $1.2 billion
     bond to fund housing projects aimed at the city’s homeless population.264 After
     three years of missed deadlines, the first HHH project, providing just 62 housing
     units, opened in January 2020. 265 At the project’s unveiling, the Mayor announced,
     “This year, we will see an opening of one of these about every three weeks. My
     calculations, next year it might be every two weeks or less.”266 Over a year later,
     just seven projects containing 489 total units, had been completed. 267 By then, the
     City was four years into a ten-year project, but progress lagged far behind
     projections.
            “Where has this money gone?” asked Anna Scott of National Public Radio
     member station KCRW. 268 The initial public campaign for Proposition HHH
     planned for 10,000 housing units to be completed in 10 years, promising
     significant relief to the City’s unhoused population. However, progress continues
     to lag behind promises. At the current rate, it will take nearly 30 years to build
     enough housing for over 66,000 people currently experiencing homelessness—an
     estimate that doesn’t even account for the fact that the homelessness rate is
     growing exponentially every year.269 Moreover, while the average cost of a custom
     home in L.A. starts at $350,000, more than 28% of Proposition HHH units in
     construction exceed $600,000 per unit.270
            Ron Miller, Executive Secretary of the Los Angeles/Orange Counties
     Building and Construction Trades Council, was a major proponent of Proposition
     HHH, but recently questioned in a letter to Los Angeles City Attorney Mike Feuer
     why action has not been taken to quell the “abuses that seem to be occurring under
     HHH.”271 Miller referenced reports “alleging everything from fake not-for-profits

     264
         Doug Smith, It Took Three Years of Blown Deadlines, But L.A. Opens Its First Homeless Housing Project, L.A.
     TIMES (Jan. 7, 2020), https://www.latimes.com/california/story/2020-01-07/homeless-housing-project-proposition-
     hhh-bond-measure.
     265
         Id.
     266
         Id.
     267
         Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
     https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
     8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.
     268
         Anna Scott, How a City-Funded Homeless Housing Project Became a Sink Hole for Public Money, KCRW (Dec.
     10, 2020), https://www.kcrw.com/news/shows/greater-la/hhh-motel-george-gascon/30-million-motel-homeless-
     shelter-prop-hhh-taxpayer-oversight-la.
     269
         Dkt. 239 at 23.
     270
         Id.
     271
         Letter from Ron Miller, Exec. Sec’y, L.A./Orange Cntys. Bldg. & Constr. Trades Council, to Mike Feuer, L.A.
     City Att’y (Dec. 17, 2020) [hereinafter Miller Letter].


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     to contractors with zero employees and multi-million dollar development fees, and
     lucrative guaranteed managements fees that support zero-risk development.” 272
     Miller asked City Attorney Feuer why “there has been virtually no general call to
     action to publicly disclose and discuss the amount of money that is being made by
     developers or needed background investigation on entities applying for HHH
     funding.”273 Even beyond the damage it’s done to the homeless community and
     those facing housing insecurity, these issues are also hurting the construction
     community.
            Los Angeles City Controller Ron Galperin has also highlighted the problems
     undergirding HHH projects. In an article for the Los Angeles Daily News on
     March 14, 2021, Galperin wrote:

             What’s the problem with HHH? The projects are too expensive and too slow
             to make a meaningful difference for people living on our streets. As of this
             month, 489 bond-funded units are ready for occupancy and most others
             won’t be finished until 2023, 2024 or later. While Los Angeles someday will
             see thousands of new units, it will be nowhere near enough to keep pace
             with the crisis in our neighborhoods.274

           Examining the causes of the excessive delays and skyrocketing costs that
     have plagued HHH projects to date, Galperin went on:

             Spools of red tape and excessive development costs contributed to this mess.
             As Los Angeles Controller, the HHH ballot language mandates my office to
             audit the program’s finances yearly, and the City Charter allows us to
             examine its performance. We found in 2019 and 2020 that the high cost of
             building permanent supportive housing had slowed HHH to a crawl. Having
             to cobble together money from multiple funding sources and a serpentine
             permitting process made it so that developers couldn’t get their projects
             approved quickly. Instead of churning out units at $350,000 each as

     272
         Id.
     273
         Id.
     274
         Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
     https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
     8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.


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              originally predicted, the average per unit cost is now $531,000 — with some
              eclipsing $700,000. . . . If the City worked harder to bring costs down, it
              could use more money to fund additional housing units and extend HHH’s
              reach.275

             Further, even though Governor Newsom specifically exempted construction
     work from his statewide stay-at-home orders, Mayor Garcetti ordered “all
     benchmarks and deadlines pertaining to current HHH projects [to be] indefinitely
     suspended” as of April 2020. 276 Without these deadlines, Los Angeles residents
     have no way to hold the City accountable for its promises to create sustainable
     solutions to homelessness. And this complete lack of accountability has
     consequences—in the four years since Proposition HHH was passed, 5,814
     homeless people have died on the streets of Los Angeles.277 Homeless deaths have
     increased to at least five deaths per day, and while the homeless have perished on
     our streets, only 489 housing units have been produced in the four years of HHH
     funding.
             Proposition HHH provided funds to be used in three types of housing: 1)
     supportive housing for homeless individuals where health and other services would
     be provided, 2) temporary shelters and facilities, and 3) affordable housing. 278
     Nevertheless, the City “unilaterally decided to spend the vast majority of the
     funding on supportive housing,” allocating only five percent of the total
     Proposition HHH budget to interim shelter and facilities projects. 279 The deadly
     decision to prioritize long-term housing at the expense of committing funds to
     interim shelters has caused few to be housed while tens of thousands of people are
     left in the street. This allocation of resources has significantly benefited a relative
     few and sentenced the vast majority of our homeless population to living under
     circumstances that are clearly unacceptable in a civilized society. This decision
     also caused the quality of life for all residents of the City and County to deteriorate
     at an alarming rate.
             City Controller Galperin recently called for a “pandemic pivot” in his recent
     Los Angeles Daily News Article:
     275
         Id.
     276
         Dkt. 265 at 23.
     277
         Id.
     278
         Dkt. 239 at 21.
     279
         Id.

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             Money set aside for questionable or excessively expensive projects should
             be reallocated to less costly and time-consuming plans. Until recently, there
             had been little openness to such ideas at City Hall, but two of L.A.’s newest
             Councilmembers have embraced my office’s recommendations. They want
             the City to scrutinize troubled projects to see if a greater share of HHH funds
             can be used to build housing faster and cheaper. Building more interim
             housing to address immediate needs, and expanding the use of cheaper,
             faster permanent housing solutions to achieve long-term goals — like motel
             conversions and prefabricated and modular units — can and should be done
             through HHH. It’s time for the City to do a pandemic pivot. The residents of
             Los Angeles, unhoused and housed, deserve a more flexible approach to
             homeless housing — one that gets people off the streets today and creates an
             even greater number of supportive units in the days to come.280

             In a further effort to exacerbate this crisis, the City also announced in March
     2021 that it would ramp down Project Roomkey, Governor Newsom’s program to
     converted unused hotel rooms into temporary shelters for unhoused people during
     the COVID-19 pandemic.281 Just a month earlier, in February 2021, the Los
     Angeles Business Council, representing 500 L.A. businesses and civic leaders, had
     urged the City to expand Project Roomkey to include 15,000 hotel rooms.282
     “Opportunities like this don’t come along often. We must take full advantage of
     it,” the Los Angeles Business Council (LABC) wrote to Mayor Garcetti.283 “Thus,
     we urge you to act fast to explore options for renting vastly more hotel and motel

     280
         Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
     https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
     8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.
     281
         Elizabeth Chou, Expanding Project Roomkey to Shelter Homeless Angelenos ‘Unfeasible,’ LA County Officials
     Say, L.A. DAILY NEWS (Mar. 8, 2021), https://www.dailynews.com/2021/03/08/expanding-project-roomkey-to-
     shelter-homeless-angelenos-unfeasible-la-county-officials-say/; Benjamin Oreskes & Dakota Smith, L.A. County
     Won’t Expand Program to Shelter Homeless People in Hotels, L.A. TIMES (Mar. 5, 2021),
     https://www.latimes.com/homeless-housing/story/2021-03-05/l-a-county-wont-expand-program-to-shelter-
     homeless-people-in-hotels.
     282
         L.A. Business Council Calls for Significant Expansion of Project Roomkey for Homeless, L.A. DAILY NEWS (Feb.
     20, 2021), https://www.dailynews.com/2021/02/20/l-a-business-council-calls-for-significant-expansion-of-project-
     roomkey-for-homeless/.
     283
         LABC Leaders Call on Mayor Garcetti and City Council to Pursue 15,000 Room Goal for Project Roomkey,
     LABC (Feb. 19, 2021), https://labusinesscouncil.org/labc-leaders-call-on-mayor-garcetti-and-city-council-to-pursue-
     15000-room-goal-for-project-roomkey/.


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     rooms and bringing our unhoused Angelenos safely indoors.”284 City Attorney
     Mike Feuer also called himself a “strong supporter of the LABC’s proposal today
     that there be 15,000 new beds under Project Roomkey.” 285
            While the City cited budget constraints as the key factor in its decision,
     according to the Los Angeles Times, “local, state and federal officials say the city
     hasn’t requested reimbursement from the Federal Emergency Management Agency
     (FEMA) for portions of the estimated $59 million it has spent on Project
     Roomkey” to date.286 Shayla Myers, an attorney for the Legal Aid Foundation of
     Los Angeles has said, “there is federal money on the table—the literal FEMA
     response the mayor has been begging for, and yet the City has found excuse after
     excuse not to take advantage of it.”287 Mary Leslie, president of the Los Angeles
     Business Council, called the City’s failure to apply for reimbursement despite their
     purported budget constraints “disturbing and inexcusable” and stated that the
     City’s inaction is “costing the most vulnerable people their lives.” 288 While under
     the Trump administration, the federal government reimbursed only 75% of costs
     under Project Roomkey, the Biden administration recently increased the
     reimbursement rate to 100%.289
            In justifying the delayed reimbursement applications, City Administrative
     Officer Rich Llewellyn said, “essentially our billing department needs more
     assistance to get the money back.”290 In response, the Los Angeles Business
     Council said that “if it’s really a matter of filling out paperwork, the LABC is
     perfectly willing to organize an army of volunteers to go down to City Hall.” 291
     With only 42% of local hotel rooms occupied on any given day, the City could use
     the FEMA reimbursement money to shelter tens of thousands of at-risk people
     living on the streets of L.A.292


     284
         Id.
     285
         Id.
     286
         Benjamin Oreskes & Dakota Smith, L.A. Is Entitled to Federal Aid to Put Homeless People in Hotels. It Hasn’t
     Asked for Any Yet, L.A. TIMES (Mar. 3, 2021), https://www.latimes.com/homeless-housing/story/2021-03-03/la-
     slow-submit-fema-aid-paperwork-homeless-hotels.
     287
         Id.
     288
         Id.
     289
         Id.
     290
         Id.
     291
         Id.
     292
         Adam Mahoney, Occupy Hotel Rooms: Inside LA’s New Push to Solve Homelessness, GRIST (Mar. 10, 2021),
     https://grist.org/justice/fema-project-roomkey-homelessness-los-angeles/.


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             “Quite frankly, . . . our treasury usually has a balance of around 10-ish
     billion dollars,” stated Los Angeles City Controller Ron Galperin on April 15,
     2021. “There are ways that we can front the money for something,” Galperin
     continued. Critiquing the standstill based on budget shortfalls, Galperin said “the
     point that I’ve made repeatedly to others in the City is that if the issue is cash flow
     . . . we can solve that cash flow issue. That should not be the impediment.”293

                      iii.    No Plan for the Future

            In his 2020 State of the State address, California Governor Gavin Newsom
     declared, “the State of California can no longer treat homelessness and housing
     insecurity as someone else’s problem, buried below other priorities which are
     easier to win or better suited for soundbites.” 294 The Governor’s efforts to address
     homelessness include deploying emergency mobile housing trailers for homeless
     families, securing FEMA reimbursement for Project Roomkey, and making
     available state property for homelessness solutions. Still, despite these efforts by
     the State to provide aid to the City and County, 165 homeless persons died in
     January 2021. 295 In February 2021, at least another 105 homeless people died in
     Los Angeles County. 296 A minimum of 270 homeless people have died in 2021—a
     49% increase compared to this same time in 2020.297 At a recent Court hearing in
     City Hall, General Jeff Page, a leading activist and Skid Row resident said,
     “[W]hen we think of City Hall, where we are right now, it’s on the northwest
     corner of 1st and Main. The most northern corner of Skid Row is 3rd and Main,
     which is two blocks from here. And so, you know, we can actually look out the
     window and see homelessness out of every single direction—north, south, east,
     and west—of the building.” 298


     293
         People’s City Council – Los Angeles (@PplsCityCouncil), Twitter (Apr. 15, 2021, 6:33 PM),
     https://twitter.com/pplscitycouncil/status/1382869701852729348?s=21.
     294
         Gov. Gavin Newsom, State of the State Address (Feb. 19, 2020), https://www.gov.ca.gov/2020/02/19/governor-
     newsom-delivers-state-of-the-state-address-on-homelessness/.
     295
         Ethan Ward, They Were Homeless, Now They’re Dead, CROSSTOWN (Feb. 10, 2021)
     https://xtown.la/2021/02/10/homeless-deaths-los-angeles/.
     296
         Rev. Andy Bales (@abales), TWITTER (Mar. 8, 2021, 7:36 PM),
     https://twitter.com/abales/status/1369130010884198400.
     297
         Id.
     298
         Dkt. 165 at 172–73.


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             Despite Governor Newsom’s warning against deprioritizing homelessness
     and the clear evidence of an exponentially growing crisis in Los Angeles, City
     Councilmember Mark Ridley-Thomas criticized City inaction at the February 2021
     Mayoral Summit, saying, “the issue of homelessness is of insufficient importance
     to the decision makers in this region. Therefore, we have this languishing set of
     circumstances where we chase our tails, day in and day out, claiming that we’re
     doing things.”299 Councilmember de Leon agreed: “We need a real plan—a north
     star.” 300 He later continued, “There is a dissonance, there is a disconnection with
     the governmental rhetoric and what is happening on our streets every single day in
     Los Angeles.” 301 While Defendants tout their commitment to “build 10,000
     permanent supportive housing units” through Proposition HHH, the ongoing
     delays with Proposition HHH projects, failure to apply for FEMA funding, and
     ramp down of Project Roomkey demonstrate that the City and County lack the
     political courage to confront the fierce urgency of now, just when the citizens need
     solutions the most. With no clear plan of how to move forward, fellow
     Councilmember Mike Bonin echoed Ridley-Thomas: “The only way we can
     respond to this is . . . we need the Court’s help.”302 Panel moderator Miguel
     Santana concluded: “I’m hoping that five years from now we’re not having this
     conversation. I don’t know about you, but I’m kind of tired of having it. But
     something tells me we are.” 303
             On March 11, 2021, President Biden signed a historic $1.9 trillion COVID-
     19 relief bill that provided direct funding to states and cities. The City of Los
     Angeles was expected to receive $1.35 billion of that money, with $1.9 billion
     going to the County as a whole, leaving Mayor Garcetti “ecstatic.” 304 Michael
     Weinstein, President of the AIDS Healthcare Foundation, commented on the
     potential uses of that money, saying “the federal money coming to Los Angeles
     presents a tremendous opportunity for L.A. to finally and meaningfully end our

     299
         Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
     300
         Id.
     301
         Id.
     302
         Id.
     303
         Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
     304
         David Zahniser, Dakota Smith & Julia Wick, L.A. Expects to Receive $1.35 Billion from the Relief bBll. Garcetti
     Is ‘Ecstatic’, L.A. TIMES (Mar. 10, 2021), https://www.latimes.com/california/story/2021-03-10/federal-relief-cities-
     states-could-end-los-angeles-city-budget-crisis.


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     homeless crisis. However, we need Mayor Garcetti and the Council to act
     deliberately—and swiftly—to end the crisis here once and for all.” 305 In June 2020,
     even before the influx of funding through Biden’s COVID-19 relief bill, Heidi
     Marston, Executive Director of the Los Angeles Homeless Services Authority said:
     “We set the goal of rehousing 15,000 people, because that’s the estimated number
     of people experiencing homelessness who are 65 or older, or who have an
     underlying health condition, making them highly susceptible to hospitalization or
     death should they contract COVID-19. This is about saving lives. We are not
     backing away from that number. We know how to house them. We need the
     resources from the city, county, state and federal government to do it.”306 Now,
     Los Angeles has the resources to rehouse 15,000 vulnerable people through Project
     Roomkey—instead, the City and County continue to abdicate their responsibility to
     protect their citizens.

           E. HEALTH AND SAFETY IMPACTS

                      i.       Fires

            It isn’t just the unhoused community that feels the effects of this persistent
     government inaction. Rather, inertia has created a public safety crisis that touches
     the lives of every citizen of Los Angeles while the government remains indifferent
     amidst rising chaos. Firefighters of the Los Angeles Fire Department “are stunned
     by their own department’s records, which show thousands more fires in 2020 than
     2019, including more arsons and fires linked to homelessness.” 307 The problem is
     growing worse. Fires are breaking out with distressing frequency, threatening both
     housed and unhoused populations. In 2020, fires related to homelessness increased



     305
         Ged Kenslea, Homelessness: AHF Tells City ‘No More Excuses!’ as L.A. Gets $1.35B in COVID Relief,
     BUSINESSWIRE (Mar. 20, 2021), https://www.businesswire.com/news/home/20210320005012/en/Homelessness-
     AHF-Tells-City-%E2%80%98No-More-Excuses%21%E2%80%99-as-L.A.-Gets-1.35B-in-COVID-Relief.
     306
         Doug Smith & Benjamin Oreskes, As Efforts Collapse to Place Homeless in Hotels, L.A. Officials Propose New,
     $800-Million Plan, L.A. TIMES (June 23, 2020), https://www.latimes.com/homeless-housing/story/2020-06-23/as-
     efforts-collapse-to-place-homeless-in-hotels-l-a-officials-propose-new-800-million-plan.
     307
         Eric Leonard, LAFD Reports a Staggering Rise in the Number of Fires, Outpacing Any Year in Recent Memory,
     NBC L.A. (Oct. 9, 2020), https://www.nbclosangeles.com/investigations/fires-spike-45-in-city-of-los-angeles-data-
     shows/2442013/.


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     by 82% compared to 2019. 308 That figure is on pace to rise in 2021. 309 Particularly
     disturbing are records related to deliberately set fires affecting homeless
     individuals—which increased by 90% in 2020.310 The fires stem from homeless-
     on-homeless violence, targeted attacks from outsiders, and fires individuals light to
     stay warm inside their tent.311 In addition to the rise in deaths and injury, the fire
     destroys the temporary shelter unhoused individuals have, often sweeping up with
     it documents necessary to apply for housing and services.312
             Adding a more personal angle to these facts and figures, Freddie, an
     unhoused Angeleno whose tent was destroyed by a targeted explosion in Echo
     Park, said: “I know it’s not directed toward me as an individual,” said Freddie, “but
     it is directed toward me as a homeless person.” 313 As he read in his tent one
     Sunday evening, the last two sounds Freddie heard before the explosion were the
     roar of a car engine followed by a resounding boom that filled his tent with smoke
     and razed his shelter.314 Taking stock of what remained of his tent, Freddie
     questioned whether there would be a larger police response or public outcry had
     the same attack been taken against a housed Angeleno. 315 “Why am I less of a
     person?” he asked.316

                      ii.      Increased Risk of Homeless Deaths

            Unhoused persons who live on overpasses, underpasses, and along freeways
     are dying of transportation-related injuries and the public health risks inherent in
     living near freeways. A report by Los Angeles County shows that transportation-
     related injuries are the third most common cause of death among unhoused

     308
         More Than Half of Fires in LA at Start of 2021 Related to Homeless Encampments, NBC L.A. (Jan. 14, 2021),
     https://www.nbclosangeles.com/on-air/ore-than-half-of-fires-in-la-at-start-of-2021-related-to-homeless-
     encampments/2506553/.
     309
         James Queally, Firecrackers. Molotov Cocktails. Fire Attacks Have Shaken L.A.’s Homeless Community, L.A.
     TIMES (Oct. 18, 2019), https://www.latimes.com/california/story/2019-10-18/homeless-population-attacks-fire.
     310
         Eric Leonard, LAFD Reports a Staggering Rise in the Number of Fires, Outpacing Any Year in Recent Memory,
     NBC L.A. (Oct. 9, 2020), https://www.nbclosangeles.com/investigations/fires-spike-45-in-city-of-los-angeles-data-
     shows/2442013/.
     311
         James Queally, Firecrackers. Molotov Cocktails. Fire Attacks Have Shaken L.A.’s Homeless Community, L.A.
     TIMES (Oct. 18, 2019), https://www.latimes.com/california/story/2019-10-18/homeless-population-attacks-fire.
     312
         Id.
     313
         Id.
     314
         Id.
     315
         Id.
     316
         Id.


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                                                                                                  Exhibit A, Page 57
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     Angelenos.317 In Los Angeles, a homeless individual is 11 times more likely to die
     from being struck by a vehicle or train than a housed individual is. 318 Many others
     die each year after falling from overpasses.
             Encampments near freeways are “environmentally hazardous,” says Gary
     Blasi, civil rights attorney and Professor of Law at University of California, Los
     Angeles. 319 In fact, diesel soot and other carcinogens in vehicle exhaust increase
     the risk of cancer; 320 chronic exposure also raises the risk of pre-term births,
     asthma, strokes, and reduced lung function; 321 and chronic exposure to microscopic
     air pollutants in vehicle exhaust are key contributors to deaths from heart disease
     among people living near traffic.322
            The Los Angeles County report concluded: “Put simply, being homeless in
     LA County is becoming increasingly deadly.” 323 Unhoused Angelenos near
     freeways are exposed to toxic pollution and a high probability of “hazardous waste
     concentrations of lead.” 324 Areas within 300 yards of freeways are particularly
     vulnerable to the effects of pollution. 325




     317
         CTR. FOR HEALTH IMPACT EVALUATION, CTY. OF L.A. PUB. HEALTH, RECENT TRENDS IN MORTALITY RATES AND
     CAUSES OF DEATH AMONG PEOPLE EXPERIENCING HOMELESSNESS IN LOS ANGELES COUNTY (2019),
     http://www.publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Final.pdf [hereinafter CTR. FOR
     HEALTH IMPACT EVALUATION, RECENT TRENDS].
     318
         Id.
     319
         HILARY MALSON & GARY BLASI, UCLA LUSKIN INST. ON INEQ. & DEMOCRACY, FOR THE CRISIS YET TO COME:
     TEMPORARY SETTLEMENTS IN THE ERA OF EVICTIONS (2020).
     320
         Tony Barboza & Jon Schleuss, L.A. Keeps Building Near Freeways, Even Though Living There Makes People
     Sick, L.A. TIMES (Mar. 2, 2017), https://www.latimes.com/projects/la-me-freeway-pollution/.
     321
         Tony Barboza, Freeway Pollution Travels Farther Than We Thought. Here’s How to Protect Yourself, L.A.
     TIMES (Dec. 30, 2017), https://www.latimes.com/local/california/la-me-freeway-pollution-what-you-can-do-
     20171230-htmlstory.html.
     322
         Tony Barboza, California Scientists Link Tiny Particles in Car Exhaust to Heart Disease, L.A. TIMES (Feb. 25,
     2015), https://www.latimes.com/local/lanow/la-tiny-pollutants-linked-to-heart-disease-deaths-20150225-story.html.
     323
         CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317.
     324
         Dkt. 103-1 at 3.
     325
         Ryan Carter, Who Is Hit Hardest by Coronavirus in LA County? The Answer Is in the Air, UCLA Study Says,
     L.A. DAILY NEWS (Apr. 15, 2021), https://www.dailynews.com/2021/04/15/who-is-hit-hardest-by-coronavirus-in-la-
     county-the-answer-is-in-the-air-ucla-study-says/

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            Around the 710 Freeway, each day the air is polluted by as many as 40,000
     vehicles—many of which are heavy-duty semi trucks. 326 “All of these areas tend to
     have larger populations of Latinx and Black residents,” said Dr. Michael Jerrett, a
     professor of environmental health sciences at UCLA’s Fielding School of Public
     Health.327 Dr. Jerrett led a study, alongside University of California, Berkeley and
     University of California, Merced, investigating why neighborhoods in Los Angeles
     County with the highest levels of pollution saw large spikes in COVID-19
     deaths.328 The study indicated that nitrogen dioxide in air pollution may raise the
     risk of COVID-19 infections and ultimately, deaths.329
            The increase in record temperatures and high winds has also increased the
     risk of hypothermia among unhoused populations. According to the Center for

     326
         Id.
     327
         Id.
     328
         Id.
     329
         Id.


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                                                                              Exhibit A, Page 59
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     Disease Control, underlying health conditions, such as malnutrition or
     cardiovascular disease, in combination with lack of housing puts those
     experiencing homelessness at a higher risk of dying from hypothermia.330
     Contracting hypothermia is particularly risky when the temperature drops more
     than ten degrees in one day—a common occurrence in Los Angeles. 331 Since 2016,
     the Los Angeles County Medical Examiner-Coroner recorded more deaths of
     homeless individuals due to hypothermia than in New York and San Francisco,
     combined. 332 The lack of available housing for unhoused individuals leaves them
     no choice but to suffer the cold rains. In January of 2018, a 44-year-old man
     endured the rain outside of a business for two days until someone called 911.333
     The man was rushed to the hospital with a body temperature of 80.6 degrees—15
     degrees less than the 95 degree benchmark necessitating hypothermia treatment. 334
     The man did not survive. 335 Glenn Oura, a U.S. Air Force veteran who was
     formerly homeless, recalled sleeping outside in the bushes during a cold rainstorm,
     “I thought, ‘if I die from hypothermia, how long will it take someone to find
     me?’”336
                   iii. Mental Health

            Unintentional drug or alcohol overdose is the second leading cause of death
     among unhoused Angelenos. 337 Yet the current infrastructure lacks the necessary
     substance abuse and mental health support required to reduce these deaths. A
     substance use disorder is a mental disorder affecting a person’s brain and behavior,
     leading to an individual’s inability to control their use of substances such as legal
     or illegal drugs, alcohol, or medications. 338 According to the National Institute of
     Mental Health, approximately half of individuals who experience a substance use


     330
         Hypothermia-Related Deaths --- United States, 1999--2002 and 2005, CTRS. FOR DISEASE CONTROL &
     PREVENTION (Mar. 17, 2006), https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5510a5.htm.
     331
         Gale Holland, L.A. Has Great Weather, Yet More Homeless Die of the Cold Here Than in New York, L.A. TIMES
     (Feb. 17, 2019), https://www.latimes.com/local/lanow/la-me-homeless-hypothermia-20190217-story.html.
     332
         Id.
     333
         Id.
     334
         Id.
     335
         Id.
     336
         Id.
     337
         CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317.
     338
         Substance Use and Co-Occurring Mental Disorders, NAT’L INST. OF MENTAL HEALTH,
     https://www.nimh.nih.gov/health/topics/substance-use-and-mental-health/index.shtml (last revised Mar. 2021).


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     disorder during their lives also experience a co-occurring mental disorder and vice
     versa. 339 Thus, a comprehensive approach of care to mental health is critical.
             The Los Angeles Homeless Services Authority estimates that 25% of all
     homeless adults in Los Angeles County have a serious mental illness that likely
     perpetuates their homelessness.340 District Attorney of Los Angeles County George
     Gascón stated that “[t]he band-aid approach of incarcerating this population
     continues to be ineffective, extremely expensive, and it disproportionately impacts
     communities of color. Beyond the conditions on our streets, the clearest sign of the
     failure of this approach is the L.A. County Jail, which has the dubious distinction
     of doubling as the nation’s largest mental health institution.”341
             On January 22, 2019, the Los Angeles County Board of Supervisors adopted
     a motion to address the shortage of mental health hospital beds in the County. In
     the motion, the Board cited research by mental health experts that concluded that
     the “minimum number of beds required to appropriately meet the need is 50 public
     mental health beds per 100,000 individuals. In Los Angeles County, there are only
     22.7 beds per 100,000 individuals; and California has only 17.05 beds per 100,000
     individuals.”342 The motion directed the Department of Mental Health to conduct
     assessments and draft a plan to increase the number of mental health beds, with a
     report due back to the Board in 120 days.
             On October 29, 2019, the Department of Mental Health returned a report
     highlighting the persistent shortcomings of the County’s mental health services.
     The 138-page report details the multitude of ways in which the County has failed
     to meet the mental health needs of its constituents. Drafters of the report conducted
     Service Area Advisory Committee (SAAC) meetings in which participants
     underscored the numerous service gaps and challenges. The SAAC meetings
     revealed “significant gaps in inpatient treatment beds, residential beds, shelter beds
     and respite homes across all ages,” including an “estimate of 3,000 additional


     339
         Id.
     340
         JONATHAN E. SHERIN, DIR., CTY. OF L.A., DEP’T OF MENTAL HEALTH, ADDRESSING THE SHORTAGE OF MENTAL
     HEALTH HOSPITAL BEDS: BOARD OF SUPERVISORS MOTION RESPONSE 18 (2019),
     http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf [hereinafter COUNTY MENTAL HEALTH BED REPORT].
     341
         George Gascon’s Plan to Address LA County’s Behavioral Health Crisis and Its Nexus to Homelessness,
     GEORGE GASCON (Feb. 17, 2020), https://www.georgegascon.org/campaign-news/george-gascons-plan-to-address-
     la-countys-behavioral-health-crisis-and-its-nexus-to-homelessness/.
     342
         Motion, Addressing the Shortage of Mental Health Hospital Beds (Jan. 22, 2019),
     http://file.lacounty.gov/SDSInter/bos/supdocs/131546.pdf.


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                                                                                           Exhibit A, Page 61
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     subacute beds needed.” 343 This bed scarcity “result[s] in people being discharged
     to the street and perpetuating homelessness.” 344 In some parts of the County, there
     is only one psychiatric inpatient provider, and countywide there are no children’s
     inpatient psychiatric beds.345 The report described access to care as “one of the
     biggest issues” and stated that any plan for improving access to care should address
     basic needs, including “food, shelter, [and] transportation.”346 Available services
     for people of color were also “disproportionately limited compared to services for
     the white population.” 347
            The report also commented on the “even more limited treatment available
     for people with [substance use disorder, or ‘SUD’].” A “lack of equality between
     [mental health, or ‘MH’] and SUD treatment” and “long delays in accessing
     inpatient care” is leaving homeless individuals across the County with scarce
     access to medically necessary treatment for substance abuse disorders. The report
     found that “because there are not enough beds and not enough transportation
     services, people go untreated.”348 Department of Public Health Substance Abuse
     Prevention and Control Division (SAPC) providers are also seeing gaps and
     challenges in service provision. In particular, “there is a need for services for
     clients who are dually diagnosed;” “gaps in the availability of…high-intensity
     residential treatment…and…medically monitored inpatient withdrawal
     management beds;” and “an insufficient number of beds in the detoxification level
     of care and residential withdrawal management.” 349 The report concluded that
     “there is a disconnection between MH and SUD systems of care,” and “there is a
     need for more collaboration with MH providers.”350
            The report found that “the availability of services does not seem to match the
     level of need in the service areas. There are services, but to access care you have to
     ‘win the lottery,’ have a chronic level of need that requires hospitalization, or
     become incarcerated. Mild cases become severe while people are trying to connect
     to care.” Even when individuals are able to access one of the few mental health

     343
         COUNTY MENTAL HEALTH BED REPORT, supra note 340, at 27, 94.
     344
         Id. at 94.
     345
         Id.
     346
         Id. at 95.
     347
         Id. at 98.
     348
         Id. at 95–96.
     349
         Id. at 100.
     350
         Id.


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     beds across the County, “hospitals discharge too quickly in a triage mode,” which
     is “one of the chief contributors to repeat hospitalizations and insufficient
     recovery.”351 A pattern has emerged of people being “discharged from hospitals
     with serious to severe medical/physical health needs without a discharge plan and
     referrals to recuperative care.” 352 Linking back to housing, the report also found
     that “the community needs housing with supportive services or residential
     treatment…to address this problem.”353 The report further underscored what critics
     of the County have been saying for decades, which is that “gaps in coordination
     and communication between agencies…[are forcing patients to] navigate the
     service delivery system on their own.”354

                      iv.     Public Health Impacts

            As the number of unhoused persons living on the streets rises, so too does
     the spread of diseases unique to densely populated areas such as Skid Row.355
     Reverend Andrew Bales, CEO of the nonprofit homeless shelter and recovery
     program Union Rescue Mission (URM), lost part of his leg in 2014 after he came
     into contact with a flesh-eating disease in Skid Row.356 Reverend Bales was
     volunteering there when a blister on his foot came into contact with human
     waste—at the time, there were only nine toilets for the 2,500 people living in the
     50 square block area. 357 One week later, he had a 104-degree fever and his foot
     was covered in blood blisters. 358 His doctors soon determined it was necessary to
     remove his leg from his knee down. 359 “[T]he flesh-eating disease . . . consists of
     E-Coli, strep and staph,” remarked Reverend Bales, “I’ve seen it in other people on
     the streets. I’ve seen people with a black thumb, losing a leg.” 360


     351
         Id.
     352
         Id. at 97.
     353
         Id.
     354
         Id.
     355
         Audrey Conklin, Meet Rev. Andy Bales — the Man Who Lost a Leg Serving the Victims of LA’s Homeless Crisis,
     THE STREAM (June 27, 2019), https://stream.org/meet-rev-andy-bales-the-man-who-lost-a-leg-serving-the-victims-
     of-las-homeless-crisis/.
     356
         Id.
     357
         Id.
     358
         Id.
     359
         Id.
     360
         Id.


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                                                                                               Exhibit A, Page 63
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            Skid Row bathrooms have long been stripped from residents at the whims of
     political will.361 In 1992, the City installed dozens of portable toilets in Skid Row,
     but Mayor Tom Bradley soon halted funding. 362 An activist then coordinated six
     outdoor latrines for Christmas—only to have them hauled away by the mayor. 363
     In 1994, the new Mayor Riordan put in two dozen portable toilets. 364 Only four
     years later, six were removed following protests. 365 Allegations of prostitution and
     drug use arose in 2006, prompting the City and then Mayor Villaraigosa to remove
     the remaining six toilets. 366 In 2012 and 2013, County officials warned of an
     immediate public health threat—moving the City to open nighttime access to
     mission bathrooms and install temporary bathrooms in Skid Row parks. 367 But the
     available facilities fell overwhelmingly short of the recommendation to avoid a
     public health crisis. 368 In fact, a 2017 community audit concluded that bathroom
     access in Skid Row fell below U.N. standards for Syrian refugee camps. 369
     Following the audit, Mayor Garcetti installed six toilets and eight showers. 370 In
     2019, when an estimated 36,000 homeless people lived across the city of LA, there
     were only 31 available city-operated public toilets—an average of more than 1,000
     people sharing one toilet.371
            Mayor Garcetti acknowledged the lack of toilets is and historically has been
     a crisis in Los Angeles, saying, “[w]e simultaneously have to clean up streets,
     clean up this crap, and build housing . . . And if I had the money to do all three, we
     wouldn’t be in this place.” 372 Even acknowledging the problem, the City did not
     commit to allocate money for public toilets in its upcoming city budget. 373 NBC

     361
         Gale Holland, L.A. Adds More Public Toilets as Homeless Crisis Grows, L.A. TIMES (Dec. 5, 2017),
     https://www.latimes.com/local/lanow/la-me-skid-row-toilets-20171204-story.html.
     362
         Id.
     363
         Id.
     364
         Id.
     365
         Id.
     366
         Id.
     367
         Id.
     368
         Id.
     369
         Id.
     370
         Id.
     371
         Times Editorial Board, Editorial: Why on Earth Is It So Hard to Put Out Toilets for L.A.'s Homeless?, L.A.
     TIMES (June 18, 2019), https://www.latimes.com/opinion/editorials/la-ed-homeless-public-toilets-20190618-
     story.html.
     372
         Joel Grover & Amy Corral, Homeless People Are Without Toilets and Going in the Streets. We Asked the Mayor
     of LA Why, NBC L.A. (Feb. 19, 2020), https://www.nbclosangeles.com/investigations/homeless-people-are-without-
     toilets-and-going-in-the-streets-we-asked-the-mayor-of-la-why/2311759/.
     373
         Id.


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                                                                                              Exhibit A, Page 64
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     News further reported that “the City hauls away the mobile toilets at night, leaving
     the homeless no choice but to go on the streets.” 374 If the homeless had access to
     shelter and housing, the lack of available public toilets would not be at issue.
             There are many examples of uncommon diseases plaguing Skid Row—
     namely, hepatitis A, tuberculosis, typhus, and typhoid fever. 375 Our sister city of
     San Diego has seen firsthand the grave consequences of ignoring the pressing
     public health crisis that rampant homelessness creates and perpetuates. From 2016
     to 2018, an outbreak of hepatitis A that cost the city more than $12 million,
     sickened nearly 600 San Diego residents and killed at least 20.376 As part of its
     efforts to contain the outbreak, the city and county governments put up temporary
     shelters for the homeless.377 Advocates such as Bob McElroy, who headed one of
     the organizations operating the new shelters, directly linked the outbreak with
     homelessness, saying “[t]he reality is, if you’ve got a place for people to be safe
     and have access to health care, you’re just not going to have the kinds of sanitation
     issues you have with tent cities lining the streets.” 378 Los Angeles City and County
     must take immediate action to avoid a similar outbreak in our streets.
             Dr. Susan Partovi, a medical director for the non-profit Homeless Health
     Care Los Angeles, stated that the risk of disease is not because of the homeless
     individuals themselves, but because of the conditions they are forced to live in.379
     She pointed to a 2018 outbreak of typhus, which enters the bloodstream through
     fleas, ticks, or lice, as one key example of conditions fostering deadly
     disease.380 The risks are exacerbated by the short supply of bathrooms and
     drinking water.381


     374
         Id.
     375
         Chris Woodyard, As Homeless Are Suffering, Risk of Hepatitis, Typhus and Other Diseases Is Growing, USA
     TODAY (Jun. 18, 2019), https://www.usatoday.com/story/news/nation/2019/06/18/homeless-homelessness-disease-
     outbreaks-hepatitis-public-health/1437242001/.
     376
         San Diego Hepatis A Outbreak Ends After 2 Years, ASSOCIATED PRESS (Oct. 30, 2018),
     https://apnews.com/article/cc40b8c476ef469ebdc2228772176b03.
     377
         Id.
     378
         Id.
     379
         Skid Row Doctor Says Health Risk Fear Over Homeless Isn't What it Seems, NBC L.A. (Oct. 1, 2019),
     https://www.nbclosangeles.com/news/local/streets-of-shame/skid-row-doctor-homeless-help-disease-
     typhus/179055/.
     380
         Id.
     381
         Chris Woodyard, As Homeless Are Suffering, Risk of Hepatitis, Typhus and Other Diseases Is Growing, USA
     TODAY (Jun. 18, 2019), https://www.usatoday.com/story/news/nation/2019/06/18/homeless-homelessness-disease-
     outbreaks-hepatitis-public-health/1437242001/.


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            Homeless individuals are not the only ones facing increased risk of
     contracting disease. In October of 2018, the Los Angeles County Department of
     Public Health declared an outbreak of typhus, citing Skid Row as a high-risk area
     for the disease. 382 Shortly after, a Los Angeles Police Department employee
     assigned to Skid Row became infected by Typhoid fever, and two other employees
     showed symptoms. 383 Elizabeth Greenwood, a Los Angeles deputy city attorney,
     then contracted typhus from a flea bite in her City Hall East office. 384 At a City
     Council meeting in February 2019, Councilmember Joe Buscaino said, “[r]ats are
     emblematic of how we lost control over the homeless trash and encampment issue.
     If we can’t protect the greatest symbol of our own democracy—our own City Hall,
     if we can’t protect our own staff from a medieval disease, then we should pack up
     and go home.”385
            The severity of the health hazards facing homeless communities underscores
     the need for prompt action by the County and City. “[W]e have 23,000 people who
     are living on our sidewalks and outside every day,” stated Shayla Myers, attorney
     for the Legal Aid Foundation, “that constitutes a true and devastating public health
     emergency.”386

                      v.      Patient Dumping

            Over the past two decades, Los Angeles hospitals have paid substantial civil
     penalties for “patient dumping” mentally disabled homeless individuals in Skid
     Row. 387 Videos of mentally ill patients in hospital gowns dropped at Skid Row
     incited outrage. 388 For instance, in 2009, College Hospital paid $1.6 million to
     settle a case in which 150 psychiatric hospital patients were released to Skid Row

     382
         LA Public Health (@lapublichealth), TWITTER (Oct. 4, 2018, 10:01 AM),
     https://twitter.com/lapublichealth/status/1047894399730872321.
     383
         Chris Woodyard, As Homeless Are Suffering, Risk of Hepatitis, Typhus and Other Diseases Is Growing, USA
     TODAY (Jun. 18, 2019), https://www.usatoday.com/story/news/nation/2019/06/18/homeless-homelessness-disease-
     outbreaks-hepatitis-public-health/1437242001/.
     384
         Samuel Braslow, How the Homeless Ended Up Being Blamed for Typhus, L.A. MAG. (Feb. 12, 2019),
     https://www.lamag.com/citythinkblog/typhus-los-angeles-homeless/.
     385
         Id.
     386
         Id.
     387
         Joseph Serna & Richard Winton, Hospital Accused of Dumping Patient in L.A.'s Skid Row to Pay $500,000, L.A.
     TIMES (May 29, 2014), https://www.latimes.com/local/lanow/la-me-ln-sun-valley-patient-dumping-to-pay-
     20140529-story.html.
     388
         Id.


                                                           61

                                                                                               Exhibit A, Page 66
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     over the course of two years.389 In 2014, a van from the southern Los Angeles Tri-
     City Regional Medical Center, now Gardens Regional Hospital, drove over 20
     miles to drop a 38-year old woman off in Skid Row.390 The woman was left
     wearing a hospital gown with a note stating an 800 number and the definition of
     schizophrenia.391 Such examples build upon a long history of “dumping” patients
     on the street, where it is nearly impossible to follow a treatment plan and increases
     a patient’s likelihood of falling ill again or, as is frequently the case, die.
            The City and County’s inaction prompted the legislature to intervene. In
     2019, California Governor Jerry Brown signed SB 1152.392 The legislation requires
     hospitals to make sleeping arrangements for homeless patients with the goal of
     providing a handoff between the hospital and a homeless shelter. 393 Despite their
     clear recognition that patients were being dumped by the curbside, Los Angeles
     historically turned a blind eye to the plight of the city's most vulnerable until the
     State passed SB 1152.

         F. GENDER

            While many of the health and safety impacts of the homelessness crisis in
     Los Angeles cut across various identities, impacting all Angelenos, it is important
     to highlight the unique impact that homelessness has on women. The current
     service provision model is failing to meet the specific needs of women, particularly
     unaccompanied women (meaning women who are not unhoused as part of a family
     unit), who comprise a fast-growing subgroup of the City’s homeless population.
     According to LAHSA’s 2020 Greater Los Angeles Homeless Count, 65% of
     women experiencing homelessness are unaccompanied, and 80% of all
     unaccompanied women are unsheltered. While federal, state, and local agencies
     have diligently worked to address the needs of other subgroups—including
     veterans, families, and youth—unaccompanied women are rarely identified as a

     389
         Jon Regardie, The Ugly History of Downtown Patient ’Dumping’, DT News (July 9, 2018),
     http://www.ladowntownnews.com/news/the-ugly-history-of-downtown-patient-dumping/article_05fa6cea-8165-
     11e8-96aa-dbaced2025ed.html.
     390
         Justin Klockzo, Hospitals Are Dumping Mentally Ill Patients in Los Angeles’ Skid Row, VICE (June 21, 2016),
     https://www.vice.com/en/article/yvezpv/hospitals-are-dumping-mentally-ill-patients-in-los-angeles-skid-row.
     391
         Id.
     392
         Matt Tinoco, LA County Hospitals Were Told To Stop 'Dumping' Homeless Patients, But Their Options Are
     Limited, LAIST (Sept. 6, 2019), https://laist.com/2019/09/06/los-angeles-homeless-hospital-dumping-law-1152.php.
     393
         Id.

                                                           62

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     subpopulation, resulting in a dearth of research on their needs and experiences.
     Becky Dennison, Executive Director of Venice Community Housing, has said,
     “there’s not been any approach [by officials] that identifies, let alone prioritizes,
     gender,” and Anne Miskey, CEO of the Downtown Women’s Center, has said that
     most shelters are designed for men.

                   i.     Rising Rates of Homelessness Among Women

            According to LAHSA’s Great Los Angeles Homeless Count, the number of
     women experiencing homelessness in the City increased 25% between 2019 and
     2020. Further, the number of unhoused women has more than doubled since 2013,
     outpacing the increase among men in the same time period. These numbers are
     likely to be exacerbated by the COVID-19 pandemic, which has hit women-
     dominated industries like retail and hospitality particularly hard. According to the
     Bureau of Labor Statistics, the pandemic had caused 865,000 women to drop out of
     the labor force as of September 2020—a rate four times higher than the
     corresponding rate for men. With these increases, it is clear that the growing trend
     in the number of women living in the streets is unlikely to reverse any time soon,
     underscoring the pressing need for women-oriented solutions now. In 2020, the
     percentage of women aged 62 and up living in Skid Row increased by 20%. 394
            Among homeless women, women of color are significantly overrepresented,
     demonstrating the intersection of gender and structural racism. While Black
     women make up only nine percent of the total female population in LA, they are
     more than 30% of all unhoused women. As the Downtown Women’s Action
     Coalition reported in its 2020 Women’s Needs Assessment, “structural racism [is]
     the main driver” of Black women’s overrepresentation in Skid Row. 395 Looking at
     death rates, Black women are similarly overrepresented, comprising 30% of all
     unhoused women who died on the streets of L.A. in 2019. Latinas make up 31% of
     the homeless female population, and white women make up just 22% of the


     394
         DOWNTOWN WOMEN’S ACTION COAL. 2020 WOMEN’S NEEDS ASSESSMENT: A MESSAGE OF LOVE BY THE
     WOMEN OF SKID ROW 4 (2020), https://cangress.org/wp-
     content/uploads/2020/08/1596804237326_WOMEN%E2%80%99S-NEEDS-ASSESSMENT-final-layout-.pdf
     [hereinafter DWAC NEEDS ASSESSMENT].
     395
         Id.


                                                  63

                                                                                 Exhibit A, Page 68
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     homeless female population.396 Other marginalized identities are likewise
     overrepresented in the homeless community—while LGBT people make up only
     about five percent of the U.S. population overall, they make up 12% of Skid Row’s
     homeless population. 397 The DWAC 2020 Women’s Needs Assessment
     highlighted that “[t]here are no services for trans women in Skid Row.”398

                     ii.     Intersection of Gender-Based Violence and Homelessness

            Domestic violence (DV), intimate partner violence (IPV), and sexual assault
     are all significant drivers of homelessness, as well as frequent consequences of
     living as an unhoused, unaccompanied woman on the streets of Los Angeles.
     Among women over the age of 25 experiencing homeless, the USC Price Center
     found that over half had experienced domestic or intimate partner violence, with
     rates higher among the unsheltered population compared to the sheltered
     population.399 The Downtown Women’s Center has also found that, in the past
     twelve months, more than 36% of homeless women experienced DV/IPV, and 27%
     experienced sexual assault. 400
            In a focus group on domestic violence and housing conducted by the
     Downtown Women’s Center, one woman who currently resides in a domestic
     violence shelter felt that if she “wasn’t beat up enough or [her] story wasn’t good
     enough,” she wouldn’t be let into the shelter. 401 Other interviewees echoed that
     sentiment, saying “[i]f you don’t have the bruises or bloody face, they’re not going
     to believe you. If you don’t have those, you’re on your own.” 402 Women living in
     shelters further detailed the stress of providers threatening to call the Department
     of Children and Family Services and have the women’s children taken away, as a
     means of forcing the women into compliance with shelter rules. 403 While shelter

     396
         USC PRICE CTR. FOR SOC. INNOVATION, CITY OF LOS ANGELES WOMEN’S HOUSING GAP ANALYSIS 5 (2019),
     https://www.downtownwomenscenter.org/wp-content/uploads/2019/12/Womens-Housing-Gaps-Analysis_Final.pdf
     [hereinafter USC PRICE REPORT].
     397
         DWAC NEEDS ASSESSMENT, supra note 394, at 9.
     398
         Id.
     399
         USC PRICE REPORT, supra note 396, at 1.
     400
         Leonora Camner, The Housing Crisis Is a Women’s Issue, ABUNDANT HOUSING L.A. (Mar. 11, 2020),
     https://abundanthousingla.org/the-housing-crisis-is-a-womens-issue/.
     401
         Downtown Women’s Ctr., Domestic Violence and Homeless Services Coalition: Focus Groups Report 11 (2018),
     https://www.downtownwomenscenter.org/wp-content/uploads/2018/06/DVHSC-Focus-Group-Report.pdf.
     402
         Id. at 13.
     403
         Id. at 12.

                                                         64

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     expulsion might be a reasonable remedy for rules violation, expulsion and baseless
     family separation are two disparate forms of discipline.
            The Downtown Women’s Center has estimated that there are 2,435 more
     unsheltered individual women experiencing homeless than there are existing
     emergency shelter beds in programs that serve individual women. With demand for
     shelter outpacing supply, and with shelters being often inhospitable places for
     women even when they are available, it is no surprise that the number of
     unaccompanied women living in the streets continues to grow.
            But life on the street as a woman is uniquely dangerous. A 2016 survey by
     the Downtown Women’s Action Coalition found that nearly half of women living
     in Skid Row had been attacked in the previous 12 months. 404 A member of the
     Coalition reported “so many stories of the knife coming through the tent and
     ripping it open” and “women at the bus stop circled by men like sharks.” 405 Of the
     women living in Skid Row, more than 60% are over the age of 50, a particularly
     vulnerable group considering that unhoused women have a lifespan that is, on
     average, nearly 35 years less than their housed counterparts. 406 Further, homeless
     individuals generally have a physiological age that is 10–20 years older than their
     actual age as a result of premature aging due to prolonged stress. 407
            The stories of unhoused unaccompanied women highlight the dire need for
     increased funding and tailored solutions to meet their needs. Discussing her life on
     the street with the Los Angeles Times, one woman reported the changes she tried
     to make to her physical appearance after being subjected to multiple violent attacks
     that left her with broken ribs and black eyes: “At the time, I had blonde hair down
     to the middle of my back. I cut my hair really short and started wearing clothes that
     looked like guys’ clothes. I had to look like I’m a guy for my own safety.” 408
     Another woman echoed the first: “I have to watch over me, and it’s hard. I have to
     watch my back in everything.”409 In a February 1, 2021 letter to Mayor Eric
     Garcetti, the Downtown Women’s Action Coalition wrote: “Our community has
     been abandoned and left to die.”410

     404
         Gale Holland, Attacked, Abused and Often Forgotten: Women Now Make Up 1 in 3 Homeless People in L.A.
     County, L.A. TIMES (Oct. 28, 2016), https://www.latimes.com/projects/la-me-homeless-women/.
     405
         Id.
     406
         Dkt. 231 at 2; DWAC NEEDS ASSESSMENT, supra note 394, at 4.
     407
         DWAC NEEDS ASSESSMENT, supra note 394, at 8.
     408
         Id.
     409
         Id.
     410
         An Open Letter to Mayor Garcetti, LACAN (Feb. 1, 2021), https://cangress.org/dearmayorgarcetti/.

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                                                                                             Exhibit A, Page 70
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           II.    DISCUSSION

             This Court cannot idly bear witness to preventable deaths. This ever-
     worsening public health and safety emergency demands immediate, life-saving
     action. The City and County of Los Angeles have shown themselves to be unable
     or unwilling to devise effective solutions to L.A.’s homelessness crisis. For the
     reasons discussed below, the Court must now do so. 411
             A district court may order injunctive relief on its own motion and is not
     restricted to ordering the relief requested by a party. Armstrong v. Brown, 768 F.3d
     975, 980 (9th Cir. 2014) (citing Clement v. Cal. Dep’t of Corr., 364 F.3d 1148,
     1150 (9th Cir. 2004)). A preliminary injunction is an “extraordinary remedy,”
     requiring courts to balance competing claims on a case-by-case basis, with
     “particular regard for the public consequences” of issuing an injunction. Winter v.
     Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).
             For a court to issue a preliminary injunction, it must find that (1) there is a
     likelihood of success on the merits; (2) absent preliminary relief, irreparable harm
     is likely; (3) the balance of equities tips in favor of preliminary relief; and (4) an
     injunction is in the public interest. See Am. Trucking Ass’n, Inc. v. City of Los
     Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (citing Winter, 555 U.S. at 20).
     Alternatively, an injunction can also be justified if there are “serious questions
     going to the merits” and the balance of hardships “tips sharply” in favor of
     injunction relief, “assuming the other two elements of the Winter test are met.” See
     All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1132 (9th Cir. 2011). A
     “serious question” exists when there is “a fair chance of success on the merits.” See
     Sierra On-Line, Inc. v. Phx. Software, Inc., 739 F.2d 1415, 1421 (9th Cir. 1984).
     The Ninth Circuit follows a “sliding scale” approach to the four preliminary
     injunction elements, such that “a stronger showing of one element may offset a
     weaker showing of another,” as long as “irreparable harm is likely.” See Doe v.
     Kelly, 878 F.3d 710, 719 (9th Cir. 2017) (quoting Cottrell, 632 F.3d at 1131).



     411
        The Court notes that Defendants have filed numerous objections to factual assertions in Plaintiffs’ Motion. See
     Dkt. 271. As the present order does not rely on any of the information to which Defendants object, the Court need
     not rule on the objections.

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           A. THE LIKELIHOOD OF SUCCESS ON THE MERITS SUPPORTS
              PRELIMINARY RELIEF

           The threshold inquiry is whether plaintiffs have established a likelihood of
     success on the merits. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015).
     Where plaintiffs seek a mandatory injunction, the plaintiffs must “establish that the
     law and facts clearly favor [their] position, not simply that [they] are likely to
     succeed.” Id. Relief is treated as a mandatory injunction when it “orders a
     responsible party to ‘take action.’” Id. (quoting Marlyn Nutraceuticals, Inc. v.
     Mucos Pharma GmbH & Co., 571 F.3d 873, 879 (9th Cir.2009)).

           i.     Constitutional grounds

     Brown v. Board of Education

            Throughout history, the legislative, executive, and judicial branches of our
     government have taken it upon themselves to remedy racial discrimination. These
     affirmative actions and equitable remedies arose from a recognition of the racism-
     entrenched in this country’s history and its enduring legacy through the present
     day.
            In the seminal case of Swann v. Charlotte-Mecklenburg Board of Education,
     402 U.S. 1 (1971), the Supreme Court held that if the racially disparate impacts of
     a previous Equal Protection Clause violation persisted, the violating party had a
     responsibility of eradicating those impacts. Dealing with the desegregation of
     schools, the Court in Swann held that schools have not only the responsibility to
     desegregate, but also the responsibility to integrate. Swann, 402 U.S. at 15. The
     Swann decision came after Brown v. Board of Education of Topeka, Shawnee Cty.,
     Kan., 347 U.S. 483 (1954) (“Brown I”), supplemented sub nom. Brown v. Board of
     Education of Topeka, Kan., 349 U.S. 294 (1955) (“Brown II”), in which the
     Supreme Court addressed the impacts of the “separate but equal” laws. The Court
     discussed how “separate but equal” treatment culminated in “a feeling of
     inferiority as to [the Black students’] status in the community that may affect their
     hearts and minds in a way unlikely to ever be undone,” and found that racial
     segregation in public schools is unconstitutional, even if segregated schools are
     otherwise equal in quality. Brown, 347 U.S. at 494–95.
                                              67

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            The Brown Court ordered schools to desegregate “with all deliberate speed.”
     Brown II, 349 U.S. at 301. In many school districts, however, a racial imbalance in
     student populations continued to exist despite desegregation. Beginning with
     Swann, the Court’s line of post-Brown cases held that schools were responsible for
     remedying racial imbalance, even when such imbalance resulted from the selection
     of students based on geographic proximity to the school rather than racial
     segregation. See Swann, 402 U.S. 1. The Court found that this was necessary to
     ensure that schools would be properly integrated and that all students would
     receive equal educational opportunities, regardless of their race. Id.
            Swann and its progeny further established that “the scope of a district court’s
     equitable powers to remedy past wrongs is broad, for breadth and flexibility are
     inherent in equitable remedies.” Swann, 402 U.S. at 15. Indeed, as early as
     Brown II, the Supreme Court ruled that district courts have the power to order
     structural changes in school systems to integrate schools, such as “ordering the
     immediate admission of plaintiffs to schools previously attended only by white
     children.” 349 U.S. at 300–01; see also Swann, 402 U.S. at 31 (affirming a district
     court’s injunction requiring school board to implement plan to desegregate school
     district); MillikenBradley, 433 U.S. 267, 269 (1977) (upholding the equitable
     powers of a district court, as part of a desegregation decree, to “order
     compensatory or remedial educational programs for schoolchildren who have been
     subjected to past acts of de jure segregation”). The Court further found that “a
     State does not discharge its constitutional obligations until it eradicates policies
     and practices traceable to its prior de jure dual system that continue to foster
     segregation. ” United States v. Fordice, 505 U.S. 717, 727–28 (1992). Similarly,
     the Supreme Court has recognized the equitable power of federal courts to order
     structural changes to remedy violations of unconstitutional due process. See, e.g.,
     Hutto, 437 U.S. at 683 (approving a district court’s orders to change various prison
     practices and policies to remedy constitutional violations).
            The above cases arose out of a recognition of a history entrenched in racial
     discrimination, the persistent present-day impacts of such discrimination, and a
     pressing need to remediate such impacts. In front of this Court today is a history
     similar to, and deeply intertwined with, the circumstances that gave rise to the
     above cases. The Court today addresses decades of racial discrimination that have



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     culminated in a Los Angeles homelessness crisis with a significant loss of life and
     deprivation of humanity—peaking at 1,383 deaths just last year. 412
             “I want to be very clear that homelessness is a byproduct of racism,” stated
     LAHSA’s Heidi Marston. 413 Racial discrimination and homelessness are
     interconnected issues going back decades into the history of Los Angeles.
     Beginning with the City of Los Angeles’s decision to raze houses, resulting in an
     increased number homeless low-income people of color in the 1910s, continuing
     through state enforcement of racially restrictive covenants throughout Los Angeles
     in the 1930s, and postwar policies related to redlining, racial covenants, and public
     bank lending—over a century of racist policies have disproportionately impacted
     L.A.’s unhoused Black population.414 “We continue to see that Black people are
     overrepresented in our homeless population, and that Black African Americans are
     four times more likely to become homeless than their white counterparts.”415
             The City and County’s actions have been, and remain, critical drivers of
     racial discrimination. In 1976, the homeless population became spatially
     concentrated in the fifty-square-block “containment zone” of Skid Row. The
     containment zone became a place where the homeless, discharged patients with
     mental disabilities, and parolees came—or in some instances, were bussed and
     dropped—to find services. General Dogon, a Skid Row community organizer,
     describes the containment as a “warehouse zone”: “a warehouse is where you store
     shit. So the idea was to push all of Los Angeles’s unfavorable citizens into one
     area.”416 “Main Street is the dividing line between the haves and have-nots,” says
     General Dogon, where “you’ve got homeless people sleeping on one side of the
     street, and the loft buildings on the other side of the street.”417


     412
         Ethan Ward, They Were Homeless, Now They’re Dead, CROSSTOWN (Feb. 10, 2021),
     https://xtown.la/2021/02/10/homeless-deaths-los-
     angeles/#:~:text=1%20deaths%20were%20no%20outliers,Department%20of%20Medical%20Examiner%2DCorone
     r.
     413
         Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST
     (June 12, 2020, 7:57), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-
     losangeles.
     414
         LUSKIN REPORT, supra note 10, at 7–20.
     415
         Id.
     416
         The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.
     417
         The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.


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                                                                                                   Exhibit A, Page 74
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             Police kept the homeless isolated, deepening and entrenching poverty within
     the 50-block area. The Los Angeles Police Department set up physical buffers to
     reduce movement past the Skid Row border and enforce containment. 418 Flood
     lights demarcated the border, disincentivizing the homeless from straying outside
     the containment area.419
             Separately, in 2007, Los Angeles Police Department Chief William J.
     Bratton enacted a “broken windows” policing policy.420 Under Chief Bratton’s
     “Safer Cities Initiative”, a task force of 50 officers entered Skid Row, issuing
     citations and making arrests for infractions such as jaywalking, prostitution, and
     littering. 421 The program ended shortly after a Los Angeles Police Department
     officer fatally shot a homeless person of color on Skid Row in 2015. “On Skid
     Row, the windows already were broken,” Los Angeles City Attorney Feuer said,
     “we have a much deeper and more profound situation to deal with.” 422
             In recent years, the City has attempted to address its homelessness crisis, but
     has been woefully inadequate in doing so. Four years ago, Los Angeles voters
     passed Proposition HHH, a $1.2 billion bond to fund housing projects aimed at the
     City’s homeless population.423 After three years of missed and suspended
     deadlines, the first HHH project, providing 62 housing units, opened in January
     2020. Id. At the project’s unveiling, the Mayor announced, “[t]his year, we will see
     an opening of one of these about every three weeks. My calculations, next year it
     might be every two weeks or less.” Over a year later, only seven projects,
     containing just 489 total units, have been completed. 424
             Furthermore, investigations into City-funded housing projects for the
     homeless demonstrate that a lack of government oversight has allowed the
     proliferation of corruption. The City, worse yet, has turned a blind eye to this

     418
         LUSKIN REPORT, supra note 10, at 28.
     419
         The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
     plan/.
     420
         Gale Holland, L.A. Leaders Are Crafting New Plan to Help Homeless on Skid Row, L.A. TIMES (July 15, 2014),
     https://www.latimes.com/local/la-me-skid-row-police-20140716-story.html.
     421
         Id.
     422
         Id.
     423
         Doug Smith, It Took Three Years of Blown Deadlines, But L.A. Opens Its First Homeless Housing Project, L.A.
     TIMES (Jan. 7, 2020), https://www.latimes.com/california/story/2020-01-07/homeless-housing-project-proposition-
     hhh-bond-measure.
     424
         Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
     https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
     8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.


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     corruption; funds that taxpayers voted to allocate to the homeless population are
     being siphoned away to line the pockets of corrupt individuals while the City sits
     by idly. 425 As the County espoused in its opposition, “the County spends hundreds
     of millions of dollars each year to provide housing and services.” Dkt. 270 at 7.
     But where has that money gone and what has it achieved?
            The 2018 LAHSA report concluded that “racial bias [continues to] affect[]
     every aspect of a Black person’s life, and it is impossible to untangle the pervasive
     effects of institutional racism from other system failures that together cause a
     person to experience homelessness.”426 Systemic inequity continues to
     disproportionately affect access to housing among communities of color. LAHSA
     reported, based on the 2017 Homeless Count, that the prevalence of Black people
     among the homeless population was highest in South Los Angeles and Metro Los
     Angeles, including Skid Row, where 68% and 49% of the homeless population
     identified as Black, respectively.427
            Such disparities have long been recognized as severe constitutional
     violations—violations so corrosive to human life and dignity as to justify the
     sweeping exercise of a federal district court’s equitable powers. Based on the
     Court’s findings of these historical constitutional violations, a persisting legacy of
     racially disparate impacts—including a rising number of deaths, and the City and
     County’s knowing failure to adequately address the issue despite numerous
     opportunities and resources to do so, this Court is pressed to grant an affirmative
     injunction ordering the City and County to actively remedy its homelessness crisis.

     State-Created Danger Doctrine

            While “the Fourteenth Amendment…generally does not confer any
     affirmative right to governmental aid,” DeShaney v. Winnebago Cnty. Dep't of Soc.
     Servs., 489 U.S. 189, 202 (1989); Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th
     Cir. 2011), the Supreme Court in DeShaney created an exception that imposes a
     duty to act when the government has created the dangerous conditions. DeShaney,
     489 U.S. at 198–202. Interpreting the state-created danger exception, the Ninth
     Circuit has held that a state has a duty to act “when the state affirmatively places

     425
         See supra notes 254–260.
     426
         LAHSA REPORT, supra note 4, at 20.
     427
         Id. at 15.

                                              71

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     the plaintiff in danger by acting with ‘deliberate indifference’ to a ‘known or
     obvious danger.’” L.W. v. Grubbs, 92 F.3d 894, 900 (9th Cir.1996); Wood v.
     Ostrander, 879 F.2d 583, 588 (9th Cir. 1989) (holding that deliberate indifference
     in the exercise of government power is within the Fourteenth Amendment’s
     “purpose of redressing abuses of power by state officials”).
             The first requirement under the state-created danger exception is an
     affirmative act by the state that creates or perpetuates dangerous circumstances.
     Here, there are no shortage of affirmative steps that the City and County have
     taken that have created or worsened the discriminatory homelessness regime that
     plagues Los Angeles today. Throughout most of the 20th century, the City and
     County of Los Angeles aggressively pursued an agenda of redlining and enforcing
     racially restrictive covenants that constrained the housing market for Black
     residents. When it came to the Black homeless community, the City of Los
     Angeles created the Municipal Service Bureau for Homeless Men in Skid Row,
     which allowed its partner philanthropic organizations to distribute aid selectively
     along racial lines. In a 2018 report, LAHSA concluded that “racial bias [continues
     to] affect every aspect of a Black person’s life, and it is impossible to untangle the
     pervasive effects of institutional racism from other system failures that together
     cause a person to experience homelessness.” 428 LAHSA itself has drawn a direct
     link between the discriminatory policies the state pursued in the past and the
     present disparate impact of that intentional discrimination against Black
     Angelenos. While this Court acknowledges that “disparate impact…is generally
     insufficient by itself to form the basis of a constitutional violation,” this history of
     structural racism, spanning over a century, demonstrates that L.A.’s homelessness
     crisis, and in particular the impact of this crisis on the Black community, is a state-
     created disaster. Dkt. 269 at 34.
             The relevant inquiry here is whether “state action creates or exposes an
     individual to a danger which he or she would not have otherwise faced.” Kennedy
     v. City of Ridgefield, 439 F.3d 1055, 1061 (9th Cir. 2006). In effect, this amounts
     to a “but for” test—we ask, but for a certain action by the state, would the plaintiff
     still be exposed to the same danger? While Defendants contend that “there is no
     causal connection” between the City and County’s actions and the position that the
     homeless community finds itself in, the Court finds that there is little question that

     428
           LAHSA Report, supra note 4, at 20 (emphasis added).

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     but for discriminatory policies, like redlining, that prevented Black residents from
     purchasing property and building intergenerational wealth, the Black community
     would be in a significantly different position today. Dkt. 269 at 8. Even apart from
     racially discriminatory policies, state actions—such as creating the containment
     zone that deteriorated into Skid Row as we know it today—have led to the
     entrenchment of poverty and contributed to the present homelessness crisis.
            Even if this Court ignored the entire history of conscious decisions by the
     government that led to the creation of Skid Row and the rampant depravity before
     us today, there is still incontrovertible evidence that the danger of living on the
     streets—which led to 1,383 deaths last year alone—is state-made. The strongest
     evidence for a state-made danger is the deliberate, political choice to pursue the
     development of long-term supportive housing at the expense of interim shelters to
     get people off the streets in the near-term. As Plaintiffs pointed out in their brief,
     Proposition HHH—the $1.2 billion ballot initiative to create 10,000 housing units
     for the homeless—provided funding that could be used either for long-term
     supportive housing or for temporary shelters. Dkt 239 at 21. Nevertheless, the City
     and County “unilaterally” decided to focus on housing at the expense of shelter,
     even knowing that massive development delays were likely while people died in
     the streets. Over the four years since HHH’s passage, a mere 489 housing units
     have been built, while over 5,000 people lost their lives in the streets due to a lack
     of shelter. The vast majority of those deaths were preventable. Defendants argue
     that “Plaintiffs have not established that any City official affirmatively placed
     Plaintiffs in danger they would otherwise not have been in,” but pursuing housing
     at the expense of shelter, suspending HHH deadlines (and thereby evading
     accountability), and ramping down Project Roomkey despite the availability of
     federal funds to support it were all political choices that created this crisis. Without
     these choices, the death rate among L.A.’s homeless population would not be
     growing exponentially.
            The second requirement under the state-created danger exception is the
     existence of a “known or obvious danger.” “Deliberate indifference cases are by
     their nature highly fact-specific.” Patel, 648 F.3d at 975. And the facts could not
     be clearer here. In 2020, 1,383 homeless people died on the streets of Los Angeles,
     and an estimated five more die each day. Homeless women in particular have
     shared horrific stories of attacks and assaults that have forced them to alter their
     appearances and conceal their femininity in order to survive. The average lifespan
                                               73

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     of a homeless person in L.A. County is 51 years, compared to 73 years among the
     general population.429
             There is no question that homelessness presents a grave danger to human
     life, and there is no question that this danger is known to the decisionmakers with
     the power to end this senseless loss of life. In a 2019 interview, Mayor Garcetti
     referred to homelessness as “the humanitarian crisis of our lives,” 430 a
     characterization echoed by Hilda Solis, chair of the County Board of Supervisors,
     in 2020. 431 Heidi Marston, Executive Director of LAHSA, has called homelessness
     “an emergency on our streets . . . [requiring] an emergency response.”432 City
     Councilmember Mike Bonin said at the Los Angeles Business Council’s February
     2021 Mayoral Housing, Transportation, and Jobs Summit that “there’s almost
     nobody in the city of Los Angeles, housed or unhoused, who would give what’s
     happening in Los Angeles [anything] other than a failing grade,” and fellow
     Councilmember Kevin de León called the situation “dysfunctional” and “highly
     disjointed.”433 Neither the City nor the County of Los Angeles can deny their
     awareness of the unspeakable dangers homeless individuals face within their
     jurisdiction, or the gross inadequacy of current efforts to address that reality.
             The final requirement under the state-created danger doctrine is that the state
     act with deliberate indifference to the danger. Deliberate indifference is “a
     stringent standard of fault, requiring proof that a municipal actor disregarded a
     known or obvious consequence of his action.” Bryan Cnty. v. Brown, 520 U.S.
     397, 410, (1997). The Ninth Circuit has held that the deliberate indifference
     standard is met when the Plaintiff proves that:

             (1) there was an objectively substantial risk of harm; (2) the [state] was
             subjectively aware of facts from which an inference could be drawn that a

     429
         CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317, at 5.
     430
         LA Mayor Eric Garcetti Calls Homelessness The 'Humanitarian Crisis Of Our Lives', NPR (Sept. 21, 2019),
     https://www.npr.org/2019/09/21/763073646/l-a-mayor-eric-garcetti-calls-homelessness-the-humanitarian-crisis-of-
     our-lives.
     431
         Innovative and Rapid Construction of Housing to Alleviate Homelessness to Launch at Former Jail Site, HILDA
     SOLIS (Sept. 29, 2020), https://hildalsolis.org/innovative-and-rapid-construction-of-housing-to-alleviate-
     homelessness-to-launch-at-former-jail-site/.
     432
         Rob Hayes, LA Homelessness Authority Calls for Government to Treat Homelessness Crisis with Same Urgency
     as Natural Disaster, ABC7 (Feb. 19, 2020), https://abc7.com/los-angeles-homeless-services-agency-lahsa-
     homelessness-in-california/5945026/.
     433
         Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.

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             substantial risk of serious harm existed; and (3) the [state] either actually
             drew that inference or a reasonable official would have been compelled to
             draw that inference. Momox-Caselis v. Donohue, 987 F.3d 835, 845 (9th Cir.
             2021).

     The first element, an objectively substantial risk of harm, is well-established and
     discussed above. The second and third elements, the state’s subjective awareness
     of facts demonstrating danger and an inference that those facts would likely cause
     the danger, is likewise established above. The only question remaining is whether
     the government has “disregarded” the consequences of the long-standing policies
     that have perpetuated structural racism and the ways in which present corruption
     and a lack of coordination have led to an exponentially growing death rate. At the
     Los Angeles Business Council’s Mayoral Summit, City Councilmember Mark
     Ridley-Thomas said “we have to be smarter, we have to work harder, and we have
     to run a lot faster. . .” 434 The inadequacy of governmental action in response to the
     life threatening conditions in the homeless communities is not new—in a 1985 Los
     Angeles Times article, the Times wrote: “It is time for leadership from both the
     mayor’s office and the county Board of Supervisors to pull all the players together
     in one room and lock the door until they have assigned tasks to start finding land
     and money for shelters, with deadlines for doing so. . . ,” underscoring the decades
     long inaction by the City and County in the face of tens of thousands of deaths.435
             The Court therefore finds a strong likelihood that the City and County of Los
     Angeles are liable under the state-created danger doctrine, and that the law and
     facts clearly favor such a finding.

     Special Relationship Exception

            A second theory creating an affirmative duty under DeShaney—the special
     relationship exception—is also applicable. In addition to the exception for state-
     created danger discussed above, the Supreme Court in DeShaney created a second
     exception that imposed an affirmative duty to act when a state “takes a person into

     434
         Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
     435
         Help the Homeless, L.A. TIMES (Jan. 8, 1985), https://www.latimes.com/archives/la-xpm-1985-01-08-me-7426-
     story.html.

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     its custody and holds him there against his will.” DeShaney, 489 U.S. at 199–200.
     “The types of custody triggering the exception are ‘incarceration,
     institutionalization, or other similar restraint of personal liberty.’” Patel, 648 F.3d
     at 973 (citing DeShaney, 489 U.S. at 200) (emphasis added). The state’s
     constitutional duty arises “from the limitation which [the State] has imposed on his
     freedom.” The inquiry turns on whether Los Angeles’s lengthy history of
     discriminatory policies, aimed at containing homeless people in Skid Row,
     restrains the personal liberty of L.A.’s homeless population to such an extent as to
     trigger the state’s affirmative duty to act under the Fourteenth Amendment. The
     Court finds this strongly likely to be the case. With the inception of the
     containment policy, enforced by the use of floodlights, physical barriers, and
     policing, the City effectively created such “restraints of personal liberty” as to
     establish a special relationship between the homeless population and the state,
     imposing an affirmative duty on the state to act to protect the rights of the
     homeless. The City is therefore likely to be liable for failing to meet the affirmative
     duty created by its restraint of the local homeless population.
            The Court therefore finds a strong likelihood that Plaintiffs can succeed on a
     claim under the state-created danger doctrine, and that the law and facts clearly
     favor Plaintiffs’ claims.

     Equal Protection – Severe Inaction Theory

            The Equal Protection Clause of the Fourteenth Amendment to the United
     States Constitution proscribes state action that discriminates against a suspect
     class.436 The Supreme Court has instructed lower courts to examine state action on
     a case-by-case basis, “sifting facts and weighing circumstances [so that] the
     nonobvious involvement of the State…[can] be attributed its true significance.”
     Burton v. Wilmington Parking Authority, 365 U.S. 715, 722 (1961). As a guiding
     principle in cases scrutinizing state action, it is important to remember that the
     state action doctrine does not center around mere causation—instead, it is a way of
     recognizing and assigning responsibility for discriminatory conduct. “A state is
     responsible for the equal protection of its citizens, and allowing structural injustice

     436
           U.S. Const. amend. XIV.


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     to continue is action for which the state is responsible.”437 Finally, contrasting the
     Equal Protection Clause with the other two clauses in the Fourteenth Amendment,
     constitutional law scholars have argued that “the Equal Protection Clause…is more
     difficult to classify as imposing solely a negative prohibition upon the state
     governments.”438
            There are several provisions of the Constitution that create affirmative
     duties. For example, the Fourth Amendment creates an affirmative duty on the part
     of the government to obtain a warrant before a search or arrest, and the Fifth
     Amendment places an affirmative duty on police with regard to the privilege
     against self-incrimination.439 Indeed, Marbury v. Madison, one of the most seminal
     cases in American constitutional history, turns on how government inaction can
     violate an underlying affirmative duty to act. 440 In the context of the Fourteenth
     Amendment Equal Protection Clause, even a textualist reading supports the
     imposition of an affirmative duty to act. Where the Amendment reads, “nor shall
     any state…deny to any person within its jurisdiction the equal protection of the
     laws” the double negative implication of “not deny” can be literally interpreted to
     mean “to provide,” rendering state inaction constitutionally impermissible.441
     Further, there is also an intratextual argument wherein the phrasing of the Equal
     Protection Clause (“[N]or shall any state…deny to any person within its
     jurisdiction the equal protection of the laws.”) is contrasted with the phrasing of
     the Fourteenth Amendment Privileges and Immunities Clause (“No state shall
     make or enforce any law which shall abridge the privileges or immunities of
     citizens of the United States….”). 442 Indeed, shortly after the adoption of the
     Fourteenth Amendment, in 1870, Senator John Poole said in a congressional
     hearing, “[T]o say that [the state] shall not deny to any person the equal protection
     of the law it seems to me opens up a different branch of the subject. It shall not
     deny by acts of omissions….”443 Constitutional law scholars have long opined that

     437
         David M. Howard, Rethinking State Inaction: An In-Depth Look at the State Action Doctrine in State and Lower
     Federal Courts, 16 CONN. PUB. INTEREST L.J. 221, 255 (2017).
     438
         Wilson R. Huhn, The State Action Doctrine and the Principle of Democratic Choice, 34 HOFSTRA L. REV. 1379,
     1402 (2006).
     439
         Erwin Chemerinsky, Government Duty to Protect: Post-DeShaney Developments, 19 TOURO L. REV. 679, 683
     (2003).
     440
         Marbury v. Madison, 5 U.S. 137 (1803).
     441
         Howard, supra note 437, at 272–273.
     442
         Huhn, supra note 438, at 1402–03.
     443
         Id. at 1403.


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     “there is an affirmative obligation on the government to not only to [sic] treat
     citizens equally, but to protect its citizens from private violations of law that
     undermine[] their right to equality, even noting that failing to provide equal
     protection can come easily from inaction or from action.”444
            While it is not universally appropriate to imply an affirmative duty within
     the context of the Fourteenth Amendment, the Supreme Court in United States v.
     Fordice observed that Brown v. Board of Education mandated an “affirmative duty
     [on the state] to dismantle its prior dual education system.” United States v.
     Fordice, 505 U.S. 717, 727–28 (1992) (emphasis added). The Court went on to say
     that “a State does not discharge its constitutional obligations until it eradicates
     policies and practices traceable to its prior de jure dual system that continue to
     foster segregation.” Id. (emphasis added). In Brown, the analysis centered around
     the value of attending integrated schools. Here, Black people, and Black women in
     particular, are dying at exponentially higher rates than their white counterparts, and
     these disparate death rates can be directly traced to a history of structural racism
     and discrimination. As outlined above, and as evidenced both by statements from
     City Council members and the 1985 Los Angeles Times article detailing the lack
     of coordination between the County and the City, the Defendants have allowed
     themselves to become paralyzed, failing to muster the moral courage and political
     will to serve their homeless population. When state inaction has become so
     egregious, and the state so nonfunctional, as to create a death rate for Black people
     so disproportionate to their racial composition in the general population, the Court
     can only reach one conclusion—state inaction has become state action that is
     strongly likely in violation of the Equal Protection Clause.
            The Court acknowledges that this conclusion advances equal protection
     jurisprudence, but it is wholly consistent with and flows naturally from analogous
     federal statutes, rulemakings, and executive actions. In 2015, the Obama
     administration promulgated a rule that required those city, state, and local entities
     who received federal funds for housing initiatives to “affirmatively further” the
     purposes of the Fair Housing Act.445 The rule instructed these jurisdictions to
     “assess their concentrations…of disadvantaged populations and identify goals to


     444
           See Howard, supra note 437.
     445
           ROTHSTEIN, supra note 28, at 200.


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     remedy segregated conditions.”446 If the state can be burdened by an affirmative
     duty to protect a statutorily created right, why should it not be burdened by an
     affirmative duty to protect a right provided for in the Constitution—the “supreme
     Law of the Land”?447 The Supreme Court has commented that the Equal Protection
     Clause is an “essential part of the concept of a government of laws and not men,”
     noting that it “is at the heart of Lincoln's vision of ‘government of the people, by
     the people, [and] for the people.’” Harper v. Virginia State Bd. of Elections, 383
     U.S. 663, 667–68 (1966). Espousing the importance of the Fourteenth Amendment,
     the Court said “the words of the amendment . . . contain a necessary implication of
     a positive immunity, or right, . . . the right to exemption from unfriendly legislation
     . . . exemption from legal discriminations, implying inferiority in civil society,
     lessening the security of their enjoyment of the rights which others enjoy, and
     discriminations which are steps towards reducing them to the condition of a subject
     race.” In re Slaughter-House Cases, 1873, 16 Wall. 36, 67—72, 21 L.Ed. 394; see
     also State of Virginia v. Rives, 1879, 100 U.S. 313, 318, 25 L.Ed. 667; Ex parte
     Virginia, 1879, 100 U.S. 339, 344—345, 25 L.Ed. 676. If the right to equal
     protection is so essential to American society and constitutional thought, then the
     law simply cannot permit the state to idly stand by and watch as its Black residents
     die at a disproportionate rate—especially when the state’s political history of
     discrimination has led directly to the present crisis.

     Substantive Due Process

            The Court also finds that current City and County policies compound and
     perpetuate structural racism, threatening the integrity of Black families in Los
     Angeles and forcing a disproportionate number of Black families to go unhoused.
     Such structures of discrimination likely offend the Due Process Clause of the
     Fourteenth Amendment.
            The Fourteenth Amendment provides, in relevant part, that no state “shall . .
     . deprive any person of life, liberty, or property, without due process of law.” U.S.
     Const. amend. XIV, § 1. The Due Process Clause guarantees not only procedural
     protections, but also substantive rights, thereby “barring certain government
     actions regardless of the fairness of the procedures used to implement them.”
     446
           Id.
     447
           U.S. Const. art. VI, cl. 2.

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     Daniels v. Williams, 474 U.S. 327, 331 (1986). Substantive due process
     accordingly “forbids the government from depriving a person of life, liberty, or
     property in such a way that ‘shocks the conscience’ or ‘interferes with rights
     implicit in the concept of ordered liberty.’” Nunez v. City of Los Angeles, 147 F.3d
     867, 870 (9th Cir. 1988) (quoting United States v. Salerno, 481 U.S. 739, 746
     (1987)). The “shocks the conscience” standard is not subject to a rigid list of
     established elements. See County of Sacramento v. Lewis, 523 U.S. 833, 850 (1998
     (“Rules of due process are not . . . subject to mechanical application in unfamiliar
     territory.”) On the contrary, “an investigation into substantive due process involves
     an appraisal of the totality of the circumstances rather than a formalistic
     examination of fixed elements.” Squadrito, 152 F.3d 564, 570 (7th Cir. 1998).
            As to whether substantive due process applies to the particular
     circumstances alleged, the “threshold question is whether the behavior of the
     governmental officer is so egregious, so outrageous, that it may fairly be said to
     shock the contemporary conscience.” Lewis, 523 U.S. at 847 n. 8. The “touchstone
     of due process is protection of the individual against arbitrary action of
     government,” Wolff v. McDonnell, 418 U.S. 539, 558 (1974), and the “exercise of
     power without any reasonable justification in the service of a legitimate
     governmental objective,” Lewis, 523, U.S. at 846. The due process guarantee bars
     governmental conduct that violates the “decencies of civilized conduct,” Rochin v.
     California, 342 U.S. 165, 173 (1952) interferes with rights “‘implicit in the
     concept of ordered liberty[,]’” id. at 169, 72 S.Ct. 205 (quoting Palko v. State of
     Conn., 302 U.S. 319, 325 (1937)), or is so “‘brutal’ and ‘offensive’ that it [does]
     not comport with traditional ideas of fair play and decency[.]” Breithaumpt v.
     Abram, 352 U.S. 432, 435 (1957). Accordingly, substantive due process protects
     against government power arbitrarily and oppressively exercised. Daniels, 474
     U.S. at 331.
            Finally, although the government is generally “not liable for its omissions,”
     Martinez v. City of Clovis, 943 F.3d 1260, 1270–71 (9th Cir. 2019), a government
     is required to act when it has “affirmatively place[d]” its citizens “in danger by
     acting with deliberate indifference to a known or obvious danger,” Patel v. Kent
     Sch. Dist., 648 F.3d 965, 971–72 (9th Cir. 2011) (citations omitted).
            Here, the question is whether the conduct attributed to the City and County
     violates unhoused families’ substantive due process right to family integrity. It has
     long been settled that the liberty interest identified in the Fifth Amendment
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     provides a right to family integrity or to familial association. See U.S. Const.
     amend. V (stating no person shall “be deprived of life, liberty, or property, without
     due process of law.”); Quilloin v. Walcott, 434 U.S. 246, 255, (1978) (stating “the
     relationship between parent and child is constitutionally protected.”). Indeed,
     “[t]he liberty interest at issue in this case—the interest of parents in the care,
     custody, and control of their children—is perhaps the oldest of the fundamental
     liberty interests recognized by” the Court. Troxel v. Granville, 530 U.S. 57, 65,
     (2000); see also Rosenbaum v. Washoe County, 663 F.3d 1071, 1079 (9th Cir.
     2011) (“The substantive due process right to family integrity or to familial
     association is well established.”).
            In Ms. L. v. U.S. Immigr. & Customs Enf’t, 302 F. Supp. 3d 1149 (S.D.
     2018), a California district court issued a class-wide injunction requiring the
     government to reunite minor children with their parents. There, the court found
     that the government had violated the parent-class-members’ right to family
     integrity under the Due Process Clause by separating parents from their children at
     the U.S.-Mexico border for no legitimate governmental objective.448 The district
     court cited to Quilloin, where the Supreme Court held that “[w]e have little doubt
     that the Due Process Clause would be offended if a State were to attempt to force
     the breakup of a natural family, over the objections of the parents and their
     children, without some showing of unfitness . . . .” 434 U.S. at 255, 98 S.Ct. 549.
            In a similar case, Jacinto-Castanon de Nolasco v. U.S. Immigr. & Customs
     En’t, 319 F. Supp. 3d 491, 500–01 (D.D.C. 2018), a district court granted a
     preliminary injunction against the government, preventing it from separating
     families. There, the district court held that “substantial governmental burdens on
     family integrity are subject to strict scrutiny review, and they survive only if the
     burden is narrowly tailored to serve a compelling state interest.” Id. (citing Goings
     v. Court Servs. & Offender Supervision Agency, 786 F.Supp.2d 48, 70 (D.D.C.
     2011) (granting preliminary injunction where plaintiff’s substantive due process
     claim premised on no-contact order prohibiting communication with his children
     likely would not survive strict scrutiny review); see also Abigail Alliance for Better
     Access to Developmental Drugs v. von Eschenbach, 495 F.3d at 702 (holding that
     the Due Process Clause “provides heightened protection against government
     interference with certain fundamental rights and liberty interests . . . including the

     448
           Id.

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     rights to . . . direct the education and upbringing of one’s children” (internal
     quotation marks and citations omitted)); Franz v. United States, 707 F.2d 582, 602
     (D.C. Cir. 1983). The district court further explained that the government must
     make at least some showing of parental unfitness to establish a compelling
     governmental interest in violating the plaintiff’s right to family integrity. Jacinto-
     Castanon de Nolasco, 319 F. Supp. 3d at 501.
            The facts in our case are comparable to the separations of parent and child in
     Ms. L, 302 F. Supp. 3d 1149 (S.D. Cal. 2018), Quilloin, 434 U.S. 246 (1978), and
     Jacinto-Castanon de Nolasco, 319 F. Supp. 3d 491 (D.D.C. 2018). In those cases,
     district courts found that the government violated the parents’ substantive due
     process right when the government, as here, separated families for no legitimate
     governmental reason. The government can proffer no reason for its policies that
     have led to the separation of children from their parents.
            Here, the City and County’s discriminatory conduct has threatened the
     family integrity of the Black unhoused. 449 A disproportionate number of Black
     unhoused families directly stems from decades of systemic racism intended to
     segregate and disenfranchise the Black community. Indeed, as noted by the Los
     Angeles Homeless Services Authority, “Black people have been historically and
     systematically precluded from housing opportunities, including through redlining,
     exclusionary zoning, and other forms of discrimination codified by federal, state,
     and local law.”450 Despite acknowledgements of structural racism, the City and
     County perpetuate the devastating negative impact of such policies by
     compounding their effects.
            The data squarely supports a finding that the city’s current policies continue
     to drive homelessness in Black communities. As previously indicated, despite
     comprising only eight percent of the Los Angeles general population, Black
     Angelenos made up 42% of the homeless population.451 “Homelessness is a
     byproduct of racism,” said Heidi Marston, Director of LAHSA, “we continue to
     see that Black people are overrepresented in our homeless population, and that
     Black African Americans are four times more likely to become homeless than their



     450
           LAHSA REPORT, supra note 4, at 7.
     451
           Id. at 9.


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     white counterparts.”452 Applied to the family context, this reality presents even
     graver consequences: the inability to safely protect one’s child. Data from
     LAHSA’s 2020 Greater Los Angeles Homeless Count shows that 5,988 Black
     persons are experiencing homelessness as part of family units.453 This figure is
     more than five times the 952 white persons experiencing homelessness as part of
     family units.454
            As mentioned above, City and County policies enacted against Black
     communities—in particular, redlining, eminent domain, and exclusionary zoning—
     removed and deprived Black families from their land, creating surges of housing
     insecurity over the past century.455 However, while the number of unhoused Black
     individuals rises, the number of white unhoused individuals has decreased—
     demonstrating that current policies are compounding the explicitly racialized
     policies of the twentieth century.456 In fact, the city’s own data revealed this:
     between 2016 and 2017, the number of unhoused Black Angelenos increased by
     22%, while the number of unhoused white Angelenos decreased by seven percent
     in the same time frame. 457 Yet the city remains deliberately indifferent to the rising
     number of Black Angelenos in danger.
            The reality of the COVID-19 pandemic presents even graver consequences
     for unhoused Black families: the inability to protect one’s child from infectious
     disease. Councilwoman Nury Martinez and Councilmember Mark Ridley-Thomas
     reported that “[m]ore than 269,000 K-12 students [are] currently experiencing, or
     on the brink of homelessness across California, enough to fill Dodger Stadium five
     times over. This is the picture of homelessness in Los Angeles today—a crisis that
     has been allowed to fester for decades, and has greatly worsened due to COVID-
     19.”458 Councilwoman Martinez and Councilmember Ridley-Thomas continued



     452
         Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST
     (June 12, 2020), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-
     losangeles.
     453
         HC2020 Family Households, L.A. HOMELESS SERVS. AUTH. (Nov. 6, 2020),
     https://www.lahsa.org/documents?id=4978-hc2020-family-households.
     454
         Id.
     455
         LUSKIN REPORT, supra note 10, at 20.
     456
         LAHSA REPORT, supra note 4, at 9.
     457
         Id.
     458
         Nury Martinez & Mark Ridley-Thomas, Fighting COVID-19 Means Fighting the Cycle of Homelessness, L.A.
     SENTINEL (Mar. 25, 2021), https://lasentinel.net/fighting-covid-19-means-fighting-the-cycle-of-homelessness.html.


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     that “the virus hits low-income communities and communities of color particularly
     hard, forcing many into homelessness at shocking rates.”459
            To protect unhoused individuals during the pandemic, Governor Gavin
     Newsom directed an initiative in April 2020 titled “Project Roomkey” to house
     15,000 homeless unhoused Californians in hotel and motel rooms. 460 But a May
     2020 report to the Board of Supervisors detailed that Project Roomkey rooms have
     been disproportionately extended to white homeless Angelenos—exacerbating the
     risks to unhoused Black families that already disproportionately bear the harmful
     effects of the city and county’s failure to address homelessness. Id. at 60. In fact,
     COVID-19 mortality rates are higher for Black and Latino/a populations compared
     to mortality rates for white populations in California, escalating the need for
     equal—if not increased—access to services. See id. at 61.461
            Most recently, the city’s indefinite suspension of “all benchmarks and
     deadlines pertaining to current HHH projects” as of April 2020 further entrenched
     the marginalization of communities of color by abandoning once again the City’s
     most vulnerable at the peak of a global crisis. Only 489 of the 10,000 promised
     housing units have been produced in the four years of HHH funding, leaving on the
     streets 1,255 unhoused Black individuals who are part of family units.462 Such
     policies have become a vehicle for the continued subordination of communities of
     color. As Black families face housing insecurity at disproportionate rates, the risk
     of family separation increases.
            In many instances, homeless children are separated from their parents and
     placed in foster care systems, where separation increases the mental trauma
     suffered by parent and child. Traumatic family separation affects the development
     of both cerebral activity and other organ systems.463 This results in anxiety, post-
     traumatic stress disorder, and has been shown to lead to higher rates of poverty and
     food insecurity. 464 Unhoused Black families are thus punished not only by a lack of


     459
         Id.
     460
         LAHSA REPORT, supra note 4, at 9.
     461
         “African Americans and Latinx account for 66 percent of COVID cases among people experiencing
     homelessness and 72 percent of the deaths as a result of COVID.” Dkt 241-1 at 11.
     462
         See HC2020 Family Households, L.A. HOMELESS SERVS. AUTH. (Nov. 6, 2020),
     https://www.lahsa.org/documents?id=4978-hc2020-family-households.
     463
         Laura Santhanam, How the Toxic Stress of Family Separation Can Harm a Child, PBS (June 18, 2018),
     https://www.pbs.org/newshour/health/how-the-toxic-stress-of-family-separation-can-harm-a-child.
     464
         Id.


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     affordable housing, but by the infliction of psychological and emotional trauma.
     The potential for lifelong trauma suffered by both the parent and child cannot be
     overstated.
            Furthermore, Black children make up about seven percent of Los Angeles
     County’s youth population, but about 24% of the children who receive services
     from the Los Angeles County Department of Children and Family Services
     (DCFS).465 The lack of stability stemming from family separation and a lack of
     resources drives many children in foster care to fall behind their peers in
     educational settings and increases the risk of lasting behavioral issues. 466 The
     Alliance for Children’s Rights reported that by the third grade, 80% of children in
     foster care have repeated a grade; only five percent of them are proficient in math;
     75% of young women in foster care report at least one pregnancy by age 21
     compared to only one third of their peers who are not in foster care; half of young
     men aging out of foster care have become fathers by the age of 21 compared to
     19% of their peers who were not in foster care; nearly half of all children in foster
     care have learning disabilities or delays; only 58% of young people in foster care
     graduate from high school; only three percent graduate from college; and half of all
     young adults who age out of foster care end up homeless or incarcerated. 467 These
     traumas of family separation “shock[s] the conscience” and do not comport “with
     rights implicit in the concept of ordered liberty.” United States v. Salerno, 481 U.S.
     739, 746 (1987).
            Los Angeles’s homelessness crisis has created a cyclical pattern in which
     Black families are disproportionately uprooted from their community and
     separated upon experiencing homelessness, driving Black children into the Los
     Angeles foster care system. The cycle must end. The Due Process Clause does not
     permit such governmental misconduct causing Black families to disproportionately
     face homelessness and family separation.
            It is clear to the Court that the Due Process Clause does not allow this kind
     of governmental misconduct. The Court is confident that this limited right to
     family integrity amongst unhoused Black families is “implicit in the concept of
     ordered liberty.” See Nunez, 147 F.3d at 870. As the Supreme Court has held,
     rights arise not only from “ancient sources,” but also “from a better informed

     465
           Id.
     466
           Id.


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     understanding of how constitutional imperatives define a liberty that remains
     urgent in our own era.” Obergefell v. Hodges, 135 S. Ct. 2584, 2602 (2015). The
     severe disparity between treatment of Black unhoused families compared to white
     unhoused families—to say nothing of the public health risks illuminated by the
     ongoing COVID-19 pandemic—present just such an urgent crisis and better inform
     the constitutional understanding of ordered liberty.
            This practice of disrupting unhoused Black families’ constitutional right to
     family integrity by compounding structural racism in present day policies is
     sufficient to find Plaintiffs have a likelihood of success on their due process claim.
     A practice of this sort implemented in this manner is likely to be “so egregious, so
     outrageous, that it may fairly be said to shock the contemporary conscience,”
     Lewis, 523 U.S. at 847 n.8, interferes with rights “‘implicit in the concept of
     ordered liberty[,]’” Rochin v. Cal., 342 U.S. 165, 169 (1952) (quoting Palko v.
     State of Conn., 302 U.S. 319, 325 (1937)), and is so “‘brutal’ and ‘offensive’ that it
     [does] not comport with traditional ideas of fair play and decency.” Breithaupt v.
     Abram, 352 U.S. 432, 435 (1957).

           ii.    State law grounds

           The California Welfare and Institutions Code provides as follows:

                  Every county and every city and county shall relieve and
                  support all incompetent, poor, indigent persons, and those
                  incapacitated by age, disease, or accident, lawfully resident
                  therein, when such persons are not supported and relieved by
                  their relatives or friends, by their own means, or by state
                  hospitals or other state or private institutions.

     Cal. Welf. & Inst. Code § 17000 (West 2020). This provision is intended “to
     provide for protection, care, and assistance to the people of the state in need
     thereof, and to promote the welfare and happiness of all of the people of the state
     by providing appropriate aid and services to all of its needy and distressed.” Id.
     § 10000. Such aid and services shall be “provided promptly and humanely, with
     due regard for the preservation of family life,” and on a non-discriminatory basis.
     Id. Courts have interpreted § 17000 as imposing requirements to both provide
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     “general assistance” and “subsistence medical care to the indigent.” Hunt v. Super.
     Ct., 21 Cal 4th 984, 1011–13 (1999); Dkt. 265 at 26.
             The court in Scates v. Rydingsword interpreted § 17000 to mean that
     municipalities had discretion in determining which services to provide to homeless
     individuals. Scates v. Rydingsword, 229 Cal. App. 3d 1085, 1099 (1991).
     Defendants similarly argue that, in this case, “the County has discretion to
     determine how to discharge its obligations.” Dkt. 270 at 22. The court in
     Tailfeather v. Bd. of Supervisors, however, held that medical care must, at a
     minimum, be “at a level which does not lead to unnecessary suffering or endanger
     life and health.” Tailfeather v. Bd. of Supervisors, 48 Cal. App. 4th 1223, 1240
     (1996). Given the epidemic levels of homelessness in the City and County of Los
     Angeles, it is clear that the City and County have failed to meet this duty. As
     LAHSA Executive Director Heidi Marston has stated, “housing is healthcare.”
     Dkt. 265 at 27. The empirical evidence bears out the truth of this soundbite; there
     is a clear link between living on the street and experiencing adverse health
     outcomes. L.A.’s homeless population is dying in record numbers. Rare diseases
     run rampant in Skid Row, risking overflow into the rest of Los Angeles. Older
     individuals, especially older women, who are more at risk and in need of health
     services, are overrepresented on the streets of LA. The County has clearly failed to
     meet its minimum obligations under § 17000 to provide life-preserving, medically
     necessary services to the homeless.
             Even outside of its inaction and inertia on the housing and shelter front, the
     County has also failed to meet its minimal duties to provide direct medical care
     that is “reasonable and necessary to protect life, to prevent significant illness or
     significant disability, or to alleviate severe pain.” Cal. Welf. & Inst. Code §
     14059.5(a). By the County’s own admission, the current 22.7 mental health beds
     available per 100,000 individuals across the County comes nowhere close to the 50
     public mental health beds per 100,000 individuals that leading mental health
     experts say is necessary to minimally meet the needs of the population. Dkt. 265 at
     9. The 138-page report that the Department of Mental Health returned in January
     2019 extensively documented the numerous gaps between community needs and
     available services, specifically highlighting the severity of the access problem
     when it came to mental health and detoxification beds. In December 2020, a year
     after the report was published, the Department of Mental Health produced a
     follow-on analysis that showed that while a pilot program sought to procure 500
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     beds across a two-year program, only 156 new beds were created in the first
     year.468 The County, even as it recognizes the severity of the problems with its
     current service provision model, appears to be unwilling or unable to fulfill both
     the goals it sets for itself and the statutory minimums of § 17000.
            The Court further finds the City of Los Angeles is likewise likely liable for
     violations of § 17000. For the last thirty-five years, there have been calls for the
     City and County of Los Angeles to work together to address the crisis of
     homelessness. 469 Twenty-five years ago, the California Supreme Court in Tobe
     found that these provisions of the Welfare and Institutions Code do not apply to
     cities within counties. See Tobe v. City of Santa Ana, 9 Cal. 4th 1069, 1104 n.18
     (1995). However, in the intervening decades, the institutional and financial
     landscape in this area has changed drastically in ways that neither the California
     Legislature nor the California Supreme Court could have reasonably foreseen, and
     the joint ventures long called for have taken robust form. As numerous programs
     and funding arrangements demonstrate, the formal jurisdictional divide between
     cities and counties under § 17000 has been substantially blurred, especially in the
     context of relieving homelessness. Consider the following examples:
            In 2021, the City of Los Angeles contributed over $327 million to the Los
     Angeles Housing Services Authority (“LAHSA”).470 This past year, Governor
     Newsom and California’s legislature pioneered Project Roomkey, which made
     $150 million in emergency COVID-19 aid for the homeless available directly to
     local governments such as the City of Los Angeles. 471 Project Roomkey allowed
     state and local governments to receive up to 75% cost-share reimbursement from

       JONATHAN E. SHERIN, DEP’T OF MENTAL HEALTH, ONE YEAR PROGRESS REPORT ON THE MOTION, “ADDRESSING
     468

     THE SHORTAGE OF MENTAL HEALTH HOSPITAL BEDS II, (ITEM 9, AGENDA OF DECEMBER 3, 2019)” 2 (2020),
     http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf.
     469
         “City and county governments traditionally have been wary of crossing jurisdictional lines, but this problem begs
     for the attention of both. The county has responsibility for welfare questions, and the city oversees many building
     and safety aspects involved in sheltering the homeless. It is time for leadership from both the mayor’s office and the
     county Board of Supervisors . . . to start finding land and money for shelters, with set deadlines for doing so.” Help
     the Homeless, L.A. TIMES (Jan. 8, 1985), https://www.latimes.com/archives/la-xpm-1985-01-08-me-7426-
     story.html.
     470
         State of Homelessness Presentation, L.A. Homeless Servs. Auth. (2021),
     https://www.lahsa.org/documents?id=5196-state-of-homelessness-presentation.pdf.
     471
         At Newly Converted Motel, Governor Newsom Launches Project Roomkey: A First-in-the-Nation Initiative to
     Secure Hotel & Motel Rooms to Protect Homeless Individuals from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Apr.
     3, 2020), https://www.gov.ca.gov/2020/04/03/at-newly-converted-motel-governor-newsom-launches-project-
     roomkey-a-first-in-the-nation-initiative-to-secure-hotel-motel-rooms-to-protect-homeless-individuals-from-covid-
     19/.


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     the Federal Emergency Management Agency (“FEMA”) for hotel and motel
     rooms, including wraparound supports such as meals, security and custodial
     services.472 In January, 2021, President Biden issued an executive order directing
     FEMA to raise that cost-share reimbursement to 100%.473 Further, Project
     Roomkey tasked local governments like the City of Los Angeles with providing
     behavioral and health care services, identifying shelter or encampment residents
     for hotel isolation placements, and even transporting homeless people.474
            In 2020, the U.S. Department of Housing and Urban Development (“HUD”)
     allocated a total of $3.96 billion across Rounds 1 and 2 of the CARES Act
     Emergency Solutions Grant (“ESG”).475 ESG funds are to be used to “prepare for,
     and respond to the coronavirus pandemic (COVID-19) among individuals and
     families who are homeless or receiving homeless assistance.”476 Across both
     rounds of ESG funding, the County of Los Angeles was allocated $69,050,943. At
     the same time, the City of Los Angeles was allocated more than double that
     amount - $183,598,812.477
            As part of the Homeless Emergency Aid Program (“HEAP”), the City of Los
     Angeles was allocated $85,013,607.478 LAHSA was further allocated another
     $81,000,000. At the direction of the City Council, the $85 million was directed to
     several initiatives, including $45 million to bridge housing; $20 million to Skid
     Row services, including temporary crisis and bridge housing, storage, hygiene
     programs, and reentry services for formerly incarcerated individuals; $11 million
     472
         Id.
     473
         Memorandum from Fesia A. Davenport on Project Roomkey Extensions and Expansion with 100% FEMA
     Reimbursement (Item No. 2, Agenda of February 9, 2021) (Mar. 2, 2021),
     http://file.lacounty.gov/SDSInter/bos/bc/1103505_3-2-
     21PRKExtension_Expansionwith100_FEMAReimbursement.pdf.
     474
         At Newly Converted Motel, Governor Newsom Launches Project Roomkey: A First-in-the-Nation Initiative to
     Secure Hotel & Motel Rooms to Protect Homeless Individuals from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Apr.
     3, 2020), https://www.gov.ca.gov/2020/04/03/at-newly-converted-motel-governor-newsom-launches-project-
     roomkey-a-first-in-the-nation-initiative-to-secure-hotel-motel-rooms-to-protect-homeless-individuals-from-covid-
     19/.
     475
         CARES Act Emergency Solutions Grant (ESG) Round 2 Funding Under COVID-19 Supplemental
     Appropriations (June 2020),
     https://www.hud.gov/sites/dfiles/CPD/documents/ESG_CARES_Act_Round_2_Allocation_Methodology_rev.pdf.
     476
         ESG-CV Award Letters Distributed, HUD EXCHANGE (Apr. 7, 2020), https://www.hudexchange.info/news/esg-
     cv-award-letters-distributed/.
     477
         CARES Act Emergency Solutions Grant (ESG) Round 2 Funding Under COVID-19 Supplemental
     Appropriations 5–7 (June 2020),
     https://www.hud.gov/sites/dfiles/CPD/documents/ESG_CARES_Act_Round_2_Allocation_Methodology_rev.pdf.
     478
         Cal. Homeless Coordinating & Financing Council, SB 850 Overview 11,
     https://www.bcsh.ca.gov/hcfc/documents/hcfc_heap_powerpoint.pdf.


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     to general funding “to support homeless prevention and diversion programs,
     general homeless services, voluntary storage programs, emergency response, and
     hygiene services”; and $4 million “to invest in services for homeless youth or
     youth at risk of being homeless.” 479
             In April 2021, HUD Secretary Marcia Fudge announced nearly $5 billion in
     new grants to state and local governments nationwide through the American
     Rescue Plan.480 That funding is to be used for “rental assistance, the development
     of affordable housing and other services to help people experiencing or on the
     verge of homelessness.” 481 Of that $5 billion, $99.9 million will flow directly to
     the City of Los Angeles, while another $32.6 million will flow to the County.482
             It is well-established that the City receives funds directly from the state and
     federal government to be used for homeless initiatives. Further, it is clear that the
     City, on many occasions, has decided to use vast swaths of those funds to provide
     services to the homeless. Simply put, under the aegis of local, state, and federal
     initiatives, the City and County together have become jointly responsible for
     fulfilling the mandate of § 17000, at least as it pertains to confronting the crisis of
     homelessness. Therefore, the Court finds that the most reasonable interpretation of
     § 17000—the interpretation most in step with modern partnerships and funding
     arrangements between the City and County—is that it applies not only to counties
     alone, but to cities and counties when they undertake a joint venture directed to the
     goals of § 17000, such as a coordinated effort to alleviate homelessness in their
     jurisdictions. Thus, the Court finds that Plaintiffs are likely to succeed on the
     merits of a claim under Cal. Welf. & Inst. Code § 17000 both against the City and
     the County.

             iii.     Americans With Disabilities Act

            Plaintiffs are also likely to succeed on the merits of a claim under the
     Americans with Disabilities Act (ADA). The ADA requires that individuals with
     disabilities be afforded “the full and equal enjoyment of the goods, services,

     479
         Putting New Resources to Work, ERIC GARCETTI, https://www.lamayor.org/HEAP (last visited Apr. 20, 2021).
     480
         Tracy Jan, How Biden Stimulus Bill Will Target Homelessness, WASH. POST (Apr. 8, 2021),
     https://www.washingtonpost.com/us-policy/2021/04/08/homeless-hud-marcia-fudge/.
     481
         Id.
     482
         American Rescue Plan Act HOME Supplemental Allocations,
     https://www.hud.gov/sites/dfiles/CPD/documents/HOME-ARP.pdf.

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     facilities, privileges, advantages, or accommodations of any place of public
     accommodation…” 42 U.S.C. § 12182(a). Public entities are required to “maintain
     in operable working condition those features of facilities and equipment that are
     required to be readily accessible to and usable by persons with disabilities by the
     Act or this part.” 28 C.F.R. § 35.133(a) (2011). Put differently, the ADA imposes
     an affirmative burden on public entities, such as the City and County of Los
     Angeles, to “make ‘reasonable modifications’ to its ‘policies, practices, or
     procedures’ when necessary to avoid such discrimination.” Fry v. Napoleon
     Comm. Schs., 137 S. Ct. 743, 749 (2017) (quoting 28 C.F.R. § 35.130(b)(7)
     (2016)).
             Because of the City and County’s persistent inaction and inertia in creating
     shelter for the homeless, thousands of homeless individuals have erected tents that
     obstruct city sidewalks. To satisfy the ADA, public sidewalks must have at least 36
     inches of passable sidewalk, and the City and County are responsible for ensuring
     that this requirement is met. 36 C.F.R. § 1191, app. D. § 403.5.1 (2014); Willits v.
     City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C.D. Cal. 2013). Hundreds of
     city sidewalks, not only in Skid Row but across the City and County of Los
     Angeles, fail to meet the minimum requirements of the ADA due to the creation of
     homeless encampments. Again, it must be emphasized that these encampments—
     and the resulting ADA violations—are the outcome of decades of active policy
     choices and deliberate indifference on the part of the City and County. The Court
     thus finds that Plaintiffs are likely to succeed on an ADA claim under this
     theory.483



              483
                   Plaintiffs also present a second theory of liability under the ADA, which is that the City has violated the
     ADA by placing homeless individuals in “dangerous conditions where they are very likely to be harmed.” Dkt. 265
     at 34. Plaintiffs argue that the containment policy “deliberately placed substance abusers in an area replete with the
     illegal trafficking of dangerous and addictive drugs.” Dkt. 265 at 35. To establish an ADA violation, a plaintiff must
     show that “1) she is a qualified individual with a disability; 2) she was excluded from participation in or otherwise
     discriminated against with regard to a public entity’s services, programs, or activities, and 3) such exclusion or
     discrimination was by reason of her disability.” Lovell v. Chandler, 303 F.3d 1039, 1052 (9th Cir. 2002). Mental
     illness and addiction constitute disabilities within the bounds of the ADA. 42 U.S.C. § 12102; Crumbaker v.
     McLean County, Ky., 37 F. App’x 784, 785 (6th Cir. 2002) (“A person addicted to illegal drugs is considered
     disabled within the meaning of the ADA if the drug addiction ‘substantially limits one or more of the major life
     activities’ of that person.’”). While the Court is sympathetic to Plaintiffs’ argument that the City has created
     dangerous conditions in Skid Row for those suffering from mental illness or addiction, these actions do not
     constitute exclusion or discrimination with regard to public services as required to find an ADA violation. Thus, the
     Court finds that Plaintiffs are unlikely to succeed on an ADA claim under this theory.


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     Accordingly, the Court finds a sufficient likelihood of success on the merits of the
     state law grounds, and holds that the facts and law clearly warrant a preliminary
     injunction.

           B. IRREPARABLE INJURY

            Turning to the next factor, Plaintiffs must show they are “‘likely to suffer
     irreparable harm in the absence of preliminary relief.’” Hernandez v. Sessions, 872
     F.3d 976, 994 (9th Cir. 2017) (quoting Winter, 555 U.S. at 20). “It is well
     established that the deprivation of constitutional rights unquestionably constitutes
     irreparable injury.” Id. (quoting Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.
     2012) (internal quotation marks omitted).
            No harm could be more grave or irreparable than the loss of life. In 2020,
     1,383 homeless people died on the streets of Los Angeles, and an estimated five
     more die each day. Furthermore, as explained above, Plaintiffs have demonstrated
     the likelihood of a deprivation of their constitutional rights, and thus they have
     satisfied this factor.

           C. BALANCE OF EQUITIES

            Turning to the third factor, “[t]o obtain a preliminary injunction, a plaintiff
     must also demonstrate that ‘the balance of equities tips in his favor.’” Hernandez,
     872 F.3d at 995 (quoting Winter, 555 U.S. at 20). As with irreparable injury, when
     a plaintiff establishes “a likelihood that Defendants’ policy violates the U.S.
     Constitution, Plaintiffs have also established that both the public interest and the
     balance of the equities favor a preliminary injunction.” Arizona Dream Act
     Coalition v. Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014).
            Again, as explained above, Plaintiffs have demonstrated the likelihood of a
     deprivation of their constitutional rights, and thus they have satisfied this factor.

           D. PUBLIC INTEREST

           The fourth and final factor for consideration is the public interest. See
     Hernandez, 872 F.3d at 996 (quoting Stormans, Inc. v. Selecky, 586 F.3d 1109,
     1139 (9th Cir. 2009)) (“When, as here, ‘the impact of an injunction reaches beyond
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     the parties, carrying with it a potential for public consequences, the public interest
     will be relevant to whether the district court grants the preliminary injunction.’”)
     To obtain the requested relief, “Plaintiffs must demonstrate that the public interest
     favors granting the injunction ‘in light of [its] likely consequences,’ i.e.,
     ‘consequences [that are not] too remote, insubstantial, or speculative and [are]
     supported by evidence.’” Id. (quoting Stormans, 586 F.3d at 1139). “‘Generally,
     public interest concerns are implicated when a constitutional right has been
     violated, because all citizens have a stake in upholding the Constitution.’” Id.
     (quoting Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)).
             As discussed above, Plaintiffs have demonstrated the likelihood of a
     violation of their constitutional rights, and thus have satisfied this factor.
             Furthermore, the current state of the homelessness crisis in Los Angeles
     begs intervention. The City argues that granting this preliminary injunction would
     not be in the public’s interest because it would “usurp the discretionary policy
     making decisions of the City’s elected officials and impose mandatory duties.”
     Dkt. 269 at 32. The Intervenors similarly state in their opposition that “Plaintiffs
     fail to put forth any argument, let alone evidence to meet its burden of showing
     that such a dramatic encroachment into the provenance of the City and the County
     is warranted, let alone why such a broad injunction is in the public interest.” Dkt.
     275 at 12. The Court, however, seeks to ensure accountability, and promote action
     where there has been historic inaction, by issuing a practical flexibility in its
     remedy. The City’s inaction has had a deep, disparate, and deadly impact on the
     citizens of Los Angeles. And no public interest is more paramount than protecting
     the lives of our citizens.
             Nor does the Court find reason to withhold a preliminary injunction in light
     of Mayor Garcetti’s newly announced spending plan. 484 For one thing, the
     plurality of this budget will be drawn from funds allocated under Proposition
     HHH, which are already designated for homelessness relief. And as the Los
     Angeles Times notes, the City’s efforts to combat homelessness have repeatedly
     fallen short of their stated goals.485 For example, despite receiving state and federal
     funding for Project Roomkey, the City and County never managed to contract for

     484
         See Benjamin Oreskes & David Zahniser, L.A. Plans Nearly $1 Billion in Spending to Address Homelessness
     Under Garcetti Plan, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/homeless-housing/story/2021-04-
     19/los-angeles-will-increase-budget-for-addressing-homelessness.
     485
         Id.

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     even a third of the promised 15,000 hotel and motel rooms. After reaching a peak
     of 4177 operational rooms in August 2020, the program has steadily withered: as
     of April 12, 2021, only 2079 rooms were operational, 1693 of which were
     occupied—just over ten percent of the capacity originally promised. In spite of
     abundant funding drawn from local, state, and federal budgets, the City and County
     fell far short of their stated goal. This embarrassing performance does not inspire
     confidence, to say the least, in the City’s new budget. From mishandling Project
     Roomkey to sinking $1.2 billion into the ever-delinquent Proposition HHH, Los
     Angeles has documented a long history of plans or budgets that have fallen short,
     year after year, as the homelessness crisis worsens.
             The Court, therefore, finds no reason to believe that the City’s new budget
     will be in any way adequate to meet the crisis of homelessness or overcome
     decades of intentional racism and deliberate indifference. For years—too many
     years—the homelessness epidemic in Los Angeles has only continued to worsen
     under the auspices of admirable intentions and impressive budgets. In the Court’s
     view, this latest budget is no different.
             Finally, as explained in our discussion of Brown and its progeny,
     constitutional violations as grave as those in front of the Court today give rise to “a
     district court’s equitable powers to remedy past wrongs.” See Swann, 402 U.S. at
     15.

           E. HEARING

            Finally, the Court acknowledges that it may appear unusual to issue a
     preliminary injunction without a hearing on the motion. In the Ninth Circuit,
     however, “there is no presumption that the issuance of a preliminary injunction
     requires an evidentiary hearing”; instead, the decision to hold a hearing is left to
     the sound discretion of the district court. Softketeers, Inc. v. Regal W. Corp., 788 F.
     App’x 468, 469 (9th Cir. 2019) (citing Int’l Molders’ & Allied Workers’ Loc.
     Union v. Nelson, 799 F.2d 547, 555 (9th Cir. 1986)); see also Nelson, 799 F.2d at
     555 (noting that the text of Rule 65(a) does not impose “a purely technical rule”
     requiring an evidentiary hearing on a preliminary injunction). “[I]f the facts are
     simple and little time would be taken, a court may be required to hold an
     evidentiary hearing on a motion for injunction.” State of Or., 913 F.2d 576, 582
     (9th Cir. 1990) cert. denied sub nom. Makah Indian Tribe v. United States, 501 U.S.
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     1250, (1991). However, the Ninth Circuit has emphasized the lack of presumption
     in favor of evidentiary hearings “especially if the facts are complicated.” Id.
            The Court finds that no hearing is necessary at this juncture. While
     Defendants contend that “the evidentiary record is insufficient to support the
     drastic equitable relief [Plaintiffs] request,” for over a year now, the Court has
     repeatedly held hearings in this case, allowing the parties, intervenors, and
     community representatives to voice their concerns, present evidence, and argue.
     Dkt. 269 at 13. In practical terms, the Court has already held 12 evidentiary
     hearings, and this preliminary injunction is rooted in the extensive factual record
     developed through these hearings. After numerous hearings and careful review of
     the motion and opposition, the Court finds it appropriate—in accordance with the
     emergency conditions of homelessness in Los Angeles—to grant preliminary
     injunctive relief without an additional hearing. To do so is consistent with Ninth
     Circuit precedent, the text and spirit of Rule 65, and the urgent need for relief this
     case presents.

         III.     AVAILABILITY OF EQUITABLE REMEDIES

             A. FACTUAL BASIS FOR IMMEDIATE RELIEF

           Los Angeles is indisputably facing a homelessness crisis that merits
     immediate, emergency action. Los Angeles Mayor Eric Garcetti has called the
     homelessness crisis “the humanitarian crisis of our lives”486 and has “called for a
     FEMA-level response to our homelessness crisis,” drawing a comparison to the
     aftermath of the 1906 Great San Francisco Earthquake, which displaced more than
     200,000 Californians. 487 He acknowledged the urgency of the situation, demanding
     that we “must respond like it’s an earthquake – and do more, faster.”488 LAHSA


     486
         LA Mayor Eric Garcetti Calls Homelessness The 'Humanitarian Crisis Of Our Lives', NPR (Sept. 21, 2019),
     https://www.npr.org/2019/09/21/763073646/l-a-mayor-eric-garcetti-calls-homelessness-the-humanitarian-crisis-of-
     our-lives.
     487
         Eric Garcetti, Mayor of L.A., State of the City (Apr. 19, 2020), https://www.lamayor.org/SOTC2020; Rising to
     the Challenge: Helping Homeless Angelenos, ERIC GARCETTI (June 11, 2019), https://www.lamayor.org/rising-
     challenge-helping-homeless-angelenos.
     488
         Mayor Eric Garcetti (@MayorOfLA), FACEBOOK (June 12, 2019),
     https://www.facebook.com/MayorOfLA/posts/10157299485724806?comment_id=10157306801444806&reply_co
     mment_id=10157308404509806.


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     Executive Director, Heidi Marston, has similarly recognized that “[w]e have an
     emergency on our streets and we need an emergency response.” 489
            And as mentioned above, L.A. government officials have acknowledged that
     racism has impacted homelessness. “I want to be very clear that homelessness is a
     byproduct of racism,” stated LAHSA’s Heidi Marston.490 “We continue to see that
     Black people are overrepresented in our homeless population, and that Black
     African Americans are four times more likely to become homeless than their white
     counterparts.”491 As of January 2020, LAHSA reported that 21,509 Black people
     were without permanent housing in LA—a number that has likely increased as a
     result of the pandemic given COVID-19’s significant impact on communities of
     color.492
            Despite frequent acknowledgments of the emergency nature of homelessness
     in L.A.—an emergency borne unequally across racial lines—City and County
     efforts to address the problem have been wholly inadequate. Indeed, in the year
     since this litigation began, there has been a 32% increase in the number of
     homeless deaths compared to the previous year.493 713 homeless people died
     between March and July 2020 alone – more than double the number of units of
     housing built under Proposition HHH in the 4 years since it was passed.494 Because
     the City and County have repeatedly failed to do so, the Court now finds it
     necessary, in the proper exercise of its equitable powers, to craft an immediate
     response to this unconscionable humanitarian crisis.

             B. EQUITABLE POWER TO ISSUE RELIEF




     489
         Rob Hayes, LA Homelessness Authority Calls for Government to Treat Homelessness Crisis with Same Urgency
     as Natural Disaster, ABC7 (Feb. 19, 2020), https://abc7.com/los-angeles-homeless-services-agency-lahsa-
     homelessness-in-california/5945026/.
     490
         Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST
     (June 12, 2020), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-
     losangeles.
     491
         Id.
     492
         Gale Holland, Racism is the Reason Black People Are Disproportionately Homeless in L.A., Report Shows, L.A.
     TIMES (June 12, 2020), https://www.latimes.com/california/story/2020-06-12/racism-making-more-black-people-la-
     homeless.
     493
         Jessica Goodheart, Homeless Deaths in Los Angeles Rose by More than 30% in 2020, CAPITAL & MAIN (Feb. 2,
     2021), https://capitalandmain.com/homeless-deaths-in-los-angeles-rose-by-more-than-30-percent-in-2020-0202.
     494
         CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317.

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            Under Article III of the Constitution, “[t]he judicial Power” of the federal
     courts “shall extend to all Cases, in Law and Equity, arising under this Constitution
     [and] the Laws of the United States[.]” U.S. Const., art. III, § 2.
            While Defendants argue that “Article III precludes the Court from dictating
     how the City exercises its discretionary decision-making or spending to address
     issues arising out of homelessness,” Dkt. 269 at 10, after a court identifies a right
     and a corresponding violation, “the scope of a district court’s equitable powers to
     remedy past wrongs is broad, for breadth and flexibility are inherent in equitable
     remedies.” Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 15 (1971). “In
     fashioning and effectuating the decrees, the courts will be guided by equitable
     principles.” Brown v. Bd. of Educ. of Topeka, Kans., 349 U.S. 294, 300
     (1955). “Traditionally, equity has been characterized by a practical flexibility in
     shaping its remedies and by a facility for adjusting and reconciling public and
     private needs.” Id. As such, district courts have broad discretion to create
     comprehensive relief that addresses “each element contributing to the violation” at
     issue. Hutto v. Finney, 437 U.S. 678, 687 & n.9 (1978). The Court’s equitable
     powers allow it to tailor relief to different circumstances, regardless of any
     procedural complexity. Lemon v. Kurtzman, 411 U.S. 192, 200 (1973) (“In shaping
     equity decrees, the trial court is vested with broad discretionary power; appellate
     review is correspondingly narrow.”).
            A court may employ equitable powers as a means of enforcement to compel
     defendants to take certain steps to ensure compliance with constitutional mandates.
     See Brown II, 349 U.S. at 301 (instructing the district courts “to take such
     proceedings and enter such orders and decrees consistent with this opinion as are
     necessary and proper to admit to public schools on a racially nondiscriminatory
     basis with all deliberate speed the parties to these cases”); see also United States v.
     Fordice, 505 U.S. 717, 727–28 (1992) (noting that Brown v. Board of Education
     and its progeny mandate an “affirmative duty to dismantle its prior dual education
     system,” and that “a State does not discharge its constitutional obligations until it
     eradicates policies and practices traceable to its prior de jure dual system that
     continue to foster segregation”). A district court is not bound by a plaintiff’s prayer
     for relief and has broad discretion to determine a flexible remedy that balances the
     competing interests at stake. See Brown v. Plata, 563 U.S. 493, 538 (2011);
     Lemon, 411 U.S. at 200–01 (plurality op.).


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            The equitable powers of federal courts encompass injunctions that affect the
     rights of parties not before the court. See Steele v. Bulova Watch Co., 344 U.S.
     280, 289 (1952) (noting that a district court, “in exercising its equity powers,” may
     enjoin conduct “outside its territorial jurisdiction”) (citations omitted). In Califano
     v. Yamasaki, 442 U.S. 682, 702 (1979), the Supreme Court, addressing the validity
     of nationwide class relief, analyzed the principle of “complete relief,” stating that
     nationwide classes are not “inconsistent with principles of equity jurisprudence,
     since the scope of injunctive relief is dictated by the extent of the violation
     established, not by the geographical extent of the plaintiff class.” 442 U.S. at 702.
     “Nationwide relief here is necessary to provide complete relief to the plaintiffs for
     the ‘violation established.’” District of Columbia v. U.S. Dep’t of Agric. 444 F.
     Supp. 3d 1, 49 (D.D.C. 2020) (citing Califano, 442 U.S. at 702); see also
     Easyriders Freedom F.I.G.H.T. v. Hannigan, 92 F.3d 1486, 1501–02 (9th Cir.
     1996) (“[A]n injunction is not necessarily made overbroad by extending benefit or
     protection to persons other than prevailing parties in the lawsuit—even if it is not a
     class action—if such breadth is necessary to give prevailing parties the relief to
     which they are entitled.”).
            As discussed below, courts often use these broad equitable powers to
     remedy constitutional and statutory violations by local governments. Notably, the
     Ninth Circuit has specifically upheld equitable relief in the context of equal
     protection and due process violations, in addition to statutory violations of the
     Americans with Disabilities Act and California Welfare and Institutions § 17000.

           i.     Constitutional Violations Provide Grounds for Equitable Relief

            Courts have imposed structural equitable relief in order to remedy
     constitutional violations. See Sierra Club v. Trump, 963 F.3d 874, 888 (9th Cir.
     2020) (“Certain provisions of the Constitution give rise to equitable causes of
     action. Such causes of action are most plainly available with respect to provisions
     conferring individual rights, such as the Establishment Clause or the Free Exercise
     Clause.”); see also Rufo v. Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 399 (1992)
     (Stevens, J. dissenting) (“When a district court determines, after a contested trial,
     that a state institution is guilty of a serious and persistent violation of the Federal
     Constitution, it typically fashions a remedy that is more intrusive than a simple
     order directing the defendants to cease and desist from their illegal conduct. A
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     district court has a duty to command a remedy that is effective, and it enjoys the
     broad equitable authority necessary to fulfill this obligation” (citations omitted).).
     Certainly, “the nature and scope of the remedy are to be determined by the
     violation.” Gilmore v. California, 220 F.3d 987, 1005 (9th Cir. 2000). “But where
     [] a constitutional violation has been found, the remedy does not ‘exceed’ the
     violation if the remedy is tailored to cure the ‘condition that offends the
     Constitution.’” Id. (citation omitted).
            The Supreme Court has established the clear authority of courts to issue
     mandatory injunctions that remedy constitutional violations, including equal
     protection violations, caused by state and local governmental agencies. In Brown,
     the Supreme Court ruled that courts had the power to order structural changes in
     school systems to desegregate schools, such as “ordering the immediate admission
     of plaintiffs to schools previously attended only by white children.” Brown II, 349
     U.S. at 300–01; see also Swann, 402 U.S. at 31 (affirming a district court’s
     injunction requiring school board to implement plan to desegregate school district);
     Milliken v. Bradley, 433 U.S. 267, 269 (1977) (upholding the equitable powers of a
     district court, as part of a desegregation decree, to “order compensatory or
     remedial educational programs for schoolchildren who have been subjected to past
     acts of de jure segregation.”). Similarly, the Supreme Court has recognized the
     equitable power of federal courts to order structural changes to remedy violations
     of unconstitutional due process. See, e.g., Hutto, 437 U.S. at 683 (approving a
     district court’s orders to change various prison practices and policies to remedy
     constitutional violations).
            In Roman v. Wolf, the Ninth Circuit affirmed in part the district court’s
     issuance of a preliminary injunction that imposed a moratorium on an immigration
     and customs enforcement (“ICE”) facility’s receipt of new detainees, requiring
     specific sanitation measures, and ordering a reduction in the facility’s population in
     light of the Covid-19 pandemic. 977 F.3d 935, 942 (9th Cir. 2020). The Ninth
     Circuit reasoned that “the district court had broad equitable authority to grant
     provisional relief to remedy a likely constitutional violation.” Id. at 939. The
     circuit court continued that “[c]ourts have long recognized the existence of an
     implied cause of action through which plaintiffs may seek equitable relief to
     remedy a constitutional violation,” and “the district court’s power to grant
     injunctive relief included the authority to order a reduction in population, if
     necessary to remedy a constitutional violation.” Id. at 941–42. That is, district
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     courts have the flexibility to order measures that they determine necessary to
     “bring the conditions to a constitutionally adequate level.” Id. at 945–46. Further,
     in “time-sensitive circumstances, the district court’s authority to issue relief
     encompassed the authority to grant provisional relief ‘to bring an ongoing violation
     to an immediate halt.’” Id. at 942 (citing Hutto, 437 U.S. at 687 n.9). The Ninth
     Circuit recognized that the district court made detailed factual findings to support
     the preliminary injunction and noted in approval that the district court left
     particular details to the government’s discretion, such as how to achieve the
     requisite population reduction and which detainees to release, deport, or transfer.
     Id. at 939.

           ii.    Statutory Violations Provide Grounds for the Court to Issue
                  Equitable Relief

            The power of district courts to compel government action also encompasses
     the redress of statutory violations. See Armstrong v. Davis, 275 F.3d 849, 870 (9th
     Cir. 2001), abrogated on other grounds by Johnson v. California, 543 U.S. 499
     (2005) (stating that “[s]ystem-wide [injunctive] relief is required if the injury is the
     result of violations of a statute . . . that are attributable to policies or practices
     pervading the whole system (even though injuring a relatively small number of
     plaintiffs), or if the unlawful policies or practices affect such a broad range of
     plaintiffs that an overhaul of the system is the only feasible manner in which to
     address the class’s injury.”).
            For example, in Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir. 2004), patients
     asserted an ADA claim against defendants including Los Angeles County, and
     sought a preliminary injunction seeking to bar the County from closing a
     rehabilitation center without providing plaintiffs with necessary medical and
     rehabilitative services elsewhere. The district court granted an injunction that
     barred the County from closing said rehabilitation center or reducing medical
     services until the County could guarantee that plaintiffs would receive comparable
     services from other healthcare providers in Los Angeles County. Id. at 993. In its
     deliberation, the district court considered the County’s concerns of financial
     hardship, but was not persuaded of the County’s claim that closing the center
     would save the County $58.6 million annually. Id. at 994. In affirming the district
     court, the Ninth Circuit held that “The district court did not abuse its discretion in
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      concluding that plaintiffs would suffer greater hardship absent preliminary relief
      than the County would suffer because of the injunction.” Id. at 998–99. The Ninth
      Circuit noted that “the injunction does not mandate that the County keep [the
      rehabilitation center] open at any cost; rather, it requires the County to somehow,
      somewhere, continue to offer the services currently provided . . .” Id. at 999. The
      circuit court emphasized that when “[f]aced with [] a conflict between financial
      concerns and preventable human suffering, [the Ninth Circuit has] little difficulty
      concluding that the balance of hardships tips decidedly in plaintiffs' favor.” Id.
      (citing Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983)).
             In addition to remedying violations of federal statutes, district courts may
      also issue equitable relief to remedy to violations of state statutes. In Harris v.
      Board of Supervisors, a group of patients also sued the County to prevent its
      reduction of medical care at a hospital and closure of the same rehabilitation center
      in Roddle. 366 F.3d 754, 757 (9th Cir. 2004). The patients there brought their
      claims based on the California Welfare and Institutions Code §§ 10000, 17000 and
      17001. Id. at 764. The district court issued a preliminary injunction, and the Ninth
      Circuit affirmed. Id. “A lack of funds is no defense to a county’s obligation to
      provide statutorily required benefits.” Id. (citing Cooke v. Superior Court, 213 Cal.
      App. 3d 401, 413–14 (1989)).

            iii.   The Plata Case Guides This Court’s Exercise of its Broad
                   Equitable Authority

             The Supreme Court’s decision in Brown v. Plata upheld district courts’
      authority to use their equitable powers when necessary to address constitutional
      violations even where those powers shape local government’s authority and
      impacts their budget. 563 U.S. 493 (2011).

      The Supreme Court in Brown v. Plata Recognized That Courts May Act Even If
      Their Orders Have a Budgetary Impact on Local Government

             In Plata, two consolidated class actions resulted in an order requiring
      California to drastically reduce its prison population. See id. In the first case, a
      district court found that Eighth Amendment rights had been violated when
      prisoners with serious mental disorders alleged inadequate mental health care due
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     to prison overcrowding. Id. at 506–07. In the second case, the State stipulated to a
     remedial injunction when prisoners with serious medical conditions brought
     similar claims. Id. at 507–08. When the State failed to comply with that injunction,
     the district court appointed a receiver to oversee remedial efforts. Id. Upon request
     from both groups of plaintiffs, a three-judge panel convened under the Prisoner
     Litigation Reform Act (“PLRA”), and the cases were consolidated. The panel
     entered a remedial order mandating a reduction of the State’s prison population to
     137.5% of design capacity within two years, when the prisons held “nearly double”
     their capacity at the time of trail. Id. at 501. Governor Brown appealed.
            The Supreme Court affirmed the panel’s ruling, holding that the PLRA
     authorizes “the relief afforded in this case and that the court-mandated population
     limit is necessary to remedy the violation of prisoners' constitutional rights.” Id. at
     502. The Court emphasized that “the law and the Constitution demand recognition
     of certain [] rights. . . . If government fails to fulfill [its] obligation, the courts have
     a responsibility to remedy the resulting [] violation.” Id. at 510-11. In response to
     the State’s concerns that the district court’s order limited the State’s authority to
     run its prisons, the Court noted that “[w]hile the order does in some respects shape
     or control the State’s authority in the realm of prison administration, it does so in a
     manner that leaves much to the State’s discretion . . . The order’s limited scope is
     necessary to remedy a constitutional violation.” Id. at 553. Accordingly, if a
     district court finds an ongoing Constitutional violation, it is obligated to impose a
     remedy, while budgetary and capacity concerns can be adequately addressed by the
     court by giving the party sufficient discretion in how to remedy the violation.

     The District Court Decisions Underlying the Plata Opinion Are Analogous to the
     Circumstances of This Case and Provide Support for Broad Judicial Relief

             The second case later consolidated in Brown v. Plata was originally filed in
     the Northern District in 2001. Plata v. Schwarzenegger (“Schwarzenegger I”), No.
     C01-1351 TEH, 2005 WL 2932253 (N.D. Cal. Oct. 3, 2005). There, plaintiffs
     claimed that the State of California was providing constitutionally inadequate
     medical care at its state prisons. Id. at *1. Defendants agreed multiple times to take
     certain steps to address issues, first in a consent decree and then a stipulated order.
     Id. at *1–2. But, like the instant defendants, the State failed to take the necessary


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     action, “enact[ing] only very limited and piece-meal measures, with no prospect
     for system-wide reform or restructuring.” Id. at *26.
            Following an evidentiary hearing, the court found that the defendants had
     “fail[ed] to provide constitutionally adequate medical care” which “caused the
     plaintiffs extreme harm.” Id. at *3. The court then issued an order, establishing a
     Receivership to take control of the medical delivery system of the prison system
     from the defendants. Id. at *2.
            The Schwarzenegger I court recognized that the case “present[ed] a textbook
     example of how majoritarian political institutions sometimes fail to muster the will
     to protect a disenfranchised, stigmatized, and unpopular subgroup of the
     population.” Id. at 32. The court emphasized:

           “This failure of political will, combined with a massive escalation in the rate
           of incarceration over the past few decades, has led to a serious and chronic
           abnegation of State responsibility for the basic medical needs of prisoners.
           This is a case where “the failure of the political bodies is so egregious and
           the demands for protection of constitutional rights [is] so importunate that
           there is no practical alternative to federal court intervention.”

     Id. (citation omitted). The Schwarzenegger I court reiterated the Ninth Circuit
     principle that, “where federal constitutional rights have been traduced, principles
     of restraint, including comity, separation of powers and pragmatic caution
     dissolve.” Id. at 24 (quoting Stone v. City and County of San Francisco, 968 F.2d
     850, 861 (9th Cir.1992).
             The court expanded the equitable remedy from Schwarzenegger I in a
     subsequent case, directing the State of California “to transfer $250 million to the
     Receiver in furtherance of the Receiver’s work to remedy the undisputed and
     ongoing constitutional inadequacies in the delivery of medical care in California's
     prisons.” Plata v. Schwarzenegger (“Schwarzenegger II”), No. C01-1351 TEH,
     2008 WL 4847080, at *1 (N.D. Cal. Nov. 7, 2008). As discussed below, the
     Schwarzenegger II court found that the defendant’s arguments of budgetary
     concerns could not “outweigh the human suffering and preventable and possibly
     preventable deaths that will occur” if the defendants were granted a stay. Id. at *5.



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           iv.    Courts’ Equitable Authority in the Face of Government
                  Budgetary Concerns

            There are financial considerations inherent to any equitable relief requiring
     action from a governmental entity; however, federal courts have an obligation to
     enforce the Constitution and the laws of its United States. In Watson v. City of
     Memphis, the Supreme Court observed that despite the city’s argument that
     ordered desegregation may require unbudgeted funding, the “vindication of
     conceded constitutional rights cannot be made dependent upon any theory that it is
     less expensive to deny than to afford them.” 373 U.S. 526, 537 (1963).
            The Ninth Circuit has also addressed the weight of budgetary concerns in the
     context of equitable relief. In Lopez, the Ninth Circuit affirmed a district court
     order requiring the restoration of disability benefits to a substantial number of
     social security recipients. Lopez, 713 F.2d at 1432. The circuit court concluded that
     “physical and emotional suffering shown by plaintiffs . . . is far more compelling
     than the possibility of some administrative inconvenience or monetary loss to the
     government. . .” Lopez, 713 F.2d at 1437; see also Rodde, 357 F.3d at 999 (when
     “[f]aced with[ ] a conflict between financial concerns and preventable human
     suffering, we have little difficulty concluding that the balance of hardships tips
     decidedly in plaintiffs’ favor”) (citing Lopez); Harris, 366 F.3d at 764–65 (“[a]
     lack of funds is no defense to a county’s obligation to provide statutorily required
     benefits”) (citing Cooke, 213 Cal. App. 3d at 413–14).
            The court may also weigh certain circumstances against alleged financial
     consequences. In Schwarzenegger II, the court found that government arguments
     regarding financial hardship due to the court’s injunction were “less compelling”
     when funding had already been allocated to the issue targeted by the court’s order.
     Schwarzenegger II, 2008 WL 4847080, at *5. In Rodde, the Ninth Circuit affirmed
     a preliminary injunction barring a county from closing a hospital. Rodde, 357 F.3d
     988. The circuit court considered how much the alleged $58.6 million annual cost
     of relief was offset by the savings caused by the relief, which would avoid costs
     caused by displaced patients seeking treatment elsewhere. Rodde 357 F.3d at 999
     (9th Cir. 2004). The Ninth Circuit concluded that, “while it is unclear just how
     much financial hardship the district court's injunction creates for the County, it is
     apparent that the cost is lower than the County contends.” Id.


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           IV.   CONCLUSION: A WAY FORWARD

             The devotion that Abraham Lincoln called for has not been met here.
             For decades in Los Angeles, the desperation of its citizens has been met with
     a yawn. Each day, newspaper headlines bring forth different cities and
     communities calling for action. Meanwhile, politicians measure success by how
     much money they have raised to combat homelessness. Service providers with
     clipboards endlessly approach homeless individuals with services and promises to
     return, yet are unable to provide sufficient shelter or housing. Bureaucrats create
     statistics trumpeting their efficiency and success to the public. But none of this has
     led to accountability or solutions. As Councilmember Mark Ridley-Thomas
     remarked, “the issue of homelessness is of insufficient importance to the decision
     makers of this region. Therefore, we have this languishing set of circumstances
     where we chase our tails day in and day out claiming that we’re doing things.” 495
             There can be no defense to the indefensible. For all the declarations of
     success that we are fed, citizens themselves see the heartbreaking misery of the
     homeless and the degradation of their City and County. Los Angeles has lost its
     parks, beaches, schools, sidewalks, and highway systems due to the inaction of
     City and County officials who have left our homeless citizens with no other place
     to turn. All of the rhetoric, promises, plans, and budgeting cannot obscure the
     shameful reality of this crisis—that year after year, there are more homeless
     Angelenos, and year after year, more homeless Angelenos die on the streets.
             Like Abraham Lincoln’s call to action in his Gettysburg address, it is for us
     “to be dedicated here to the unfinished work which they who fought here have thus
     far nobly advanced.” Let us pick up that flag, and have the courage of those who
     fought so long ago, to act so that we can become a better nation and people.

           V.    PROVISIONS OF THE PRELIMINARY INJUNCTION

           In an attempt to balance the interim nature of a preliminary injunction with
     the emergency conditions created by the homelessness crisis, the Court hereby
     ORDERS the following:


       Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
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     YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.

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            1. Accountability

                  a. Pursuant to the Mayor’s announcement 496 of a “justice budget”497 on
                     Monday, April 19, 2021, the Court ORDERS that $1 billion, as
                     represented by Mayor Garcetti, will be placed in escrow forthwith,
                     with funding streams accounted for and reported to the Court within 7
                     days.
                  b. Within 90 days, conduct an audit of all funds received from local,
                     state, and federal entities intended to aid the City and/or County of
                     Los Angeles in solving or alleviating the problem of homelessness,
                     including, but not limited to, Proposition HHH funds, MHSA funds,
                     Measure H funds, and emergency relief from the state and federal
                     government, including the American Rescue Plan and the Cares Act.
                  c. Within 90 days, conduct investigations and prepare a report on all
                     developers that are currently receiving funds from Proposition HHH;
                     propose revised procedures for evaluating future applicants for
                     Proposition HHH funds that would limit the possibility of funds being
                     misused or wasted.
                  d. Within 30 days, the County shall conduct an audit of any funds
                     committed to mental health (MH) and substance use disorder (SUD)
                     treatment.

             All above audits and background investigations must be completed by
      independent auditors and investigators, respectively. Parties are ORDERED to
      meet with Special Monitor/Master Michele Martinez within 10 days to receive her
      input regarding independent auditors and investigators.

            2. Action

                  a. City- and County-Wide Actions

      496
          Benjamin Oreskes & David Zahniser, L.A. Plans Nearly $1 Billion in Spending to Address Homelessness Under
      Garcetti Plan, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/homeless-housing/story/2021-04-19/los-
      angeles-will-increase-budget-for-addressing-homelessness.
      497
          David Zahniser, Dakota Smith & Emily Alpert Reyes, Garcetti Seeks to Stem Poverty, Boost Social Justice in
      Vision for L.A.'s Recovery, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/california/story/2021-04-
      19/garcetti-los-angeles-state-of-the-city.

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                     i. Within 30 days, City Controller Ron Galperin shall oversee the
                        creation of a report on all land potentially available within each
                        district for housing and sheltering the homeless of each district.
                        The homeless have been left no other place to turn to but our
                        beaches, parks, libraries, and sidewalks, and it is pivotal that
                        they no longer rely on spaces that enhance quality of life for all
                        citizens.
                    ii. The Court ORDERS the cessation of sales, transfers by lease or
                        covenant, of the over 14,000 City properties pending the report
                        by the Controller Ron Galperin to the Court, and all similarly
                        situated properties held by the County pending the report by the
                        County counsel.
                   iii. Within 30 days, the Los Angeles City Council Homelessness
                        and Poverty Committee shall report back to the Court with
                        specific actions to address 1) structural barriers (including but
                        not limited to redlining, highway construction, eminent domain,
                        and health exposure) that cause a disproportionate number of
                        people of color to experience homelessness or housing
                        insecurity; 2) solutions to the problem of extremely low income
                        individuals being foreclosed from the affordable housing
                        market in favor of higher-income individuals; and 3) the
                        possibility of rezoning to accommodate more R3 (multi-family)
                        zoning. The Committee is ordered to invite local non-
                        governmental stakeholders (such as the NAACP, the
                        Downtown Women’s Action Coalition, and any additional
                        groups that the Committee deems would be beneficial in this
                        process) to participate in the production of the report.
                   iv. Mayor Garcetti, the Los Angeles City Council, and Hilda Solis,
                        Chair of the County Board of Supervisors, shall submit a report
                        to the Court by April 27, 2021 at 8:00 a.m. to explain why an
                        emergency declaration has not been issued.
                    v. Within 30 days, the City and County shall prepare a report on
                        the status of Projects Homekey and Roomkey, with a specific


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                       focus on the geographic and racial distribution of project sites
                       and beneficiaries.
                   vi. Within 30 days, with regard to MH and SUD beds, the County
                       shall report to the Court on the progress towards establishing
                       the 1,508 new sub-acute beds to accommodate the needs of the
                       non-jail population and an additional 1,418 new sub-acute beds
                       to accommodate those with substance abuse disorders being
                       diverted from jails.

              b. Actions Specific to Skid Row

                    i. Within no more than 90 days (i.e., on or before July 19, 2021),
                       the City and County must offer and if accepted provide shelter
                       or housing immediately to all unaccompanied women and
                       children living in Skid Row; within 120 days (i.e., on or before
                       August 18, 2021) to all families living in Skid Row; and within
                       180 days (i.e., on or before October 18, 2021) to the general
                       population living in Skid Row. Skid Row, originally defined as
                       the area between 3rd and 7th and Main to Alameda, will be
                       extended to the surrounding area, defined as 2nd to 8th and
                       Spring to Alameda. The City and County shall consult with the
                       Skid Row Advisory Council to identify the number of
                       unaccompanied women who are willing to move to shelters.
                   ii. The County shall, no later than within 90 days (i.e., on or
                       before July 19, 2021), offer and if accepted provide to all
                       individuals within Skid Row who are in need of special
                       placement through the Department of Mental Health or
                       Department of Public Health appropriate emergency, interim, or
                       permanent housing and treatment services. The County shall
                       work with providers to build meaningful relationships with
                       homeless individuals to ensure that these individuals are fully
                       informed of their options for services, housing, and shelter.
                       Within ten days (i.e., on or before April 30, 2021), the County
                       shall provide to the Court a list of providers who are already


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                        established in the area and who will be working in tandem with
                        the County on these efforts.
                   iii. The County shall provide, or fund third parties to provide,
                        support services to all homeless residents who accept the offer
                        of housing. County and City shall evenly split the cost of
                        providing operational services.
                   iv. The City and County shall prepare a plan that ensures the
                        uplifting and enhancement of Skid Row without involuntarily
                        displacing current residents to other parts of the City or County.
                        Moving forward, the City and County are encouraged to
                        develop a hyper-local approach with community-based
                        organizations throughout each district, including the Skid Row
                        Advisory Council.

              c. Other Actions

                    i. After adequate shelter is offered, the Court will let stand any
                       constitutional ordinance consistent with the holdings of Boise
                       and Mitchell.
                   ii. The Court shall appoint a Special Monitor/Master, Michele
                       Martinez, at the City and County’s expense to assist with the
                       implementation of this order and to resolve disputes among the
                       parties or other interested parties. The City and County shall
                       meet and confer with Special Monitor/Master Michele Martinez
                       within three days to agree upon reasonable compensation.




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